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                                                    Objection Deadline: March 19, 2018


                              UNITED STATES BANKRUPTCY COURT
                                SOUTHERN DISTRICT OF TEXAS
                                      HOUSTON DIVISION

                                                                            )
    In re:                                                                  )   Chapter 11
                                                                            )
    COBALT INTERNATIONAL ENERGY, INC., et al., 1                            )   Case No. 17-36709 (MI)
                                                                            )
                                     Debtors.                               )   (Jointly Administered)
                                                                            )

FIRST MONTHLY FEE STATEMENT OF PACHULSKI STANG ZIEHL & JONES LLP
 FOR PROFESSIONAL SERVICES RENDERED AND DISBURSEMENTS INCURRED
  AS COUNSEL FOR THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS
   FOR THE PERIOD FROM DECEMBER 27, 2017 THROUGH JANUARY 31, 2018


    Name of Applicant:                                      Pachulski Stang Ziehl & Jones LLP
    Authorized to Provide Professional Services             Counsel to the Official Committee of
    to:                                                     Unsecured Creditors
                                                            Effective December 27, 2017 pursuant to
    Date of Retention:                                      Order dated February 8, 2018 [Docket No.
                                                            369]
    Period for which Compensation and
                                                            December 27, 2017 – January 31, 2018 2
    Reimbursement is Sought:
    Amount of Compensation Sought as Actual,
                                                            $705,561.60 (80% of $881,952.00)
    Reasonable and Necessary:
    Amount of Expense Reimbursement Sought
                                                            $18,212.55
    as Actual, Reasonable and Necessary:

This is a:          x Monthly           Interim           Final Application.

                                            Preliminary Statement

                   Pachulski Stang Ziehl & Jones LLP (“PSZ&J” or the “Firm”), counsel for the

Official Committee of Unsecured Creditors (the “Committee”) of Cobalt International Energy,

Inc. et al. (the “Debtors”), hereby submits this statement of fees and disbursements (the


1
    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: Cobalt International Energy, Inc. (1169); Cobalt International Energy GP, LLC (7374); Cobalt
International Energy, L.P. (2411); Cobalt GOM LLC (7188); Cobalt GOM # 1 LLC (7262); and Cobalt GOM # 2
LLC (7316). The Debtors’ service address is: 920 Memorial City Way, Suite 100, Houston, Texas 77024.
2
  The applicant reserves the right to include any time expended in the time period indicted above in future
application(s) if it is not included therein.



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“Monthly Statement”) for the period from December 27, 2017 through January 31, 2018 (the

“Compensation Period”) in accordance with the Order Establishing Procedures for Interim

Compensation and Reimbursement of Expenses for Professionals dated January 11, 2018

[Docket No. 204] (the “Fee Procedures Order”). PSZ&J requests: (a) interim allowance and

payment of compensation in the amount of $705,561.60 (80% of $881,952.00) for fees on

account of reasonable and necessary professional services rendered to the Committee by PSZ&J;

and (b) reimbursement of actual and necessary costs and expenses in the amount of $18,212.55

incurred by PSZ&J during the Compensation Period. PSZ&J reserves the right to apply in the

future for reimbursement of actual and necessary costs and expenses, if any, incurred by

members of the Committee in connection with their service as members of the Committee during

the Compensation Period.

      Services Rendered and Disbursements Incurred During the Compensation Period

                 1.         Exhibit A sets forth a timekeeper summary that includes the respective

names, positions, department, bar admissions, hourly billing rates and aggregate hours spent by

each PSZ&J professional and paraprofessional that provided services to the Committee during

the Compensation Period. The rates charged by PSZ&J for services rendered to the Committee

are the same rates that PSZ&J charges generally for professional services rendered to its non-

bankruptcy clients.

                 2.         Exhibit B sets forth a task code summary that includes the aggregate

hours per task code spent by PSZ&J professionals and paraprofessionals in rendering services to

the Committee during the Compensation Period.

                 3.         Exhibit C sets forth a disbursement summary that includes the aggregate

expenses, organized by general disbursement categories, incurred by PSZ&J in connection with

services rendered to the Committee during the Compensation Period.




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                 4.         Exhibit D sets forth a complete itemization of all time records and

expenses for PSZ&J professionals and paraprofessionals for the Compensation Period.

                                    Notice and Objection Procedures

                 5.         No trustee or examiner has been appointed in these chapter 11 cases.

Pursuant to the Fee Procedures Order, parties-in-interest will have until 4:00 p.m. (Prevailing

Central Time) 21 days after service of the First Monthly Fee Statement to object to the requested

fees and expenses. Upon the expiration of such 21-day period, the Debtors are authorized and

directed to pay the Firm an amount (the “Actual Monthly Payment”) equal to 80% of the fees

and 100% of the expenses requested in the applicable Monthly Fee Statement (the “Maximum

Monthly Payment”) that are not subject to an objection.

                 6.         Any party objecting to the payment of interim compensation and

reimbursement of expenses as requested shall, no later than 4:00 p.m. (Prevailing Central Time)

of the 21st day after service of the First Monthly Fee Statement, serve via email to the following

parties (collectively the “Application Recipients” as defined in the Debtors’ Motion for Entry of

an Order Establishing Procedures for Interim Compensation and Reimbursement of Expenses for

Professionals [Dkt. No. 120] and referenced in the Fee Procedures Order) a written notice, setting

forth the precise nature of the objection and the amount at issue: (a) the Debtors, c/o Cobalt

International Energy, Inc., Attn.: Jeff Starzec (jeff.starzec@cobaltintl.com); (b) counsel to the

Debtors, Kirkland & Ellis LLP, Attn.: Chad J. Husnick, P.C. (chusnick@kirkland.com) and Brad

Weiland (bweiland@kirkland.com); (c) co-counsel for the Debtors, Zack A. Clement, PLLC,

Attn.: Zack A Clement (zack.clement@icloud.com); (d) the Office of the United States Trustee

for the Southern District of Texas, Attn.: Hector Duran (hector.duran.jr@usdoj.gov) and Stephen

Statham (stephen.statham@usdoj.gov); (e) counsel to the indenture trustee for the Debtors’ first

lien notes, Wilmer Cutler Pickering Hale and Dorr LLP, Attn.: Andrew Goldman




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(Andrew.goldman@wilmerhale.com), Lauren Lifland (lauren.lifland@wilmerhale.com), and

Benjamin Loveland (benjamin.loveland@wilmerhale.com); (f) counsel to the ad hoc committee

of the Debtors’ first lien notes, Weil, Gotshal & Manges LLP, Attn.: Matthew S. Barr

(matt.barr@weil.com), Alfredo R. Pérez (alfredo.perez@weil.com), and Christopher M. López

(chris.lopez@weil.com); (g) counsel to the ad hoc committee of the Debtors’ second lien notes,

Akin     Gump         Strauss    Hauer    &    Feld       LLP,   Attn.:   Marty   L.   Brimmage    Jr.

(mbrimmage@akingump.com) and Lacy M. Lawrence (llawrence@akingump.com); (h) counsel

to the indenture trustee for the Debtors’ 2.625% senior convertible notes, Reed Smith LLP, Attn.:

Eric A. Schaffer (eschaffer@reedsmith.com) and Lloyd A. Lim (llim@reedsmith.com); (i) counsel

to the Official Committee of Unsecured Creditors appointed in these chapter 11 cases, Pachulski

Stang Ziehl & Jones LLP, Attn.: Robert J. Feinstein (rfeinstein@pszjlaw.com); and (j) local

counsel to the Official Committee of Unsecured Creditors appointed in these chapter 11 cases,

Snow Spence Green LLP, Attn.: Kenneth Green (kgreen@snowspencelaw.com).

                 7.         If an objection is timely served pursuant to the Fee Procedures Order, the

Debtors shall be authorized to pay the Firm an amount equal to 80% of the fees and 100% of the

expenses that are not subject to an objection. Any objection must set forth the precise nature of

the objection and the amount at issue; it shall not be sufficient to simply object to all fees and

expenses. After service of an objection, the objecting party and the Firm shall attempt to resolve

the objection on a consensual basis. If the parties reach an agreement, the Debtors shall promptly

pay the Firm 80% of the agreed-upon fees and 100% of the agreed upon expenses. If, however,

the parties are unable to reach a resolution of the objection within 14 days after the service of the

objection, the objecting party shall file its objection (the “Objection”) with the Court within three

business days and serve such Objection on the Firm and each of the Application Recipients.

Thereafter, the Firm may either (i) file with the Court a response to the Objection, together with a




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request for payment of the difference, if any, between the Maximum Monthly Payment and the

Actual Monthly Payment made to the Firm (the “Disputed Amount”), or (ii) forego payment of

the Disputed Amount until the next hearing on an Interim Fee Application or Final Fee

Application, at which time the Court will consider the Objection, if requested by the parties.

Dated: February 26, 2018

                                              /s/ Kenneth Green
                                           SNOW SPENCE GREEN, LLP
                                           Kenneth Green, Esq. (TX Bar No. 24036677)
                                           2929 Allen Parkway, Suite 2800
                                           Houston, TX 77019
                                           Telephone: (713) 335-4830

                                           Local Counsel for the Official
                                           Committee of Unsecured Creditors

                                           PACHULSKI STANG ZIEHL & JONES LLP
                                           Robert J. Feinstein, Esq. (admitted pro hac vice)
                                           Steven W. Golden, Esq. (TX Bar No. 24099681)
                                           780 Third Ave., 34th Fl.
                                           New York, NY 10017
                                           Telephone: (212) 561-7700

                                           Ira Kharasch, Esq. (admitted pro hac vice)
                                           10100 Santa Monica Boulevard, 13th Floor
                                           Los Angeles, CA 90067-4100
                                           Telephone: (310) 277-6910

                                           Lead Counsel for the Official Committee of Unsecured
                                           Creditors




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                                CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the above and foregoing has been served by
electronic transmission to all registered ECF users appearing in this case and upon the following
parties via email in accordance with the Fee Procedures Order:

    a) The Debtors, c/o Cobalt           International    Energy,   Inc.,   Attn.:   Jeff   Starzec
       (jeff.starzec@cobaltintl.com);

    b) Counsel to the Debtors, Kirkland & Ellis LLP, Attn.: Chad J. Husnick, P.C.
       (chusnick@kirkland.com) and Brad Weiland (bweiland@kirkland.com);

    c) Co-counsel for the Debtors, Zack A. Clement, PLLC, Attn.: Zack A Clement
       (zack.clement@icloud.com);

    d) The Office of the United States Trustee for the Southern District of Texas, Attn.: Hector
       Duran (hector.duran.jr@usdoj.gov) and Stephen Statham (stephen.statham@usdoj.gov);

    e) Counsel to the indenture trustee for the Debtors’ first lien notes, Wilmer Cutler Pickering
       Hale and Dorr LLP, Attn.: Andrew Goldman (Andrew.goldman@wilmerhale.com),
       Lauren    Lifland (lauren.lifland@wilmerhale.com), and               Benjamin     Loveland
       (benjamin.loveland@wilmerhale.com);

    f) Counsel to the ad hoc committee of the Debtors’ first lien notes, Weil, Gotshal & Manges
       LLP, Attn.: Matthew S. Barr (matt.barr@weil.com), Alfredo R. Pérez
       (alfredo.perez@weil.com), and Christopher M. López (chris.lopez@weil.com);

    g) Counsel to the ad hoc committee of the Debtors’ second lien notes, Akin Gump Strauss
       Hauer & Feld LLP, Attn.: Marty L. Brimmage Jr. (mbrimmage@akingump.com) and Lacy
       M. Lawrence (llawrence@akingump.com);

    h) Counsel to the indenture trustee for the Debtors’ 2.625% senior convertible notes, Reed
       Smith LLP, Attn.: Eric A. Schaffer (eschaffer@reedsmith.com) and Lloyd A. Lim
       (llim@reedsmith.com);

    i) Local Counsel to the Official Committee of Unsecured Creditors appointed in these chapter
       11 cases, Snow Spence Green LLP, Attn.: Kenneth Green (kgreen@snowspencelaw.com).

Dated: February 26, 2018
       Houston, TX                    /s/ Kenneth Green
                                                                            Kenneth Green




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                                                 EXHIBIT A

                                            Timekeeper Summary

    NAME OF                  TITLE       YEAR OF    YEAR OF   HOURLY          TOTAL        TOTAL
  PROFESSIONAL                          ADMISSION   PARTNER    RATE           HOURS     COMPENSATION
                                                      -SHIP                   BILLED
Jeffrey H. Davidson        Partner        1977         2014      $1,245.00      15.90        $19,795.50
Robert J. Feinstein        Partner        1982         2001      $1,095.00     126.00       $137,970.00
Robert J. Feinstein        Partner        1982         2001      $1,050.00      11.70        $12,285.00
Robert J. Feinstein        Partner        1982         2001        $547.50      21.00        $11,497.50
Robert J. Feinstein        Partner        1982         2001        $525.00       5.00         $2,625.00
Alan J.Kornfeld            Partner        1987         1996      $1,050.00     113.20       $118,860.00
Alan J.Kornfeld            Partner        1987         1996        $525.00      11.70         $6,142.50
(travel time)
Ira D. Kharasch            Partner        1983        1987       $1,050.00     90.00         $94,500.00
Ira D. Kharasch            Partner        1983        1987       $1,025.00     13.40         $13,735.00
Ira D. Kharasch            Partner        1983        1987         $525.00      7.80          $4,095.00
(travel time)
Ira D. Kharasch            Partner        1983        1987        $512.50       5.00          $2,562.50
(travel time)
Jeffrey N. Pomerantz       Partner        1989        1995        $975.00      34.30         $33,442.50
Jeffrey N. Pomerantz       Partner        1989        1995        $487.50      14.00          $6,825.00
(travel time)
Linda F. Cantor            Partner        1988        1994        $975.00      98.20         $95,745.00
Linda F. Cantor            Partner        1988        1994        $950.00       1.60          $1,520.00
Linda F. Cantor            Partner        1988        1994        $487.50       6.20          $3,022.50
(travel time)
Iain A.W. Nasatir          Partner        1983        1999         $925.00     10.60          $9,805.00
Maxim B. Litvak            Partner        1997        2004         $875.00     37.80         $33,075.00
Maxim B. Litvak            Partner        1997        2004         $850.00      0.20            $170.00
Joshua M. Fried            Partner        1995        2006         $825.00      3.60          $2,970.00
Joshua M. Fried            Partner        1995        2006         $850.00    109.70         $93,245.00
Gabriel I. Glazer          Partner        2006        2014         $750.00     18.00         $13,500.00
Richard J. Gruber          Of Counsel     1982        N/A        $1,025.00      2.90          $2,972.50
Maria A. Bove              Of Counsel     2001        N/A          $795.00     44.00         $34,980.00
Gina F. Brandt             Of Counsel     1976        N/A          $775.00      4.90          $3,797.50
Beth E. Levine             Of Counsel     1993        N/A          $750.00     86.40         $64,800.00
William L. Ramseyer        Of Counsel     1980        N/A          $725.00      0.60            $435.00
Jason H. Rosell            Of Counsel     2010        N/A          $595.00      2.90          $1,725.50
Steven W. Golden           Associate      2015        N/A          $495.00     69.90         $34,600.50
Steven W. Golden           Associate      2015        N/A          $450.00      2.20            $990.00
La Asia S. Canty           Paralegal      N/A         N/A          $375.00     30.80         $11,550.00
La Asia S. Canty           Paralegal      N/A         N/A          $350.00      6.00          $2,100.00
Patricia J. Jeffries       Paralegal      N/A         N/A          $375.00      5.10          $1,912.50
Leslie A. Forrester        Law            N/A         N/A          $395.00     11.90          $4,700.50
                           Library
                           Director
Total                                                                        1,022.50       $881,952.00



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                                          EXHIBIT B

                                      Task Code Summary

        Code                       Description              Hours    Amount
         AA        Asset Analysis/Recovery                   82.60    $82,987.50
         AC        Avoidance Actions                         13.70    $12,487.50
         AD        Asset Disposition                         67.60    $63,868.50
         BL        Bankruptcy Litigation                    248.60   $207,306.50
         BO        Business Operations                        5.10     $4,538.50
         CA        Case Administration                      123.80   $108,516.50
         CO        Claims Admin/Objections                    1.50       $792.50
         CP        Compensation Prof.                         0.80       $652.50
         EB        Employee Benefit/Pension                 125.70   $112,039.50
         FE        Fee/Employment Application                 1.00       $585.00
         FN        Financing                                 51.30    $44,215.50
         GC        General Creditors Comm.                   12.90     $9,507.00
         HE        Hearing                                   64.60    $60,100.50
        MC         Meeting of Creditors                      63.90    $59,902.50
         NT        Non-Working Travel                        70.70    $36,770.00
         OP        Operations                                 7.00     $6,498.00
         PD        Plan & Disclosure Stmt.                   55.50    $52,329.00
         PR        PSZ&J Retention                            9.00     $6,487.00
         RP        Retention of Prof.                        17.20    $12,368.00
                   TOTAL                                  1,022.50   $881,952.00




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                                             EXHIBIT C

                                        Disbursement Summary

                            Expenses (by Category)             Amounts
            Airfare                                                  $5,809.04
            Airport Parking                                            $121.89
            Auto Travel Expense                                      $1,201.83
            Bloomberg                                                  $666.30
            CourtLink                                                   $81.96
            Federal Express                                             $71.45
            Hotel Expense                                            $3,967.78
            Legal Vision Atty Mess Serv.                                $30.00
            Lexis/Nexis Legal Research                                 $331.86
            Miscellaneous Travel Expenses                               599.91
            Outside Services - Everlaw                                 $258.06
            Pacer – Court Research                                     $411.60
            Postage                                                    $143.50
            Reproduction Expense                                        $39.30
            Reproduction/Scan Copy                                   $2,173.80
            Research - Parasec, Inv.                                 $2,080.00
            Working Meals                                              $224.27
            TOTAL                                                   $18,212.55




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                                  EXHIBIT D




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                               Pachulski Stang Ziehl & Jones LLP
                                                                                  D
                                         780 Third Aveune
                                            34th Floor
                                        New York, NY 10017
                                                              January 31, 2018
Christopher J. Ryan                                           Invoice 118538
Baker Hughes, a GE Company                                    Client   15117
2001 Rankin Road                                              Matter   00002
Houston, TX 77073
                                                                       RJF
RE: Committee Representation

___________________________________________________________________________

         STATEMENT OF PROFESSIONAL SERVICES RENDERED THROUGH 01/31/2018
               FEES                                           $881,952.00
               EXPENSES                                        $18,212.55
               TOTAL CURRENT CHARGES                          $900,164.55

               TOTAL BALANCE DUE                              $900,164.55
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 Summary of Services by Task Code
 Task Code            Description                                           Hours                         Amount

 AA                   Asset Analysis/Recovery[B120]                          82.60                      $82,987.50
 AC                   Avoidance Actions                                      13.70                      $12,487.50
 AD                   Asset Disposition [B130]                               67.60                      $63,868.50
 BL                   Bankruptcy Litigation [L430]                          248.60                  $207,306.50
 BO                   Business Operations                                     5.10                       $4,538.50
 CA                   Case Administration [B110]                            123.80                  $108,516.50
 CO                   Claims Admin/Objections[B310]                           1.50                        $792.50
 CP                   Compensation Prof. [B160]                               0.80                        $652.50
 EB                   Employee Benefit/Pension-B220                         125.70                  $112,039.50
 FE                   Fee/Employment Application                              1.00                        $585.00
 FN                   Financing [B230]                                       51.30                      $44,215.50
 GC                   General Creditors Comm. [B150]                         12.90                       $9,507.00
 HE                   Hearing                                                64.60                      $60,100.50
 MC                   Meeting of Creditors [B150]                            63.90                      $59,902.50
 NT                   Non-Working Travel                                     70.70                      $36,770.00
 OP                   Operations [B210]                                       7.00                       $6,498.00
 PD                   Plan & Disclosure Stmt. [B320]                         55.50                      $52,329.00
 PR                   PSZ&J Retention                                         9.00                       $6,487.00
 RP                   Retention of Prof. [B160]                              17.20                      $12,368.00
                                                                           1022.50                  $881,952.00

 Summary of Services by Professional
 ID          Name                                      Title       Rate               Hours               Amount

 AJK         Kornfeld, Alan J.                         Partner    525.00              11.70             $6,142.50
 AJK         Kornfeld, Alan J.                         Partner   1050.00             113.20        $118,860.00
 BEL         Levine, Beth E.                           Counsel    750.00              86.40         $64,800.00
 GFB         Brandt, Gina F.                           Counsel    775.00               4.90             $3,797.50
 GIG         Glazer, Gabriel I.                        Partner    750.00              18.00         $13,500.00
 IAWN        Nasatir, Iain A. W.                       Partner    925.00              10.60             $9,805.00
 IDK         Kharasch, Ira D.                          Partner    512.50               5.00             $2,562.50
 IDK         Kharasch, Ira D.                          Partner    525.00               7.80             $4,095.00
 IDK         Kharasch, Ira D.                          Partner   1025.00              13.40         $13,735.00
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 IDK          Kharasch, Ira D.            Partner          1050.00      90.00         $94,500.00
 JHD          Davidson, Jeffrey H.        Partner          1245.00      15.90         $19,795.50
 JHR          Rosell, Jason H.            Counsel           595.00       2.90             $1,725.50
 JMF          Fried, Joshua M.            Partner           825.00       3.60             $2,970.00
 JMF          Fried, Joshua M.            Partner           850.00     109.70         $93,245.00
 JNP          Pomerantz, Jeffrey N.       Partner           487.50      14.00             $6,825.00
 JNP          Pomerantz, Jeffrey N.       Partner           975.00      34.30         $33,442.50
 LAF          Forrester, Leslie A.        Other             395.00      11.90             $4,700.50
 LFC          Cantor, Linda F.            Partner           487.50       6.20             $3,022.50
 LFC          Cantor, Linda F.            Partner           950.00       1.60             $1,520.00
 LFC          Cantor, Linda F.            Partner           975.00      98.20         $95,745.00
 LSC          Canty, La Asia S.           Paralegal         350.00       6.00             $2,100.00
 LSC          Canty, La Asia S.           Paralegal         375.00      30.80         $11,550.00
 MB           Bove, Maria A.              Counsel           795.00      44.00         $34,980.00
 MBL          Litvak, Maxim B.            Partner           850.00       0.20              $170.00
 MBL          Litvak, Maxim B.            Partner           875.00      37.80         $33,075.00
 PJJ          Jeffries, Patricia J.       Paralegal         375.00       5.10             $1,912.50
 RJF          Feinstein, Robert J.        Partner           525.00       5.00             $2,625.00
 RJF          Feinstein, Robert J.        Partner           547.50      21.00         $11,497.50
 RJF          Feinstein, Robert J.        Partner          1050.00      11.70         $12,285.00
 RJF          Feinstein, Robert J.        Partner          1095.00     126.00        $137,970.00
 RJG          Gruber, Richard J.          Counsel          1025.00       2.90             $2,972.50
 SWG          Golden, Steven W.           Associate         450.00       2.20              $990.00
 SWG          Golden, Steven W.           Associate         495.00      69.90         $34,600.50
 WLR          Ramseyer, William L.        Counsel           725.00       0.60              $435.00
                                                                     1022.50          $881,952.00




 Summary of Expenses
Description                                                                                 Amount

Air Fare [E110]                                                                           $5,809.04



Airport Parking                                                                             $121.89
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Pachulski Stang Ziehl & Jones LLP                                      Page:     4
Cobalt International O.C.C.                                            Invoice 118538
15117     00002                                                        January 31, 2018


 Summary of Expenses
Description                                                                                Amount



Auto Travel Expense [E109]                                                                $1,201.83



Bloomberg                                                                                  $666.30



Working Meals [E111]                                                                       $224.27



CourtLink                                                                                   $81.96



Federal Express [E108]                                                                      $71.45



Hotel Expense [E110]                                                                      $3,967.78



Lexis/Nexis- Legal Research [E                                                             $331.86



Legal Vision Atty Mess Service                                                              $30.00



Outside Services                                                                           $258.06



Pacer - Court Research                                                                     $411.60



Postage [E108]                                                                             $143.50



Reproduction Expense [E101]                                                                 $39.30
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 Summary of Expenses
Description                                                                                 Amount




Reproduction/ Scan Copy                                                                   $2,173.80



Research [E106]                                                                           $2,080.00



Travel Expense [E110]                                                                       $599.91



                                                                                          $18,212.55
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                                                                                       Hours           Rate        Amount
  Asset Analysis/Recovery[B120]
12/29/2017    RJF     AA        Call with Conway McKenzie, Ira D. Kharasch              0.90      1050.00          $945.00
                                regarding initial diligence and related issues.
12/29/2017    IDK     AA        Review and analyze Sonangol settlement motion.          0.50      1025.00          $512.50
12/30/2017    RJF     AA        Review diligence list and transmit same to Debtors'     0.20      1050.00          $210.00
                                counsel.
12/31/2017    RJF     AA        Call with Conway Mackenzie, Ira D. Kharasch             0.80      1050.00          $840.00
                                regarding sale process, all pending matters.
01/02/2018    RJF     AA        Call with Jansen, Ira D. Kharasch regarding missing     0.20      1095.00          $219.00
                                diligence items.
01/02/2018    IDK     AA        Review and consider in detail motion to settle with     3.10      1050.00         $3,255.00
                                Sonangol, and info needed for our analysis and open
                                questions re same and prior notes from calls re same
                                (2.1); E-mails and office conference with L Cantor
                                re my memo re same and need for document request
                                to Debtors (.5); Emails with Conway Mackenzie re
                                Sonangol and their document requests to Houlihan
                                Lokey (.2); Office conferences with L. Cantor re
                                need for revisions to her document request on
                                Sonangol, including review of same (.3).
01/02/2018    LFC     AA        Meeting with Ira D Kharasch regarding settlement        0.40       975.00          $390.00
                                motion.
01/02/2018    LFC     AA        Meeting with Ira D Kharasch re: settlement motion       0.40       975.00          $390.00
01/02/2018    LFC     AA        Draft and revise correspondence to counsel              0.40       975.00          $390.00
                                regarding document request for settlement motion
                                analysis
01/03/2018    RJF     AA        Memo to Iain A. W. Nasatir regarding D&O claims         0.30      1095.00          $328.50
                                and insurance.
01/03/2018    IDK     AA        Review emails with attorneys re D&O insurance and       0.60      1050.00          $630.00
                                documents needed (.2); E-mails and office
                                conference with L Cantor re Sonangol and open
                                issues, including deposit, and opposition to same
                                (.4).
01/03/2018    LFC     AA        Draft outline and preliminary statement re:             2.10       975.00         $2,047.50
                                opposition to settlement motion and answers to
                                allegations in motion
01/03/2018    LFC     AA        Review agreements relating to settlement motion         1.60       975.00         $1,560.00
01/03/2018    LFC     AA        Review first day declaration and case pleadings         0.50       975.00          $487.50
                                regarding debtors’ treatment of Sonangol deposit
01/04/2018    RJF     AA        Email diligence request to debtors.                     0.30      1095.00          $328.50
01/04/2018    RJF     AA        Participate on call with all professionals regarding    0.30      1095.00          $328.50
                                due diligence and related matters.
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                                                                                          Hours           Rate        Amount
01/04/2018    LFC     AA        Outline additional questions for counsel re:               0.40       975.00          $390.00
                                settlement
01/04/2018    LFC     AA        Work on objection to settlement motion                     2.50       975.00         $2,437.50
01/04/2018    RJF     AA        Telephone conference with Schaeffer regarding              0.30      1095.00          $328.50
                                Sonangol.
01/04/2018    BEL     AA        Emails with K&E regarding information request.             0.20       750.00          $150.00
01/04/2018    RJF     AA        Email to Weiland regarding diligence items.                0.20      1095.00          $219.00
01/05/2018    LFC     AA        Review, revise and finalize form of Objection to           1.80       975.00         $1,755.00
                                Settlement Motion
01/05/2018    RJF     AA        Telephone conference with Ira D. Kharasch and              0.30      1095.00          $328.50
                                Ryan regarding Sonangol.
01/09/2018    LFC     AA        Review arbitration pleadings and files concerning          1.40       975.00         $1,365.00
                                Sonangol settlement
01/09/2018    BEL     AA        Email Debtors' counsel regarding information               0.20       750.00          $150.00
                                request.
01/10/2018    LFC     AA        Review documents from due diligence files                  1.70       975.00         $1,657.50
01/10/2018    RJF     AA        Work on D&O investigation.                                 1.00      1095.00         $1,095.00
01/11/2018    LFC     AA        Confer with Ira D Kharasch regarding outstanding           0.10       975.00           $97.50
                                information requests
01/11/2018    RJF     AA        Investigate directors' status.                             0.30      1095.00          $328.50
01/11/2018    IDK     AA        Review of various Sonangol correspondence and              0.40      1050.00          $420.00
                                document requests for status (.2 ); Office conference
                                with L Cantor re same (.2).
01/11/2018    LFC     AA        Prepare for (.3) and participate on conference call        0.90       975.00          $877.50
                                with Conway Mackenzie regarding due diligence
                                information requests concerning the Sonangol
                                settlement motion (.6)
01/11/2018    LFC     AA        Review documents in connection with Sonangol               1.70       975.00         $1,657.50
                                document requests
01/12/2018    LFC     AA        Review and revise information request regarding            0.40       975.00          $390.00
                                Sonangol
01/12/2018    LFC     AA        Review operating agreements for Blocks 20 and 21           1.60       975.00         $1,560.00
                                in connection with settlement
01/12/2018    LFC     AA        Review outstanding information requests and                0.50       975.00          $487.50
                                documents in data room
01/13/2018    IDK     AA        Review of underlying documents giving rights to            1.20      1050.00         $1,260.00
                                Debtor’s affiliate of the rights to drill from Sonangol
                                (1.2).
01/13/2018    AJK     AA        Review and analyze Sonogol settlement motion.              0.80      1050.00          $840.00
01/14/2018    RJF     AA        Email Iain A. W. Nasatir regarding D&O insurance.          0.20      1095.00          $219.00
01/14/2018    IDK     AA        E-mails with R. Feinstein and L. Cantor re status of       0.30      1050.00          $315.00
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                                                                                          Hours           Rate        Amount
                                Sonangol information requests (.3).
01/14/2018    LFC     AA        Review documents received pursuant to information          1.30       975.00         $1,267.50
                                request.
01/16/2018    RJF     AA        Work on longterm document requests regarding               0.40      1095.00          $438.00
                                exchange offers, etc.
01/16/2018    IDK     AA        Office conference with L Cantor re Sonangol status         0.30      1050.00          $315.00
                                and need for us to set up call with Debtors counsel
                                on same with others (.2); Review of correspondence
                                re same (.1).
01/16/2018    IDK     AA        Office conference with L Cantor re status of               1.50      1050.00         $1,575.00
                                information on Sonangol and potential updated
                                limited objection comments, and new data in data
                                room (.2); Review of correspondence with Conway
                                Mackenzie and L Cantor re new data from Debtors
                                on Sonangol (.1); Emails with Conway Mackenzie
                                re information from

                                               Attend conference call with

                                                                        (.5); Email to
                                attorneys re                                      steps
                                                                  (.3); Review of
                                correspondence with
                                                (.1); Office conference with R.
                                Pachulski re same and potential meeting (.1).
01/16/2018    LFC     AA        Revise Objection to Settlement Agreement with              2.50       975.00         $2,437.50
                                Sonangol
01/16/2018    LFC     AA        Confer with I. Kharasch regarding objection to             0.20       975.00          $195.00
                                settlement motion
01/16/2018    LFC     AA        Draft –e-mail correspondence to local counsel (.1)         0.20       975.00          $195.00
                                and Conway Mackenzie regarding Production
                                Sharing Agreement and Risk Services Agreement
                                (.1)
01/16/2018    LFC     AA        Review operating reports and additional data               0.40       975.00          $390.00
                                provided by Debtors.
01/17/2018    SWG     AA        Receive and review Debtors' documents.                     0.30       495.00          $148.50
01/17/2018    RJF     AA        Internal emails regarding debt exchange and make           0.30      1095.00          $328.50
                                whole investigations.
01/17/2018    IDK     AA        Emails with attorneys re Whitton request for our           0.40      1050.00          $420.00
                                discovery requests on debtors re Sonangol (.2);
                                Office conferences with L Cantor re new
                                information in data room, and status of objection to
                                Sonangol, and of call with Debtors re same (.2).
01/17/2018    IDK     AA        Emails with Conway Mackenzie, others re Debtors'           0.30      1050.00          $315.00
                                memo on its stipulation with Whitton on the
                                Sonangol settlement proceeds, review of same, and
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                                                                                     Hours           Rate        Amount
                                potential problems with stipulation.
01/17/2018    LFC     AA        Conference call with Ken Green and Conway             0.80       975.00          $780.00
                                Mackenzie regarding settlement motion and
                                operating agreements
01/17/2018    LFC     AA        Revise objection to settlement motion                 2.50       975.00         $2,437.50
01/17/2018    LFC     AA        Review proposed language on order to approve          0.20       975.00          $195.00
                                settlement and related issues
01/17/2018    LFC     AA        Review and revise objection to settlement motion      1.30       975.00         $1,267.50
01/18/2018    SWG     AA        Correspondence regarding documents received from      0.80       495.00          $396.00
                                Debtors.
01/18/2018    RJF     AA        Review and comment on longer term document            0.40      1095.00          $438.00
                                requests.
01/18/2018    LFC     AA        Review documents provided by Debtors in response      1.50       975.00         $1,462.50
                                to information requests
01/18/2018    LFC     AA        Conference call with Brad Weiland, Benjamin           0.80       975.00          $780.00
                                Winger and Ken Green regarding Settlement Motion
01/18/2018    LFC     AA        Review and revise objection to motion to approve      1.80       975.00         $1,755.00
                                settlement agreement with Sonangol
01/18/2018    LFC     AA        Further revise settlement motion objection            0.60       975.00          $585.00
01/18/2018    LFC     AA        Meeting with I. Kharasch re Sonangol settlement       0.50       975.00          $487.50
                                conference with debtors’ counsel
01/18/2018    LFC     AA        Review data and notes and draft memo regarding        0.80       975.00          $780.00
                                outstanding information requests for Sonangol
                                settlement motion and primary objection issues
01/18/2018    LFC     AA        Call with Ken Green and Ira Kharasch regarding        0.20       975.00          $195.00
                                Sonangol settlement motion
01/18/2018    LFC     AA        Review information requests and prepare for all       0.50       975.00          $487.50
                                with K&E re: Settlement Motion
01/18/2018    LFC     AA        Follow-up call with Ken Green regarding settlement    0.20       975.00          $195.00
                                motion call
01/18/2018    LFC     AA        Conference with Brad Weiland and Ken Green            0.20       975.00          $195.00
                                regarding Production Sharing Contract
01/18/2018    RJF     AA        Review Sonangol settlement language.                  0.10      1095.00          $109.50
01/18/2018    RJF     AA        Review Sonangol limited objection.                    0.20      1095.00          $219.00
01/18/2018    LFC     AA        Review and analysis regarding additional documents    1.30       975.00         $1,267.50
                                re: Angola operations and valuations
01/18/2018    JHD     AA        Telephone conference with G. Glazer re document       0.20      1245.00          $249.00
                                request and analysis of exchange issues
01/19/2018    LFC     AA        Review documents for depositions and hearings on      0.60       975.00          $585.00
                                Sonangol
01/19/2018    LFC     AA        Review virtual data room, presentations and           2.50       975.00         $2,437.50
                                financial data relating to Sonangol settlement
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                                                                                        Hours           Rate         Amount
01/19/2018    LFC     AA        Review investment reports regarding Sonangol             0.30       975.00           $292.50
01/19/2018    LFC     AA        Meeting with Alan J. Kornfeld re: depositions and        1.50       975.00          $1,462.50
                                hearing in Cobalt re: Sonangol
01/19/2018    LFC     AA        Review Sonangol limited objection and e-mail             0.20       975.00           $195.00
                                memos regarding same
01/19/2018    AJK     AA        Review Sonangol documents.                               3.80      1050.00          $3,990.00
01/19/2018    MBL     AA        Emails with I. Kharasch re Sonangol proceeds.            0.20       875.00           $175.00
01/19/2018    MBL     AA        Review draft Sonangol objection and misc. emails to      0.30       875.00           $262.50
                                Committee re same.
01/19/2018    RJF     AA        Call with C. Ryan, J. Young regarding Sonangol,          0.40      1095.00           $438.00
                                etc.
01/19/2018    AJK     AA        Attend meeting re Sonangol motion.                       1.20      1050.00          $1,260.00
01/20/2018    MBL     AA        Emails with I. Kharasch re Sonangol proceeds.            0.10       875.00            $87.50
01/21/2018    AJK     AA        Review Sonangol documents.                               6.80      1050.00          $7,140.00
01/21/2018    AJK     AA        Prepare for Sonangol deposition.                         3.50      1050.00          $3,675.00
01/21/2018    AJK     AA        Review and analyze Sonangol issue.                       3.70      1050.00          $3,885.00
01/22/2018    JMF     AA        Review cash collateral & Sonangol objections.            0.80       850.00           $680.00
01/23/2018    IDK     AA        Emails with L Cantor re Debtors' markup of               0.30      1050.00           $315.00
                                Sonangol order today and differences and our
                                requests, including review of same (.3).
01/24/2018    IDK     AA        Review of Debtors' just produced Sonangol letter, as     0.30      1050.00           $315.00
                                well as Sonangol’s latest pleading re settlement.
01/28/2018    RJF     AA        Analyze derivative and securities claims.                2.00      1095.00          $2,190.00
01/29/2018    IDK     AA        Telephone conference with B Levine re                    0.10      1050.00           $105.00

                                                 (.1).
                                                                                        82.60                      $82,987.50

  Avoidance Actions
12/29/2017    IDK     AC        Review of correspondence with Debtors re our             1.50      1025.00          $1,537.50
                                request to move Jan 4 hearing on injunction motion
                                re securities litigation (.1); Attend conference call
                                with Debtors counsel on upcoming preliminary
                                injunction motion on securities litigation (.4);
                                Review briefly Debtor’s injunction motion re same
                                (.3); Emails with R. Feinstein re next steps with
                                committee (.1); Emails with Committee chair re
                                need for call re same (.2); Attend call with
                                Committee chair re same for committee position
                                (.3); Telephone conference R. Feinstein re same and
                                next steps (.1).
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                                                                                        Hours           Rate        Amount
12/29/2017    RJF     AC        Call with Debtors' counsel regarding motion to stay      0.40      1050.00          $420.00
                                securities suits.
12/29/2017    RJF     AC        Telephone conference with Ira D. Kharasch                0.20      1050.00          $210.00
                                regarding stay issue.
12/29/2017    RJF     AC        Telephone conference with Ira D. Kharasch and            0.30      1050.00          $315.00
                                Ryan regarding stay issue.
12/30/2017    RJF     AC        Call with E. Schaffer regarding securities action and    0.30      1050.00          $315.00
                                stay motion.
01/02/2018    IDK     AC        Emails with R. Feinstein re status of committee          0.50      1050.00          $525.00
                                support of Debtors' injunction motion (.2); E-mails
                                and telephone conference with Beth re her draft re
                                our joinder to same, and brief review of same (.2);
                                Review of emails with E. Schaffer re same and what
                                position Committee will take (.1).
01/02/2018    RJF     AC        Comment on draft joinder to motion to stay.              0.10      1095.00          $109.50
01/02/2018    RJF     AC        Telephone conference with Schlumberger regarding         0.30      1095.00          $328.50
                                extension of stay in securities case.
01/02/2018    RJF     AC        Office conferences with Beth E. Levine regarding         0.30      1095.00          $328.50
                                motion to stay securities actions.
01/02/2018    BEL     AC        Draft joinder to motion to stay.                         2.70       750.00         $2,025.00
01/03/2018    IDK     AC        Emails with attorneys re need to revise our draft        2.10      1050.00         $2,205.00
                                joinder to Debtor’s injunction motion re reservation
                                of rights, and review of same (.3); Review and
                                consider in detail pleading for tomorrow’s hearing
                                on injunction motion, including opposition and reply
                                of Debtors, as well as consider argument for
                                Committee at hearing (1.8).
01/03/2018    RJF     AC        Office conference with Maria Bove regarding              0.20      1095.00          $219.00
                                joinder to stay motion.
01/03/2018    RJF     AC        Office conference with Beth E. Levine regarding          0.10      1095.00          $109.50
                                joinder to stay motion.
01/03/2018    RJF     AC        Review Debtors' reply in support of motion to            0.50      1095.00          $547.50
                                extend automatic stay.
01/03/2018    RJF     AC        Review and revise joinder to motion to extend stay.      0.20      1095.00          $219.00
01/03/2018    RJF     AC        Revise joinder to stay motion.                           0.20      1095.00          $219.00
01/03/2018    BEL     AC        Review Debtors reply in support of motion for stay.      0.70       750.00          $525.00
01/03/2018    BEL     AC        Review and revise joinder to motion to extend stay.      1.10       750.00          $825.00
01/03/2018    BEL     AC        Circulate pleadings re: securities litigation.           0.20       750.00          $150.00
01/03/2018    BEL     AC        Further revisions to joinder.                            0.50       750.00          $375.00
01/03/2018    BEL     AC        Finalize and arrange to file joinder.                    0.40       750.00          $300.00
01/03/2018    BEL     AC        Review coverage litigation pleadings and docket.         0.80       750.00          $600.00
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                                                                                       Hours           Rate         Amount
01/03/2018    MB      AC        Office conferences with R. Feinstein and B. Levine      0.10       795.00            $79.50
                                re Committee joinder re stay extension.
                                                                                       13.70                      $12,487.50

  Asset Disposition [B130]
01/02/2018    JMF     AD        Analyze Sonongol settlement issues re sale issue.       0.40       850.00           $340.00
01/02/2018    IDK     AD        E-mails and telephone conference with J Fried re        0.30      1050.00           $315.00
                                issues on JIB/working interest payment motion and
                                how resolved in prior cases.
01/02/2018    LFC     AD        Review case documents and documents relating to         2.80       975.00          $2,730.00
                                asset sale and Sonangol transaction
01/02/2018    MB      AD        Review bid procedures motion (.2); legal research re    0.50       795.00           $397.50
                                same (.3).
01/02/2018    JMF     AD        Review prior sale procedures.                           0.60       850.00           $510.00
01/03/2018    RJF     AD        Office conferences with Maria Bove regarding bid        0.30      1095.00           $328.50
                                procedures.
01/03/2018    MB      AD        Review Milbank comments to bid procedures order         0.70       795.00           $556.50
                                and research re same.
01/04/2018    RJF     AD        Followup call with J. Young, P. Jansen regarding        0.20      1095.00           $219.00
                                sale process.
01/04/2018    IDK     AD        Email correspondence with attorneys re problem in       0.60      1050.00           $630.00
                                bid procedures re mandated plan provision with bid,
                                including brief review of our markup of same, as
                                well as timing of DS hearing before auction (.4);
                                Emails with Conway Mackenzie on Sonangol
                                concession issues (.2).
01/04/2018    RJF     AD        Telephone conference with Ripley regarding bid          0.30      1095.00           $328.50
                                procedures.
01/04/2018    RJF     AD        Review and analyze bid procedures motion.               0.70      1095.00           $766.50
01/04/2018    RJF     AD        Telephone conference with Maria Bove regarding          0.30      1095.00           $328.50
                                bid procedures.
01/04/2018    RJF     AD        Telephone conference with Ira D. Kharasch               0.30      1095.00           $328.50
                                regarding bid procedures.
01/04/2018    MB      AD        Telephone conference with R. Feinstein re bid           0.20       795.00           $159.00
                                procedures plan process.
01/04/2018    MB      AD        Revise bid procedures order.                            2.50       795.00          $1,987.50
01/04/2018    SWG     AD        Review ORRI agreement with Whitton.                     0.60       495.00           $297.00
01/05/2018    IDK     AD        Email correspondence with Conway Mackenzie re           0.30      1050.00           $315.00
                                need for call on bid procedures (.1); Emails with
                                Conway Mackenzie re questions on their Sonangol
                                concession analysis (.2).
01/05/2018    LFC     AD        Review Committee advisors’ analysis of Sonangol         0.30       975.00           $292.50
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                                                                                       Hours           Rate        Amount
                                concessions and consider impact on marketing / sale
01/05/2018    RJF     AD        Telephone conference with G. Uzzi, Ira D. Kharasch      0.50      1095.00          $547.50
                                regarding bid procedures and Sonangol.
01/05/2018    MB      AD        Review Chevron objection re bid procedures motion.      0.20       795.00          $159.00
01/07/2018    RJF     AD        Telephone conference with Jeffrey N. Pomerantz          1.40      1095.00         $1,533.00
                                and Ira D. Kharasch regarding sale process and other
                                pending matters.
01/09/2018    IDK     AD        Review of numerous e-mails on marking up sale           0.30      1050.00          $315.00
                                order, and many issues on sale process (.2); E-mails
                                with M. Litvak and L. Cantor re lender description
                                of Sonangol override (.1).
01/09/2018    JNP     AD        Emails regarding response to bid procedures motion      0.50       975.00          $487.50
                                and order (.3); Conference with Robert J. Feinstein
                                regarding same (.2).
01/09/2018    JNP     AD        Review bid procedures motion and procedures (.8);       1.00       975.00          $975.00
                                Email to M. Bove regarding same (.2).
01/09/2018    RJF     AD        Conferences with Maria Bove regarding bid               0.30      1095.00          $328.50
                                procedure issues.
01/09/2018    MB      AD        Review J. Pomerantz comments to bid procedures          0.30       795.00          $238.50
                                and respond.
01/11/2018    RJF     AD        Conferences with Jeffrey N. Pomerantz regarding         0.50      1095.00          $547.50
                                bid procedures and related issues.
01/11/2018    MB      AD        Provide further comments on bid procedure order.        1.30       795.00         $1,033.50
01/12/2018    AJK     AD        Review and analyze bid procedure motion.                0.80      1050.00          $840.00
01/12/2018    IDK     AD        E-mails and telephone conference with L Cantor re       1.10      1050.00         $1,155.00
                                Sonangol information/document requests, debt
                                issues, and royalty amount issues (.4); E-mails with
                                L Cantor re draft of letter re same (.3); Review of
                                correspondence with Conway Mackenzie re their
                                comments to draft letter (.1); E-mails and telephone
                                conference with Ken Green re analysis of Angolan
                                documents (.3).
01/12/2018    JNP     AD        Conference with C. Ryan, Ira D. Kharasch and            0.40       975.00          $390.00
                                Robert J. Feinstein regarding SOP and strategy.
01/12/2018    JNP     AD        Conference with Milbank, Centerview, Conway             1.00       975.00          $975.00
                                Mackenzie, Robert J. Feinstein and Ira D. Kharasch
                                regarding sale process and related issues.
01/12/2018    LFC     AD        Draft second information request regarding              0.40       975.00          $390.00
                                Sonangol and settlement motion (.3); revise same
                                (.1).
01/13/2018    JMF     AD        Draft opposition to Sale Incentive motion.              1.70       850.00         $1,445.00
01/13/2018    JMF     AD        Review background documents re Sale Incentive           0.80       850.00          $680.00
                                motion issues.
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                                                                                         Hours           Rate        Amount
01/14/2018    RJF     AD        Outline bid procedures objection.                         0.40      1095.00          $438.00
01/15/2018    IDK     AD        Office conferences with L Cantor re new                   1.10      1050.00         $1,155.00
                                information relating to Sonangol, including



                                                                          (.5);
                                Office conference with R. Pachulski re same (.2);
                                Emails with Ken Green re
                                                           including
                                correspondence with Debtors re same (.1).
01/15/2018    LFC     AD        Review documents produced by Debtors in response          3.20       975.00         $3,120.00
                                to Committee information requests
01/15/2018    LFC     AD        Review intercompany balances and balance sheets           0.40       975.00          $390.00
                                of non-debtors entities
01/15/2018    LFC     AD        Review discovery requests and comments                    0.10       975.00           $97.50
01/15/2018    IDK     AD        Review and consider correspondence and memo               0.30      1050.00          $315.00
                                from ad hoc unsecured group re potential alternative
                                transaction other than current sale process, including
                                correspondence with same.
01/16/2018    JNP     AD        Conference with J. Young, Ira D. Kharasch and             0.50       975.00          $487.50
                                Robert J. Feinstein regarding status and sale process.
01/16/2018    JNP     AD        Conference with Robert J. Feinstein and Ira D.            0.50       975.00          $487.50
                                Kharasch regarding sale issues.
01/16/2018    JNP     AD        Conference with Robert J. Feinstein, Ira D.               1.00       975.00          $975.00
                                Kharasch and Kirkland regarding sale issues and
                                related.
01/16/2018    JNP     AD        Review and revise bid procedures order and bid            1.00       975.00          $975.00
                                procedures.
01/16/2018    JNP     AD        Conference with Weill, Ira D. Kharasch and Robert         0.50       975.00          $487.50
                                J. Feinstein regarding case issues and sale process.
01/16/2018    LFC     AD        Review and analysis of information provided by the        2.60       975.00         $2,535.00
                                Debtors.
01/16/2018    RJF     AD        Review milestones in cash collateral and Bid              0.30      1095.00          $328.50
                                Procedures motions.
01/16/2018    RJF     AD        Revise draft objection to bid procedures motion.          1.00      1095.00         $1,095.00
01/16/2018    RJF     AD        Call with Ira D. Kharasch, Jeffrey N. Pomerantz           0.30      1095.00          $328.50
                                regarding bid procedures and related issues.
01/16/2018    MB      AD        Review R. Feinstein notes re bid procedure                0.50       795.00          $397.50
                                objection (.2); office conference with R. Feinstein re
                                same (.3).
01/16/2018    SWG     AD        Research issues re bid procedures objection.              1.20       495.00          $594.00
01/16/2018    AJK     AD        Attention to bid procedures and litigation issues.        0.60      1050.00          $630.00
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                                                                                      Hours           Rate        Amount
01/17/2018    IDK     AD        Emails with Debtors' counsel and attend conference     1.70      1050.00         $1,785.00
                                call with Debtor’ counsel and J. Pomerantz re bid
                                procedures and sale issues (.3); Telephone
                                conference with J. Pomerantz re result of call and
                                408 concerns (.1); Attend conference call with
                                Conway Mackenzie and J. Pomerantz re result of
                                same call and sale timeline issues (.3); Review of
                                latest markup of bid procedure order and consider
                                revisions before sending to Debtors counsel (.4);
                                Telephone conferences with M Bove and John
                                Young re issues in bid procedures markup and need
                                for further changes (.4); Emails with R. Feinstein
                                and J. Pomerantz re status of bid procedures and
                                timeline concerns of Committee members and status
                                of same (.2).
01/17/2018    JNP     AD        Conference with B. Weiland and Ira D. Kharasch         0.30       975.00          $292.50
                                regarding bid procedures and related issues.
01/17/2018    JNP     AD        Conference with Ira D. Kharasch after call with B.     0.30       975.00          $292.50
                                Weiland re bid procedures and related issues.
01/17/2018    RJF     AD        Emails regarding bid procedures settlement             0.30      1095.00          $328.50
                                proposal.
01/17/2018    RJF     AD        Review and comment on Debtors' revised bid             0.50      1095.00          $547.50
                                procedures.
01/17/2018    RJF     AD        Telephone conference with Ira D. Kharasch              0.30      1095.00          $328.50
                                regarding SOP issue.
01/17/2018    RJF     AD        Revise objection to bid procedures and research re     0.50      1095.00          $547.50
                                same.
01/17/2018    MB      AD        Telephone conference with I. Kharasch and J.           0.40       795.00          $318.00
                                Young re bid procedures.
01/17/2018    MB      AD        Review J. Pomerantz and R. Feinstein comments to       0.30       795.00          $238.50
                                bid procedures and respond to same.
01/17/2018    MB      AD        Revise bid procedure order and bid procedures (.4);    0.50       795.00          $397.50
                                send to Debtors counsel (.1).
01/17/2018    MB      AD        Revise bid procedures objection.                       3.00       795.00         $2,385.00
01/18/2018    RJF     AD        Draft limited objection to bid procedures.             0.40      1095.00          $438.00
01/18/2018    IDK     AD        Review of correspondence with Conway Mackenzie         1.50      1050.00         $1,575.00
                                on new data re Sonangol in data room, including
                                more financial information on balance sheet of
                                entities, and brief review of same (.3); Emails and
                                office conferences with L Cantor re summary of her
                                call with Debtors counsel on Sonangol questions and
                                information status, and open issues (.3); Telephone
                                conference with Ken Green and L Cantor re same
                                for upcoming committee call and summary of
                                further call with Debtors counsel re same (.3);
                                Review of Ken Green’s summary of issue on
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                                                                                        Hours           Rate        Amount
                                remaining rights in Sonangol (.1); Emails with
                                Conway Mackenzie re issues on flow of funds from
                                Sonangol settlement proceeds (.3); Review of
                                revised draft of our objection to Sonangol, and
                                consider changes to be made (.2).
01/18/2018    JNP     AD        Review and respond to email from Maria Bove              0.10       975.00           $97.50
                                regarding bid procedures.
01/18/2018    MB      AD        Review Debtors' redline of bid procedures order and      0.80       795.00          $636.00
                                procedures (.7); email R. Feinstein re open issues
                                (.1).
01/18/2018    MB      AD        Review bid procedures objection (.7); research re        3.20       795.00         $2,544.00
                                same (2.5).
01/18/2018    MB      AD        Revise new drafts of Debtors' bid procedures and bid     0.30       795.00          $238.50
                                procedure order.
01/19/2018    IDK     AD        Emails with Committee re draft of Sonangol               0.60      1050.00          $630.00
                                objection and feedback (.2); Emails with attorneys re
                                Committee requests re modification of same re no
                                problem with amounts (.2); Telephone conference
                                with S Golden re how to revise same objection,
                                including review of revisions (.2).
01/19/2018    IDK     AD        Emails with L Cantor re Sonangol limited objection,      1.40      1050.00         $1,470.00
                                including review of same (.2); Emails with
                                representative for

                                                        (.2); Emails with Conway
                                Mackenzie, Ken Green and L Cantor re same and
                                related questions (.2); Emails with L Cantor and S
                                Golden re relevant information in public filings re
                                balance sheet information (.2); Office conferences
                                with A. Kornfeld and L Cantor re result of
                                committee call and outstanding discovery and need
                                to modify Sonangol opposition (.3); Office
                                conference with A. Kornfeld re discovery issues on
                                Sonangol (.1); Telephone conference with Ken
                                Green and A. Kornfeld re Sonangol discovery and
                                issues re same and deponent and coordination (.2).
01/19/2018    LFC     AD        Confer with I. Kharasch (.2) and revise objection to     0.40       975.00          $390.00
                                Sonangol settlement motion (.2).
01/19/2018    MB      AD        Emails with PSZJ re bid procedure motion/status.         0.20       795.00          $159.00
01/19/2018    RJF     AD        Call with Ad Hoc professionals regarding bid             0.80      1095.00          $876.00
                                procedures and related issues.
01/20/2018    RJF     AD        Emails with J. Young regarding revised bid               0.10      1095.00          $109.50
                                procedures.
01/20/2018    RJF     AD        Review revised bid procedures.                           0.20      1095.00          $219.00
01/22/2018    JNP     AD        Review Houlihan Lokey expert report.                     0.20       975.00          $195.00
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                                                                                      Hours           Rate        Amount
01/22/2018    JNP     AD        Review and respond to Maria Bove email regarding       0.10       975.00           $97.50
                                bid procedures.
01/22/2018    RJF     AD        Office conference with Maria Bove re bid               0.20      1095.00          $219.00
                                procedures order.
01/22/2018    RJF     AD        Review revised bid procedures order.                   0.30      1095.00          $328.50
01/22/2018    MB      AD        Review revised bid procedures (.7); email to R.        0.80       795.00          $636.00
                                Feinstein re open issues (.1).
01/22/2018    MB      AD        Review bid procedures and order (.4); email to         0.60       795.00          $477.00
                                Debtors counsel re comments (.1); emails with J.
                                Pomerantz re same (.1).
01/22/2018    MB      AD        Review Houlihan Lokey expert report re bid             0.20       795.00          $159.00
                                procedures.
01/23/2018    IDK     AD        Emails with Debtor’s counsel and others re Debtor’s    0.30      1050.00          $315.00
                                draft APA (.3).
01/23/2018    JNP     AD        Emails with Richard J. Gruber regarding review of      0.10       975.00           $97.50
                                sale agreement.
01/23/2018    JNP     AD        Review emails regarding status of bid procedures       0.10       975.00           $97.50
                                order and procedures.
01/23/2018    RJF     AD        Review revised bid procedures.                         0.30      1095.00          $328.50
01/23/2018    RJF     AD        Internal emails regarding bid procedures.              0.20      1095.00          $219.00
01/23/2018    MB      AD        Review revised bid procedures and order (.3); email    0.50       795.00          $397.50
                                to J. Pomerantz and R. Feinstein re remaining open
                                issues and changes (.2).
01/23/2018    MB      AD        Revise bid procedures and order.                       0.60       795.00          $477.00
01/24/2018    RJG     AD        Review and analyze Debtors' proposed template of       2.90      1025.00         $2,972.50
                                Asset Purchase Agreement.
01/24/2018    IDK     AD        Email and telephone conference with S Golden re        1.80      1050.00         $1,890.00
                                issues on
                                                                    and consider
                                (.4); Review of various docs and Sonangol
                                agreement re

                                      .4); Emails with attorneys re same for
                                upcoming call, including
                                             (.4); Review and consider Debtor’s
                                reply to Sonangol objections/comments, including
                                Committee limited objection (.2); Telephone
                                conference with S Golden re same response and
                                getting to Committee (.1); Review of L Cantor’s
                                notes to depos re Sonangol (.2); Emails with R
                                Feinstein re communicating with Debtors our new
                                position on Sonangol (.1).
01/29/2018    IDK     AD        Emails with R Gruber, others re issues on Debtor’s     0.30      1050.00          $315.00
                                draft APA (.3).
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                                                                                        Hours           Rate         Amount
01/29/2018    JNP     AD        Review and respond to Richard J. Gruber email            0.10       975.00            $97.50
                                regarding summary of Asset Purchase Agreement.
                                                                                        67.60                      $63,868.50

  Bankruptcy Litigation [L430]
01/02/2018    RJF     BL        Telephone conference with Alan J. Kornfeld               0.20      1095.00           $219.00
                                regarding D&O investigation.
01/02/2018    BEL     BL        Review pleadings and background material re              2.60       750.00          $1,950.00
                                Debtors' litigation.
01/02/2018    BEL     BL        Review class action docket.                              0.60       750.00           $450.00
01/02/2018    LSC     BL        Research and correspondence with respect to              0.80       375.00           $300.00
                                Debtors' pending litigation
01/03/2018    IAWN BL           Review pleadings re insurance and policies attached      5.40       925.00          $4,995.00
                                (1.9); analyze same and complaints re D&Os (2.8);
                                email correspondence with R. Feinstein and B.
                                Levine re: same (.7).
01/03/2018    RJF     BL        Internal emails regarding D&O claims.                    0.20      1095.00           $219.00
01/03/2018    JMF     BL        Telephone call with P. Jansen, M. Sedigh re              0.80       850.00           $680.00
                                severance issues.
01/03/2018    LSC     BL        Continued research and correspondence in                 1.90       375.00           $712.50
                                connection with pending litigation of the Debtors
01/04/2018    BEL     BL        Review securities litigation pleadings and draft         4.30       750.00          $3,225.00
                                memo regarding same.
01/05/2018    JMF     BL        All hands call with R. Feinstein, I. Kharasch, S.        1.00       850.00           $850.00
                                Golden, M. Bove re 1/11 hearing.
01/05/2018    JMF     BL        Telephone call with B. Weiland, L. Krucks, R.            0.70       850.00           $595.00
                                Feinstein, I. Kharasch, and M. Bove re 2/11
                                hearings.
01/08/2018    BEL     BL        Review securities litigation pleadings and draft         4.20       750.00          $3,150.00
                                memo regarding same.
01/08/2018    JMF     BL        Telephone calls with I. Kharasch re various issues re    0.40       850.00           $340.00
                                1/11 hearing.
01/08/2018    JMF     BL        Telephone call with R. Feinstein, I. Kharasch, M.        0.60       850.00           $510.00
                                Sedigh, P. Jansen re 1/11 hearing issues.
01/08/2018    LFC     BL        Review arbitration pleadings                             0.60       975.00           $585.00
01/09/2018    BEL     BL        Confer with Robert J. Feinstein regarding open           0.20       750.00           $150.00
                                litigation issues.
01/09/2018    BEL     BL        Review derivative action pleadings and draft memo        3.50       750.00          $2,625.00
                                regarding same.
01/10/2018    BEL     BL        Review, revise and finalize memo regarding               2.40       750.00          $1,800.00
                                derivative actions.
01/11/2018    RJF     BL        Emails regarding discovery for adjourned motions.        0.20      1095.00           $219.00
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                                                                                       Hours           Rate        Amount
01/11/2018    RJF     BL        Telephone conference with Alan J. Kornfeld              0.20      1095.00          $219.00
                                regarding discovery requests.
01/11/2018    BEL     BL        Multiple emails with S. Golden regarding litigation     0.50       750.00          $375.00
                                against directors and officers.
01/13/2018    RJF     BL        Emails with C. Husnick regarding document               0.10      1095.00          $109.50
                                production and objection deadline.
01/14/2018    AJK     BL        Call with R. Feinstein, I. Kharasch, M. Litvak, B.      1.30      1050.00         $1,365.00
                                Levine and S. Golden re discovery.
01/14/2018    AJK     BL        Attention to discovery requests.                        0.70      1050.00          $735.00
01/14/2018    IDK     BL        Attend conference call on discovery for outstanding     1.20      1050.00         $1,260.00
                                motions, including Sonangol (1.2).
01/14/2018    MBL     BL        Call with team to discuss discovery, status, and        1.30       875.00         $1,137.50
                                litigation options.
01/14/2018    RJF     BL        Call regarding discovery for third day hearing with     1.20      1095.00         $1,314.00
                                Beth E. Levine, Alan J. Kornfeld, Ira D. Kharasch,
                                Maxim B. Litvak.
01/14/2018    BEL     BL        Call with Robert J. Feinstein, Alan J. Kornfeld, Ira    0.80       750.00          $600.00
                                D. Kharasch, S. Golden regarding discovery issues.
01/14/2018    BEL     BL        Draft discovery requests.                               4.50       750.00         $3,375.00
01/14/2018    BEL     BL        Research regarding status of state court actions.       0.70       750.00          $525.00
01/14/2018    JMF     BL        Draft deposition topics.                                1.60       850.00         $1,360.00
01/14/2018    SWG     BL        Participate on call regarding discovery matters.        1.20       495.00          $594.00
01/15/2018    LAF     BL        Research re: Texas state court derivative actions.      0.50       395.00          $197.50
01/15/2018    AJK     BL        Call with Conway Mackenzie and PSZJ team re             0.70      1050.00          $735.00
                                litigation issues.
01/15/2018    AJK     BL        Attention to discovery requests.                        0.70      1050.00          $735.00
01/15/2018    JNP     BL        All hands call on pending litigation, motions and       1.20       975.00         $1,170.00
                                discovery.
01/15/2018    MBL     BL        Review draft discovery requests to Debtors (.3);        0.50       875.00          $437.50
                                emails with team re same and revisions thereto (.2).
01/15/2018    RJF     BL        Telephone conference with E. Schaeffer regarding        0.40      1095.00          $438.00
                                discovery issues.
01/15/2018    RJF     BL        Review and comment on omnibus document request.         0.30      1095.00          $328.50
01/15/2018    BEL     BL        Draft, review and revise discovery requests.            4.70       750.00         $3,525.00
01/15/2018    BEL     BL        Call with PSZJ and Conway Mackenzie regarding           0.60       750.00          $450.00
                                open discovery issues.
01/15/2018    BEL     BL        Further revisions of discovery requests.                1.60       750.00         $1,200.00
01/15/2018    JMF     BL        Telephone call with J.N. Pomerantz, I. Kharasch, R.     1.30       850.00         $1,105.00
                                Feinstein, J. Young, P. Jansen, M. Sedigh, B.
                                Levine, and A. Kornfeld re litigation issues.
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                                                                                       Hours           Rate        Amount
01/15/2018    JMF     BL        Review & edit discovery requests.                       0.40       850.00          $340.00
01/15/2018    SWG     BL        Draft deposition notice.                                0.30       495.00          $148.50
01/16/2018    LAF     BL        Research re: Texas state court cases.                   1.50       395.00          $592.50
01/16/2018    AJK     BL        Call with R. Feinstein re discovery issues.             0.30      1050.00          $315.00
01/16/2018    AJK     BL        Call with Debtors' counsel re discovery issues.         0.40      1050.00          $420.00
01/16/2018    AJK     BL        Attention to discovery issues.                          0.30      1050.00          $315.00
01/16/2018    BEL     BL        Emails with Debtors' counsel regarding discovery        0.30       750.00          $225.00
                                issues.
01/16/2018    BEL     BL        Deal with document discovery issues.                    0.80       750.00          $600.00
01/16/2018    BEL     BL        Review state court dockets.                             0.70       750.00          $525.00
01/16/2018    BEL     BL        Review background material on various litigation        3.10       750.00         $2,325.00
                                issues.
01/16/2018    MB      BL        Call with Debtors' professionals re pending matters.    0.90       795.00          $715.50
01/16/2018    AJK     BL        Attention to cash collateral litigation issues.         0.90      1050.00          $945.00
01/17/2018    BEL     BL        Emails with J. Kathman regarding derivative action.     0.20       750.00          $150.00
01/17/2018    BEL     BL        Telephone conference with Paul Jansen regarding         0.30       750.00          $225.00
                                document requests to the debtors.
01/17/2018    BEL     BL        Deal with multiple document issues.                     0.50       750.00          $375.00
01/17/2018    BEL     BL        Emails regarding discovery requests.                    0.60       750.00          $450.00
01/17/2018    BEL     BL        Review draft pleadings.                                 0.90       750.00          $675.00
01/17/2018    BEL     BL        Draft discovery requests.                               3.80       750.00         $2,850.00
01/17/2018    JMF     BL        Review confidentiality agreement.                       0.30       850.00          $255.00
01/18/2018    BEL     BL        Attention to Discovery issues.                          0.90       750.00          $675.00
01/18/2018    BEL     BL        Draft, review and revise discovery requests.            4.20       750.00         $3,150.00
01/18/2018    BEL     BL        Review litigation pleadings.                            0.70       750.00          $525.00
01/18/2018    BEL     BL        Further revisions to discovery requests.                3.80       750.00         $2,850.00
01/18/2018    LSC     BL        Draft certificate of service of discovery               0.20       375.00           $75.00
01/18/2018    GIG     BL        Emails with B. Levine, R. Feinstein re document         0.20       750.00          $150.00
                                requests
01/18/2018    GIG     BL        Call with J. Davidson re avoidance actions and          0.50       750.00          $375.00
                                make-whole
01/18/2018    GIG     BL        Call with J. Davidson re avoidance actions and          0.20       750.00          $150.00
                                make-whole
01/18/2018    GIG     BL        Prepare document requests                               0.60       750.00          $450.00
01/18/2018    GIG     BL        Emails with B. Levine re document requests              0.20       750.00          $150.00
01/18/2018    JHD     BL        Prepare correspondence to Gabriel I. Glazer re          0.20      1245.00          $249.00
                                document requests for analysis of exchange
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                                                                                      Hours           Rate        Amount
                                transactions
01/18/2018    JHD     BL        Telephone conference with Gabriel I. Glazer re         0.50      1245.00          $622.50
                                document requests, potential avoidance actions, re
                                make-whole, and other matters
01/18/2018    JHD     BL        Correspondence with B. Levine re document              0.20      1245.00          $249.00
                                request.
01/18/2018    JHD     BL        Review correspondence from Rob Feinstein re            0.20      1245.00          $249.00
                                document requests (.1) and correspondence from
                                Beth Levine re same (.1)
01/18/2018    JHD     BL        Correspondence with G. Glazer and B. Levine re         0.30      1245.00          $373.50
                                items to be included in document request.
01/19/2018    AJK     BL        Participate on call re litigation issues.              0.50      1050.00          $525.00
01/19/2018    BEL     BL        Telephone conference with A. Kornfeld regarding        0.20       750.00          $150.00
                                additional discovery to draft.
01/19/2018    BEL     BL        Draft, review and revise discovery requests.           2.30       750.00         $1,725.00
01/19/2018    BEL     BL        Participate on call regarding derivative actions.      0.60       750.00          $450.00
01/19/2018    JMF     BL        Draft motion to seal confidential information.         1.10       850.00          $935.00
01/19/2018    AJK     BL        Analysis of litigation issues re severance.            1.30      1050.00         $1,365.00
01/20/2018    AJK     BL        Revise and analyze Sonangol issues.                    4.70      1050.00         $4,935.00
01/20/2018    AJK     BL        Prepare for Sonangol deposition.                       3.30      1050.00         $3,465.00
01/20/2018    BEL     BL        Emails regarding status of discovery.                  0.30       750.00          $225.00
01/20/2018    BEL     BL        Review and revise document request to Debtors.         1.80       750.00         $1,350.00
01/20/2018    JMF     BL        Review incentive materials re approval of SIP (.8);    2.90       850.00         $2,465.00
                                review & edit SIP and severance objection (2.1).
01/20/2018    SWG     BL        Review and analyze produced documents (4.8);           6.10       495.00         $3,019.50
                                summarize same (1.3).
01/20/2018    JHD     BL        Review correspondence from Beth Levine and             0.60      1245.00          $747.00
                                analyze revised document request
01/21/2018    RJF     BL        Emails regarding upcoming discovery with               0.30      1095.00          $328.50
                                Brimmage and A.Kornfeld.
01/21/2018    SWG     BL        Review additional produced documents (2.4);            2.80       495.00         $1,386.00
                                summarize same (.4).
01/21/2018    GIG     BL        Email re document/discovery requests                   0.10       750.00           $75.00
01/22/2018    AJK     BL        Attend meeting with expert in preparation for          2.00      1050.00         $2,100.00
                                depositions.
01/22/2018    AJK     BL        Review documents in preparation for depositions.       4.50      1050.00         $4,725.00
01/22/2018    IDK     BL        Emails with attorneys re coordination of discovery,    0.40      1050.00          $420.00
                                and now combined with discovery by Debtors, and
                                issues on Bid Procedures and SOP and potential
                                discovery.
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                                                                                        Hours           Rate         Amount
01/22/2018    LFC     BL        Dinner meeting with Matt Sedigh, Committee expert        2.00       975.00          $1,950.00
                                witness, in preparation for his deposition on 1/24/18
01/22/2018    LFC     BL        Conference call with Brian Smith and Kenneth             2.00       975.00          $1,950.00
                                Green and Alan Kornfeld regarding Sonangol
                                depositions (.8); Review Sonangol documents for
                                depositions in Houston regarding motion to approve
                                settlement agreement (1.2).
01/22/2018    LFC     BL        Further review documents for depositions re              2.00       975.00          $1,950.00
                                Sonangol settlement
01/22/2018    LFC     BL        Working travel to Houston from Los Angeles in            4.50       975.00          $4,387.50
                                preparation for depositions of Tim Cutt (CEO of
                                Cobalt) and Richard Smith (Senior VP of Cobalt) on
                                Sonangol settlement matters
01/22/2018    RJF     BL        Review Debtors' discovery responses.                     0.30      1095.00           $328.50
01/22/2018    RJF     BL        Telephone conferences with Alan J. Kornfeld              0.40      1095.00           $438.00
                                regarding depositions.
01/22/2018    SWG     BL        Review and analyze produced documents.                   7.10       495.00          $3,514.50
01/22/2018    LSC     BL        Review and analyze Debtors' documents production         2.70       375.00          $1,012.50
                                and correspondence with S. Golden re same.
01/22/2018    RJF     BL        Emails A. Kornfeld regarding depositions.                0.20      1095.00           $219.00
01/22/2018    RJF     BL        Review Debtors' expert reports.                          1.00      1095.00          $1,095.00
01/23/2018    RJF     BL        Prepare for depositions (1.6).                           1.60      1095.00          $1,752.00
01/23/2018    AJK     BL        Prepare for depositions (severance and Sonangol),       13.50      1050.00         $14,175.00
                                including review of documents (5.0); meetings with
                                BH re Sonangol (5.7); and meetings with expert
                                (2.8).
01/23/2018    IDK     BL        Emails with team re need for call on deposition          0.90      1050.00           $945.00
                                today and to whom to go forward, and issues re
                                particular folks (.2); Attend conference call re same
                                (.7).
01/23/2018    JNP     BL        Conference with Ira D. Kharasch, Alan J. Kornfeld        0.70       975.00           $682.50
                                and Robert J. Feinstein regarding discovery.
01/23/2018    JNP     BL        Conference with J. Young regarding pending               0.30       975.00           $292.50
                                litigation.
01/23/2018    LFC     BL        Conferences and meetings at offices of Snow Spence       9.00       975.00          $8,775.00
                                Green, LLP in Houston with Alan Kornfeld, Brian
                                Smith, Kenneth Green in preparation for January 24,
                                2017 depositions regarding contested settlement and
                                compensation motions including (a) discussions with
                                Brian Smith and Kenneth Green regarding
                                Production Sharing Agreement, risk sharing
                                agreement and royalty agreement relating to
                                Sonangol settlement motion, (2.2); (b) review and
                                analysis of rolling document production by debtors
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                                                                                          Hours           Rate        Amount
                                in response to Committee information requests (1.7);
                                (c) identification of issues and topics for depositions
                                of Debtors’ officers and experts on history of
                                transactions in Angola and compensation / severance
                                (1.2); (d) deposition preparation of Committee's
                                compensation expert (1.0), (e) review and analysis
                                of deposition exhibits (2.1); (f) review language on
                                settlement order proposed by debtors (.3); (g)
                                meeting with committee member regarding
                                background of Sonangol transaction and industry
                                information (.5).
01/23/2018    LFC     BL        Conferences with Alan J Kornfeld (.3); draft               2.60       975.00         $2,535.00
                                deposition outlines (2.3).
01/23/2018    JMF     BL        Telephone call with I. Kharasch re 1/25 hearing.           0.10       850.00           $85.00
01/23/2018    SWG     BL        Review produced documents (5.7).                           5.70       495.00         $2,821.50
01/23/2018    RJF     BL        Call with A. Kornfeld, J. Pomerantz and I. Kharasch        0.80      1095.00          $876.00
                                regarding depositions.
01/23/2018    RJF     BL        Telephone conference with A. Kornfeld regarding            0.30      1095.00          $328.50
                                depositions.
01/24/2018    AJK     BL        Depose R. Smith, T. Cutt, J. Marshall and J. Wolf.         6.20      1050.00         $6,510.00
01/24/2018    AJK     BL        Prepare for Debtors' deposition.                           3.70      1050.00         $3,885.00
01/24/2018    LFC     BL        Review notes and prepare summary of Smith and              0.50       975.00          $487.50
                                Cutt testimony regarding Sonangol settlement
                                motion
01/24/2018    LFC     BL        Prepare for (1.5) and attend depositions of Richard        3.00       975.00         $2,925.00
                                Smith, James Wolf and Tim Cutt concerning
                                debtors’ compensation and Sonangol settlement
                                motions (1.5).
01/24/2018    LFC     BL        Review additional documents posted on debtors’             1.50       975.00         $1,462.50
                                data room
01/24/2018    JMF     BL        Review omnibus reply re 9019 and Bid Procedures            0.60       850.00          $510.00
                                motions.
01/24/2018    SWG     BL        Conduct review of Debtors' document production.            2.20       495.00         $1,089.00
01/24/2018    AJK     BL        Defend M. Sedigh deposition.                               3.30      1050.00         $3,465.00
01/24/2018    RJF     BL        Attend depositions at office of Debtors' counsel in        6.00      1095.00         $6,570.00
                                Houston.
01/25/2018    JNP     BL        Conference with I. Kharasch regarding results of           0.30       975.00          $292.50
                                hearing.
01/26/2018    JNP     BL        Conference with R. Feinstein regarding hearing             0.20       975.00          $195.00
                                results and related issues.
01/26/2018    LFC     BL        Confer with A. Kornfeld regarding hearings on              0.20       975.00          $195.00
                                compensation and Sonangol settlement
01/26/2018    RJF     BL        Emails with B. Levine, A. Kornfeld regarding 2004          0.30      1095.00          $328.50
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                                                                                         Hours           Rate        Amount
                                requests.
01/26/2018    BEL     BL        Telephone conference with local counsel regarding         0.20       750.00          $150.00
                                Rule 2004 procedure.
01/26/2018    BEL     BL        Review and revise discovery requests.                     1.20       750.00          $900.00
01/26/2018    GIG     BL        Review email from B. Levine re document requests          0.10       750.00           $75.00
01/26/2018    JHD     BL        Correspondence from B. Levine re document                 0.40      1245.00          $498.00
                                production request (.1); analyze revised request (.3).
01/28/2018    BEL     BL        Review material from local counsel regarding Rule         0.30       750.00          $225.00
                                2004 procedure and email follow-up questions.
01/29/2018    IAWN BL           Review and revise document requests (1.9);                2.30       925.00         $2,127.50
                                correspondence with B. Levine and R. Feinstein re
                                same (.4).
01/29/2018    RJF     BL        Research regarding derivative actions.                    0.80      1095.00          $876.00
01/29/2018    LFC     BL        Confer with Beth Levine regarding Sonangol                0.20       975.00          $195.00
                                litigation matters and discovery requests
01/29/2018    LFC     BL        Review Sonangol documents and deposition                  0.40       975.00          $390.00
                                transcripts regarding Sonangol PSC exploration
                                period and extension notice requirements
01/29/2018    RJF     BL        Review and comment on 2004 request.                       0.50      1095.00          $547.50
01/29/2018    RJF     BL        Office conferences with Beth E. Levine regarding          0.30      1095.00          $328.50
                                document request, derivative actions.
01/29/2018    BEL     BL        Confer with Robert J. Feinstein regarding discovery       0.20       750.00          $150.00
                                issues.
01/29/2018    BEL     BL        Review derivative actions.                                0.30       750.00          $225.00
01/29/2018    BEL     BL        Telephone conference with L. Cantor regarding             0.20       750.00          $150.00
                                Sonangol.
01/29/2018    BEL     BL        Draft, review and revise discovery requests.              4.10       750.00         $3,075.00
01/29/2018    BEL     BL        Review and revise Rule 2004 notice.                       0.60       750.00          $450.00
01/29/2018    SWG     BL        Review third request for production.                      0.20       495.00           $99.00
01/29/2018    SWG     BL        Research issues regarding derivative actions.             2.00       495.00          $990.00
01/29/2018    LSC     BL        Legal research with respect to derivative standing        3.90       375.00         $1,462.50
                                and correspondence regarding the same
01/30/2018    IAWN BL           Review and approve additional revisions to                0.40       925.00          $370.00
                                document request and correspondence with B.
                                Levine re: same.
01/30/2018    RJF     BL        Research regarding derivative claims.                     1.80      1095.00         $1,971.00
01/30/2018    AJK     BL        Attention to discovery requests.                          0.90      1050.00          $945.00
01/30/2018    RJF     BL        Review and comment on 2004 document request.              0.80      1095.00          $876.00
01/30/2018    BEL     BL        Telephone conference with A. Kornfeld regarding           0.20       750.00          $150.00
                                discovery issues.
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                                                                                        Hours            Rate        Amount
01/30/2018    BEL     BL        Finalize document request.                                2.20       750.00         $1,650.00
01/30/2018    BEL     BL        Analysis of derivative action.                            3.10       750.00         $2,325.00
01/30/2018    BEL     BL        Email R. Feinstein regarding derivative action.           0.20       750.00          $150.00
01/30/2018    BEL     BL        Draft email to Debtors' counsel regarding discovery.      0.40       750.00          $300.00
01/30/2018    MB      BL        Office conference with S. Golden re notice periods,       0.50       795.00          $397.50
                                motion to be filed; emails re same; review
                                procedures re same.
01/30/2018    SWG     BL        Continue research regarding pending actions.              2.50       495.00         $1,237.50
01/31/2018    RJF     BL        Office conference with Maria Bove regarding               0.50      1095.00          $547.50
                                standing motion.
01/31/2018    RJF     BL        Research regarding standing motion.                       0.80      1095.00          $876.00
01/31/2018    BEL     BL        Confer with R. Feinstein and M. Bove regarding            0.40       750.00          $300.00
                                derivative actions.
01/31/2018    BEL     BL        Analysis of statute of limitations issues.                0.50       750.00          $375.00
01/31/2018    BEL     BL        Analysis of derivative action.                            3.60       750.00         $2,700.00
01/31/2018    MB      BL        Research re stay/standing re derivative action (.6);      0.80       795.00          $636.00
                                office conferences with R. Feinstein re same (.2).
01/31/2018    LSC     BL        Continued legal research with respect to derivative       1.50       375.00          $562.50
                                standing and correspondence regarding the same
                                                                                        248.60                  $207,306.50

  Business Operations
01/17/2018    LFC     BO        Telephone conference with Ken Green regarding             0.20       975.00          $195.00
                                well operating matters
01/17/2018    LFC     BO        Review documents and public filings regarding             1.60       975.00         $1,560.00
                                Sonangol and Angola operations
01/17/2018    LFC     BO        Review public document filings                            2.50       975.00         $2,437.50
01/17/2018    LAF     BO        Research re: officer & director salaries.                 0.50       395.00          $197.50
01/30/2018    SWG     BO        Review schedules and SOFAs .                              0.30       495.00          $148.50
                                                                                          5.10                      $4,538.50

  Case Administration [B110]
12/28/2017    JMF     CA        Review first day declaration and first day pleadings.     1.80       825.00         $1,485.00
12/28/2017    JMF     CA        Telephone call with I. Kharasch re case background        0.20       825.00          $165.00
                                and sale issues.
12/28/2017    IDK     CA        Emails with Conway Mackenzie re need for call             0.30      1025.00          $307.50
                                tomorrow on status/issues (.1); Emails and telephone
                                conference with J Fried re case and his tasks and
                                next steps, and consider (.2).
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                                                                                         Hours           Rate        Amount
12/28/2017    RJF     CA        Prepare tasks and responsibilities list.                  0.30      1050.00          $315.00
12/28/2017    RJF     CA        Telephone conference with Ira D. Kharasch                 0.30      1050.00          $315.00
                                regarding staffing, etc.
12/28/2017    RJF     CA        Initial call with Debtors' counsel.                       1.30      1050.00         $1,365.00
12/28/2017    RJF     CA        Call with G. Uzzi, I. Kharasch re case issues .           0.50      1050.00          $525.00
12/28/2017    RJF     CA        Emails Debtors' counsel regarding confidentiality,        0.20      1050.00          $210.00
                                data room.
12/28/2017    SWG     CA        Call with L Canty regarding case setup.                   0.20       450.00           $90.00
12/28/2017    SWG     CA        Prepare WIP list.                                         0.70       450.00          $315.00
12/28/2017    SWG     CA        Review committee for motion documents and send            0.50       450.00          $225.00
                                to PSZJ team for review.
12/28/2017    LSC     CA        Update critical dates memo, calendar entries and          1.50       350.00          $525.00
                                reminders
12/28/2017    LSC     CA        Prepare R. Feinstein, I. Kharasch and A. Kornfeld         0.60       350.00          $210.00
                                pro hac vice applications
12/28/2017    LSC     CA        Draft notice of appearance                                0.20       350.00           $70.00
12/28/2017    LSC     CA        Review docket re recent filings and correspondence        0.40       350.00          $140.00
                                re same.
12/28/2017    IDK     CA        Emails with G. Uzzi, counsel to ad hoc re need for        1.10      1025.00         $1,127.50
                                call on issues (.1); Attend telephone conference
                                with G. Uzzi and R. Feinstein re general case issues
                                and ad hoc view (.6); Review and consider list of
                                tasks and responsibilities (.2); Emails with R.
                                Saunders re tasks and further staffing for same (.2).
12/28/2017    IDK     CA        Telephone conference with R. Feinstein re upcoming        1.90      1025.00         $1,947.50
                                call with Debtors' counsel and issues to address (.3);
                                Attend conference call with Debtor’s counsel and R.
                                Feinstein on case issues, motions, and timing (1.3);
                                Review of correspondence with Debtors on bylaws
                                and confidentiality issues (.1); Emails with Lloyd
                                Lim, Indenture Trustee counsel, re information re
                                data room access and other issues (.2)
12/29/2017    AJK     CA        Review case background.                                   0.80      1050.00          $840.00
12/29/2017    LFC     CA        Review executive summary of the case from pitch           1.60       950.00         $1,520.00
                                book, first day declaration and docket
12/29/2017    RJF     CA        Emails with Debtors' counsel regarding scheduling         0.30      1050.00          $315.00
                                issues, confidentiality.
12/29/2017    SWG     CA        Update WIP list.                                          0.20       450.00           $90.00
12/29/2017    SWG     CA        Transmit case documents to I. Kharasch.                   0.20       450.00           $90.00
12/29/2017    IDK     CA        Telephone conference R. Feinstein re general case         1.40      1025.00         $1,435.00
                                status and upcoming motions (.2); Attend conference
                                call with Conway McKenzie re status and issues
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                                                                                        Hours           Rate        Amount
                                (1.1); Review of correspondence with Debtors re our
                                request to move several of the Jan 11 date motions
                                out several weeks (.1).
12/29/2017    IDK     CA        Emails with Debtors' counsel re their proposed           1.00      1025.00         $1,025.00
                                advisor confidentiality and need for call on status
                                (.2); Review of various pleadings, including 1st day
                                declaration, for background and strategy (.8).
12/29/2017    JMF     CA        Review first day motions (.6), telephone call with I.    1.60       825.00         $1,320.00
                                Kharasch, J. Young, R. Feinstein and P. Jenson re
                                same and case issues (1.0).
12/30/2017    RJF     CA        Review and comment on NDA.                               0.50      1050.00          $525.00
12/30/2017    LSC     CA        Revise pro hac vice applications.                        0.20       350.00           $70.00
12/30/2017    IDK     CA        Emails with R. Feinstein and Conway Mackenzie re         0.40      1025.00          $410.00
                                Debtors' request for professional confidentiality and
                                changes to same (.2); Emails with S Golden re my
                                pro hac and revisions for same (.2).
12/31/2017    MBL     CA        Call with I. Kharasch re case background and new         0.20       850.00          $170.00
                                matters.
12/31/2017    RJF     CA        Telephone conference with Ira D. Kharasch                0.50      1050.00          $525.00
                                regarding staffing.
12/31/2017    IDK     CA        Review draft of WIP list and consider items and next     1.60      1025.00         $1,640.00
                                steps for each item (.3); Emails and telephone
                                conference with R. Feinstein re case status tasks and
                                how to handle with team and next steps (.6); Attend
                                conference call with Conway Mackenzie re various
                                case issues and next steps (.7).
12/31/2017    RJF     CA        Review first day motions and transcript.                 1.80      1050.00         $1,890.00
01/01/2018    LFC     CA        Review and consider first day pleadings and              3.00       975.00         $2,925.00
                                settlement motion
01/01/2018    MB      CA        Office conference with R. Feinstein re deadlines and     0.10       795.00           $79.50
                                second day motions.
01/01/2018    IDK     CA        Telephone conference with R. Feinstein re status of      0.90      1050.00          $945.00
                                coordination on numerous motions (.1); E-mails and
                                telephone conference with J. Fried re same (.3);
                                E-mails and telephone conference with S Golden re
                                WIP list and coordination of same (.3); E-mails with
                                R. Feinstein re revised WIP list and coordinating all
                                hands call tomorrow re same (.1); E-mails with team
                                re WIP list and call tomorrow re same (.1).
01/01/2018    MBL     CA        Review first day pleadings and background                1.00       875.00          $875.00
                                materials.
01/01/2018    JMF     CA        Telephone call with I. Kharasch re pending motions       0.60       850.00          $510.00
                                (.2); review background re Debtors operations (.4).
01/01/2018    RJF     CA        Emails with I. Kharasch regarding WIP list items.        0.20      1095.00          $219.00
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                                                                                       Hours           Rate        Amount
01/02/2018    MB      CA        Review WIP (.1); participate on WIP call (.9).          1.00       795.00          $795.00
01/02/2018    MB      CA        Review and analyze case documents, including pitch      1.30       795.00         $1,033.50
                                materials, docket, first day declaration, first day
                                hearing transcript, complex case order, first day
                                hearing transcript and Debtors' deck.
01/02/2018    JMF     CA        Review first day transcript.                            0.40       850.00          $340.00
01/02/2018    JMF     CA        All hands call with R. Feinstein, I. Kharasch, M.       0.90       850.00          $765.00
                                Bove, S. Golden re case issues.
01/02/2018    LFC     CA        Review and analyze case documents                       2.80       975.00         $2,730.00
01/02/2018    LFC     CA        Review local bankruptcy rules                           0.40       975.00          $390.00
01/02/2018    LFC     CA        Review and consider local bankruptcy rules /            0.40       975.00          $390.00
                                requirements
01/02/2018    LFC     CA        Participate on WIP call.                                0.80       975.00          $780.00
01/02/2018    LFC     CA        Participate on WIP call                                 0.80       975.00          $780.00
01/02/2018    MBL     CA        Attend call with team re next steps and pending         0.90       875.00          $787.50
                                tasks.
01/02/2018    RJF     CA        Participate on WIP call.                                0.90      1095.00          $985.50
01/02/2018    SWG     CA        Call with Debtors' counsel re case.                     0.80       495.00          $396.00
01/02/2018    SWG     CA        Participate on Internal WIP call                        1.00       495.00          $495.00
01/02/2018    LSC     CA        Update WIP list and correspondence with S. Golden       0.30       375.00          $112.50
                                re same
01/02/2018    IDK     CA        Attend all hands internal call on motions and tasks     2.60      1050.00         $2,730.00
                                and consider next steps (.9); Emails with K&E re the
                                1st day presentation and need for call today (.1);
                                Attend conference call with Debtor’s counsel on
                                motions and timing (.8); Telephone conference with
                                R. Feinstein re result of call (.1); Telephone
                                conference with Phil Snow re case status and bylaws
                                (.1); Telephone conference with Conway
                                Mackenzie on all motions and status (.6).
01/02/2018    RJF     CA        Call with Debtors' counsel regarding open diligence     0.80      1095.00          $876.00
                                items and timing of second day motions.
01/02/2018    RJF     CA        Call with Conway Mackenzie regarding open items         0.60      1095.00          $657.00
                                on second day hearings.
01/03/2018    MB      CA        Review Conway Mackenzie deck re first days.             0.20       795.00          $159.00
01/03/2018    MB      CA        Conference call with Debtors' counsel and PSZJ re       1.00       795.00          $795.00
                                first days.
01/03/2018    LFC     CA        Review outline of pending motions                       0.20       975.00          $195.00
01/03/2018    LFC     CA        Confer with Richard J Gruber and Beth Dassa             0.30       975.00          $292.50
                                regarding case staffing
01/03/2018    SWG     CA        Review first day hearing transcript.                    0.50       495.00          $247.50
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                                                                                        Hours           Rate        Amount
01/03/2018    SWG     CA        Update WIP list                                          0.10       495.00           $49.50
01/03/2018    SWG     CA        Review proposed orders.                                  0.80       495.00          $396.00
01/03/2018    LSC     CA        Update critical dates memo, calendar entries and         0.30       375.00          $112.50
                                reminders
01/03/2018    LSC     CA        Prepare pro hac vice application for B. Levine           0.10       375.00           $37.50
01/03/2018    LSC     CA        Update Committee contact list                            0.30       375.00          $112.50
01/03/2018    IDK     CA        Emails with attorneys re status of motions set for       2.50      1050.00         $2,625.00
                                next week and progress re same (.2); Emails with
                                Conway Mackenzie on data room access problems
                                (.1); Emails with Debtors' counsel re its request for
                                call, as well as others re same (.1); Attend
                                conference call with Debtors' counsel and other
                                professionals on status of all motions (1.0); Email
                                and telephone conference with Conway Mackenzie,
                                others re result of same call (.4); Telephone
                                conferences with R. Feinstein re next steps with
                                Debtors and need to clarify positions on hearing next
                                week (.2); Preparation of memo to Debtors' counsel
                                re same as to what was agreed to and objection
                                deadlines (.3); Emails with Debtors, others re
                                coordinate another call tomorrow (.2).
01/03/2018    RJF     CA        Call with Debtors' professional regarding pending        1.00      1095.00         $1,095.00
                                motions.
01/03/2018    RJF     CA        Follow up call with Conway Mackenzie, I. Kharasch        0.50      1095.00          $547.50
                                regarding pending motions.
01/04/2018    MBL     CA        Miscellaneous emails with team re status update and      0.30       875.00          $262.50
                                loan documents.
01/04/2018    SWG     CA        Attend to committee organization matters.                0.10       495.00           $49.50
01/04/2018    SWG     CA        Update WIP list.                                         0.30       495.00          $148.50
01/04/2018    IDK     CA        Telephone conference with R. Feinstein on issues on      0.90      1050.00          $945.00
                                numerous motions and next steps (.5); E-mails and
                                telephone conference with R. Feinstein later re his
                                communications with Debtors' counsel on motions
                                and re SOP issues (.3); Emails with S Golden re
                                SOG and Bessie (.1).
01/04/2018    IDK     CA        Emails with S Golden re his draft of Committee           0.70      1050.00          $735.00
                                minutes, including review of same (.2); Review of
                                correspondence with Debtors on our points on
                                motions scheduled for Jan 11, access to data room,
                                NDA, requests for more info, as well as R.
                                Feinstein’s memo to Committee re status of such
                                primary motions with Debtors and feedback from
                                same (.3); Emails with Uzzi and R Feinstein re
                                status of motions and need for call tomorrow (.2).
01/04/2018    RJF     CA        Review Maria Bove comments to second day orders.         0.30      1095.00          $328.50
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                                                                                         Hours          Rate         Amount
01/05/2018    MB      CA        Participate on all hands call re pending motions.         0.60       795.00          $477.00
01/05/2018    MB      CA        Participate on WIP call re status of pending motions.     1.00       795.00          $795.00
01/05/2018    MBL     CA        Attend call with team re pending motions.                 0.80       875.00          $700.00
01/05/2018    RJF     CA        Participate on WIP call.                                  1.00      1095.00         $1,095.00
01/05/2018    RJF     CA        Review and revise bylaws.                                 0.40      1095.00          $438.00
01/05/2018    SWG     CA        Call with Debtors' counsel re case.                       0.70       495.00          $346.50
01/05/2018    SWG     CA        Internal progress call.                                   1.10       495.00          $544.50
01/05/2018    SWG     CA        Finalize bylaws.                                          0.10       495.00           $49.50
01/05/2018    LSC     CA        Review docket and update case files                       0.50       375.00          $187.50
01/05/2018    LSC     CA        Update critical dates memo, calendar entries and          0.40       375.00          $150.00
                                reminders
01/05/2018    IDK     CA        Emails with attorneys re need for call today on status    1.90      1050.00         $1,995.00
                                (.1); Emails with G. Uzzi and R Feinstein re
                                upcoming call today (.1); Attend all hands internal
                                call on status of all motions and next week’s hearing
                                (.9); Telephone conference with G. Uzzi and R.
                                Feinstein re status and motions (.5); Telephone
                                conference with Chris Ryan and R. Feinstein re
                                same (.1); Emails with R Feinstein and J Pomerantz
                                re general case status and coordination of call to
                                discuss (.1); Emails with R Feinstein re status and
                                motions (.1).
01/05/2018    IDK     CA        Emails with Debtors' counsel re his request for call      1.10      1050.00         $1,155.00
                                today on outstanding motions and coordinate
                                meeting with management and Committee, as well
                                as our list of all motions and our current position on
                                each one (.3); Attend conference call with Debtors
                                re same, and Debtors agreement to adjourn most
                                primary motions (.6); Review of emails to
                                Committee & Conway Mackenzie and others re
                                same and coordination of management meeting (.2).
01/05/2018    RJF     CA        Email to Debtors' counsel regarding second day            0.30      1095.00          $328.50
                                motions.
01/05/2018    RJF     CA        Review first day motions, draft orders and                0.80      1095.00          $876.00
                                comments to same.
01/05/2018    RJF     CA        Call with Debtors' counsel regarding pending              0.80      1095.00          $876.00
                                motions.
01/06/2018    JMF     CA        Review first day motions & sale incentive metrics.        0.60       850.00          $510.00
01/06/2018    IDK     CA        Emails with Conway Mackenzie, others re status of         0.20      1050.00          $210.00
                                meetings trying to be set between Conway
                                Mackenzie and Company on Monday, and general
                                meeting with Committee and management.
01/07/2018    JNP     CA        Conferences with R. Feinstein and Ira D. Kharasch         1.40       975.00         $1,365.00
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                                                                                        Hours           Rate        Amount
                                                                                                                    ,
                                regarding case background, sale and related issues.
01/07/2018    SWG     CA        Receive and respond to various emails regarding          0.30       495.00          $148.50
                                Cobalt representation.
01/07/2018    IDK     CA        Attend conference call with J. Pomerantz and R.          2.00      1050.00         $2,100.00
                                Feinstein re all case issues and motions and strategy
                                and division of labor going forward (1.4); E-mails
                                and telephone conference with Debtor’s counsel re
                                need to kick deadline to object by 1 day on Houlihan
                                and rank & file and logistical issues and timing of
                                management meeting (.4); E-mails and telephone
                                conference with R. Feinstein and J. Pomerantz re
                                call with Debtor’s counsel re same (.2).
01/08/2018    JMF     CA        Draft opposition to motions to be heard at 1/11          0.80       850.00          $680.00
                                hearing.
01/08/2018    RJF     CA        Review and revise PSZJ and Conway Mackenzie              0.50      1095.00          $547.50
                                confidentiality agreements.
01/08/2018    RJF     CA        Prepare NDA's for PSZJ and Conway Mackenzie.             0.20      1095.00          $219.00
01/08/2018    MB      CA        Emails with J. Fried (.1); office conference with La     0.20       795.00          $159.00
                                Asia Canty re service today of pleadings (.1).
01/08/2018    SWG     CA        Draft W+E list for hearing and circulate to Pachulski    0.20       495.00           $99.00
                                Stang Ziehl & Jones team.
01/08/2018    LSC     CA        Preparation for service of pleadings and                 0.70       375.00          $262.50
                                correspondence regarding the same
01/08/2018    LSC     CA        Update critical dates memo, calendar entries and         0.40       375.00          $150.00
                                reminders
01/08/2018    IDK     CA        E-mails with Conway Mackenzie re their                   2.20      1050.00         $2,310.00
                                presentation on Houlihan Lokey and rank & file for
                                Committee, including review of same (.3); Attend
                                conference call with Conway Mackenzie and others
                                re same (.6); E-mails and telephone conferences
                                with Brad Weiland re status of request for 1 day
                                extension of time to object and timing of our
                                committee call (.2); E-mails with attorneys re status
                                of same and our objection deadline of today (.2);
                                Telephone conference and e-mails with Conway
                                Mackenzie and R. Feinstein re contacting committee
                                chair on remaining issues on 2d day hearing (.3);
                                E-mails with J Fried and S. Golden re need to revise
                                objection to include Houlihan Lokey, including
                                review of proposed language for same (.3); Office
                                conference with J. Pomerantz re meeting with
                                management this week and coordination of same
                                (.2); Telephone conference with R. Feinstein re same
                                (.1).
01/08/2018    RJF     CA        Review omnibus objection to second day motions.          0.30      1095.00          $328.50
01/08/2018    RJF     CA        Internal emails regarding omnibus objection to           0.20      1095.00          $219.00
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                                                                                          Hours           Rate        Amount
                                second day motions.
01/09/2018    SWG     CA        Finalize witness and exhibit list.                         0.20       495.00           $99.00
01/09/2018    SWG     CA        Receive and respond to emails regarding scheduling.        0.20       495.00           $99.00
01/09/2018    JNP     CA        Telephone conference with I. Kharasch, R.                  0.40       975.00          $390.00
                                Feinstein, C. Ryan and K. McLaurin regarding
                                variety of issues.
01/10/2018    JMF     CA        Review orders re 1/11 hearing.                             1.20       850.00         $1,020.00
01/10/2018    SWG     CA        Update WIP list.                                           0.10       495.00           $49.50
01/10/2018    LSC     CA        Review newly filed pleadings and correspondence            0.30       375.00          $112.50
                                regarding the same
01/10/2018    LSC     CA        Update critical dates memo, calendar entries and           0.30       375.00          $112.50
                                reminders
01/10/2018    IDK     CA        E-mails with attorneys re news on 2d lien group and        0.20      1050.00          $210.00
                                need to have call with their counsel (.1); E-mails
                                with counsel for 2d liens re same (.1).
01/11/2018    BEL     CA        Review case pleadings.                                     0.50       750.00          $375.00
01/11/2018    IDK     CA        E-mails and telephone conference with J. Pomerantz         0.30      1050.00          $315.00
                                and R. Feinstein re result of today’s hearing.
01/11/2018    JNP     CA        Emails with Milbank regarding call.                        0.10       975.00           $97.50
01/11/2018    LSC     CA        Prepare pleadings binders for A. Kornfeld and B.           0.50       375.00          $187.50
                                Levine
01/11/2018    IDK     CA        Attend parts of in person meeting with Debtors' and        0.70      1050.00          $735.00
                                counsel via phone (.5); E-mails with attorneys and
                                counsel to 2d liens re status and coordination of calls
                                (.2).
01/11/2018    JNP     CA        Meeting with Robert J. Feinstein before meeting            1.50       975.00         $1,462.50
                                with Debtors and Committee.
01/12/2018    RJF     CA        Call with Ad Hoc Converts re: case status.                 1.00      1095.00         $1,095.00
01/12/2018    JNP     CA        Emails with Weil to schedule call.                         0.10       975.00           $97.50
01/12/2018    SWG     CA        Update WIP list.                                           0.20       495.00           $99.00
01/12/2018    LSC     CA        Update critical dates memo, calendar entries and           0.30       375.00          $112.50
                                reminders
01/12/2018    IDK     CA        Attend conference call with counsels to the ad hoc         1.00      1050.00         $1,050.00
                                unsecured noteholder group on upcoming motions
                                (1.0)
01/12/2018    JMF     CA        Review first day hearing transcript.                       0.30       850.00          $255.00
01/13/2018    JMF     CA        Emails re 1/25 motion issues & status.                     0.20       850.00          $170.00
01/13/2018    MBL     CA        Review emails between R. Feinstein and Debtors'            0.20       875.00          $175.00
                                counsel re pending motions.
01/14/2018    SWG     CA        Update WIP list.                                           2.00       495.00          $990.00
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                                                                                         Hours           Rate        Amount
01/15/2018    IDK     CA        Emails with Debtors and others re need for call on        1.60      1050.00         $1,680.00
                                all outstanding motions, and set for tomorrow (.1);
                                Emails and telephone conference with K. Green re
                                upcoming call today on all remaining motions (.2);
                                Attend conference call with Conway Mackenzie and
                                PSZJ team and K. Green re status of all remaining
                                motions, potential resolutions, potential objections
                                and further discovery (1.2); Review of prior request
                                for due diligence to Debtors (.1).
01/15/2018    RJF     CA        Call with Conway Mackenzie, PSZJ regarding                1.30      1095.00         $1,423.50
                                pending motions.
01/16/2018    JMF     CA        Telephone call with R. Feinstein re 1/25 hearing          0.20       850.00          $170.00
                                issues.
01/16/2018    JMF     CA        Telephone call with I. Kharasch re call with Debtors'     0.30       850.00          $255.00
                                counsel.
01/16/2018    LSC     CA        Update critical dates memo, WIP, calendar entries         0.50       375.00          $187.50
                                and reminders
01/16/2018    IDK     CA        Attend conference call with Debtor’s counsel and          1.70      1050.00         $1,785.00
                                others re status of where we are on remaining
                                motions for the 1/25 hearing (1.1); Office
                                conference J. Pomerantz re result of call (.1); Emails
                                and telephone conference with R. Feinstein and J.
                                Pomerantz re same and next steps based on Debtors
                                call (.5).
01/16/2018    IDK     CA        Emails with Conway Mackenzie and others re need           1.50      1050.00         $1,575.00
                                for update on motions (.1); Attend conference call
                                with Conway Mackenzie and PSZJ re same,
                                including on SOP logistics and status, executive
                                comp alternative (.4); Attend conference call with
                                Weil Gotshall team re 1st lien debt on all primary
                                case issues, including Sonangol and sale issues, and
                                cash collateral and unencumbered assets (.6); Emails
                                and telephone conference with attorneys after call
                                for next steps to respond to Debtors on motions (.3);
                                Emails with Debtors counsel re need for call re same
                                tomorrow (.1).
01/16/2018    RJF     CA        Call with Debtors' counsel regarding pending              1.10      1095.00         $1,204.50
                                motions.
01/17/2018    IDK     CA        Numerous emails and telephone conference with             0.60      1050.00          $630.00
                                Debtors' counsel re possible extension of objection
                                deadline (.3); Emails with attorneys re status of same
                                (.3).
01/17/2018    GIG     CA        Analyze first day declaration                             0.60       750.00          $450.00
01/17/2018    JHD     CA        Analyze first day declaration of Cobalt CFO (.4);         0.60      1245.00          $747.00
                                prepare correspondence to Gabriel I. Glazer re same
                                (.2).
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                                                                                         Hours           Rate        Amount
01/18/2018    IDK     CA        Telephone conference with Debtors' counsel re             0.30      1050.00          $315.00
                                status of pending motions and committee view (.1);
                                Email to attorneys and Conway Mackenzie re same
                                and next steps (.2).
01/18/2018    MB      CA        Review Conway Mackenzie deck re pleadings                 0.20       795.00          $159.00
                                analysis.
01/18/2018    JMF     CA        Internal emails re 1/25 motions.                          0.30       850.00          $255.00
01/18/2018    JMF     CA        Telephone calls with Hector Durant re 1/25 hearing        0.30       850.00          $255.00
                                issues.
01/18/2018    IDK     CA        Emails with attorneys re need to arrange call with        0.50      1050.00          $525.00
                                UST on all motions at UST request (.2); Telephone
                                conference with Debtors counsel on his questions on
                                where we are at on motions (.1); Emails with
                                attorneys re same, and standing issue (.2).
01/18/2018    IDK     CA        Emails with attorneys and Conway Mackenzie after          0.80      1050.00          $840.00
                                Committee call re next steps, and need to coordinate
                                with Debtors re result of call and issues (.2); Attend
                                conference call with same re next steps on
                                outstanding motions, and need for feedback from
                                Centerview (.4); Email and telephone conference
                                with John Young re result of his call with
                                Centerview, and consider (.2).
01/18/2018    RJF     CA        Telephone conference with B. Weiland regarding            0.40      1095.00          $438.00
                                pending motions objection deadlines.
01/19/2018    JMF     CA        Telephone calls with R. Feinstein (.3), I. Kharasch       0.70       850.00          $595.00
                                (.4) re 1/25 motions and pending issues re same.
01/19/2018    SWG     CA        Revise objections to various motions.                     0.20       495.00           $99.00
01/19/2018    SWG     CA        Attend to filing of objections to cash collateral         1.90       495.00          $940.50
                                motion (.6); Sonangol 9019 motion (.6); and
                                severance programs and sales incentive motions (.7).
01/19/2018    LSC     CA        Update case files                                         0.30       375.00          $112.50
01/19/2018    IDK     CA        Emails and telephone conferences with Conway              1.20      1050.00         $1,260.00
                                Mackenzie and J. Pomerantz and R. Feinstein re
                                upcoming committee call on outstanding motions
                                (.5); Emails with Debtors counsel and others re
                                coordinating call together on outstanding motions
                                (.1); Attend conference call with Debtors counsel
                                and others re outstanding motions and upcoming
                                objection deadline (.2); Telephone conference with
                                attorneys re result of call and open issues and
                                consider (.2); Emails with Conway Mackenzie re
                                new information to be presented on Committee call
                                on various things, including clarification of
                                severance/SIP (.2).
01/19/2018    IDK     CA        Emails and telephone conference with Conway               0.80      1050.00          $840.00
                                Mackenzie and attorneys re result of
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                                                                                          Hours           Rate       Amount
                                communications with ad hoc unsecured notes on
                                various motions, including SIP/severance and their
                                attempt to get extensions of time to object (.3);
                                Numerous emails and telephone conferences with
                                attorneys later today re status of Debtor’s new
                                extensions of time re bid procedures and severance
                                objections, and need to file others, including cash
                                collateral, Sonangol, and royalty (.5).
01/19/2018    RJF     CA        Telephone conference with E. Schaeffer regarding           0.30      1095.00         $328.50
                                pending motions.
01/19/2018    RJF     CA        Telephone conference with J. Pomerantz, I.                 0.40      1095.00         $438.00
                                Kharasch regarding pending motions.
01/20/2018    JMF     CA        Internal emails re 1/25 hearing issues.                    0.40       850.00         $340.00
01/22/2018    JNP     CA        Conferences with Robert J. Feinstein regarding             0.30       975.00         $292.50
                                upcoming hearings.
01/22/2018    MB      CA        Office conference with R. Feinstein re status of           0.20       795.00         $159.00
                                pending matters.
01/22/2018    JNP     CA        Participate on WIP call.                                   0.30       975.00         $292.50
01/22/2018    RJF     CA        Participate on WIP call.                                   0.40      1095.00         $438.00
01/22/2018    MB      CA        Participate on WIP call.                                   0.30       795.00         $238.50
01/22/2018    SWG     CA        Participate on WIP call.                                   0.50       495.00         $247.50
01/22/2018    IDK     CA        Emails re coordination of internal all hands call on       0.90      1050.00         $945.00
                                all case issues (.1); Attend call re same (.3); E-mails
                                and telephone conference with Conway Mackenzie
                                and attorneys re same and upcoming hearing and
                                especially severance motion (.5).
01/22/2018    RJF     CA        Review revised proposed orders.                            0.20      1095.00         $219.00
01/23/2018    JNP     CA        Conference with Robert J. Feinstein regarding              0.20       975.00         $195.00
                                pending motions.
01/23/2018    IDK     CA        Emails with attorneys re status of upcoming hearing        0.30      1050.00         $315.00
                                and timing for next Committee meeting tomorrow
                                after depositions, what docs and issues to include for
                                Committee, and coordination of same with
                                Committee members (.3).
01/23/2018    RJF     CA        Further call with Jeffrey N. Pomerantz, Alan J.            0.50      1095.00         $547.50
                                Kornfeld regarding hearing.
01/24/2018    LSC     CA        Update critical dates memo, calendar entries and           0.50       375.00         $187.50
                                reminders
01/24/2018    JNP     CA        Follow-up call with C. Ryan regarding case issues.         0.20       975.00         $195.00
01/25/2018    JMF     CA        Review orders re 1/25 hearing.                             0.30       850.00         $255.00
01/25/2018    LSC     CA        Update case files                                          0.60       375.00         $225.00
01/25/2018    LSC     CA        Review docket, pleadings, and orders and update            0.50       375.00         $187.50
                                critical dates memo, calendar entries and reminders
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                                                                                        Hours            Rate       Amount
01/25/2018    IDK     CA        Emails with attorneys re next steps after hearings        0.10      1050.00         $105.00
                                and need to coordinate with Committee
01/26/2018    IDK     CA        Emails and telephone conference with S Golden re          0.20      1050.00         $210.00
                                summary of court hearing this morning.
01/26/2018    SWG     CA        Transmit case document to Alan Kornfeld.                  1.00       495.00         $495.00
01/26/2018    IDK     CA        Telephone conference with R Feinstein re result of        0.30      1050.00         $315.00
                                hearing today and next steps in case, including
                                exclusivity issues, and consider (.3).
01/29/2018    AJK     CA        Participate on WIP call.                                  0.50      1050.00         $525.00
01/29/2018    BEL     CA        Participate on WIP call.                                  0.50       750.00         $375.00
01/29/2018    JMF     CA        Review orders re hearing.                                 0.40       850.00         $340.00
01/29/2018    JNP     CA        Participate on WIP call.                                  0.60       975.00         $585.00
01/29/2018    RJF     CA        Participate on WIP call.                                  0.50      1095.00         $547.50
01/29/2018    SWG     CA        Participate on WIP call.                                  0.60       495.00         $297.00
01/29/2018    SWG     CA        Update WIP list.                                          0.20       495.00          $99.00
01/29/2018    LSC     CA        Participate on WIP call                                   0.50       375.00         $187.50
01/29/2018    IDK     CA        Review of updated WIP list and consider issues for        0.80      1050.00         $840.00
                                upcoming call (.2); Attend all hands internal call on
                                WIP and next steps in case (.6).
01/30/2018    LSC     CA        Review pleadings and update critical dates memo,          0.30       375.00         $112.50
                                calendar entries and reminders
01/30/2018    LSC     CA        Update case files                                         0.50       375.00         $187.50
01/30/2018    IDK     CA        Emails with attorneys and G. Uzzi re need for call        0.90      1050.00         $945.00
                                on next steps in case and plan/release issues (.1);
                                Attend conference call with G. Uzzi, others re same
                                (.6); Office conference with J. Pomerantz re same
                                and timing for filing exclusivity termination motion
                                and consider (.2).
                                                                                        123.80                  $108,516.50

  Claims Admin/Objections[B310]
01/16/2018    LAF     CO        Legal research re: 503(c)(2) objection.                   1.00       395.00         $395.00
01/30/2018    MB      CO        Review bar date motion.                                   0.50       795.00         $397.50
                                                                                          1.50                      $792.50

  Compensation Prof. [B160]
01/02/2018    MB      CP        Review interim compensation motion and order.             0.30       795.00         $238.50
01/03/2018    MB      CP        Revise interim compensation order.                        0.20       795.00         $159.00
01/04/2018    JMF     CP        Review complete guidelines re fee application issues      0.30       850.00         $255.00
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                                                                                        Hours           Rate        Amount
                                in SD Texas.
                                                                                         0.80                       $652.50

  Employee Benefit/Pension-B220
01/02/2018    JMF     EB        Review wage motion and severance motion (.8)             2.60       850.00         $2,210.00
                                draft analysis re same and prepared payments
                                thereunder (1.8).
01/02/2018    IDK     EB        Email to J. Fried re result of call with Debtors and     0.60      1050.00          $630.00
                                need for focus on rank and file severance request
                                (.2); Emails with J. Fried re his memo on same and
                                open issues re same (.2); Emails with Debtors
                                counsel re rank and file severance and KERP
                                concern (.2).
01/02/2018    RJF     EB        Review severance motion.                                 0.30      1095.00          $328.50
01/02/2018    RJF     EB        Emails with J. Fried regarding severance motion.         0.20      1095.00          $219.00
01/03/2018    JMF     EB        Review severance & wage motions.                         0.70       850.00          $595.00
01/03/2018    JMF     EB        Review first day motions re sale & bonus plan            0.40       850.00          $340.00
                                issues.
01/03/2018    JMF     EB        Draft summary of open issues re wage and incentive       0.40       850.00          $340.00
                                motion.
01/03/2018    IDK     EB        Telephone conference with J. Fried re problems in        0.20      1050.00          $210.00
                                Debtor’s employee motion re rank & file severance
                                and lack of information re same and consider.
01/04/2018    JMF     EB        Review wage & sale incentive motions (.6); analyze       1.40       850.00         $1,190.00
                                issues re payments of severance & bonuses to
                                employees (.8).
01/04/2018    IDK     EB        Emails with J Fried re his status report on severance    0.20      1050.00          $210.00
                                for rank and file and immediate open issues on same
01/04/2018    RJF     EB        Review UST correspondence regarding                      0.10      1095.00          $109.50
                                compensation motions.
01/05/2018    JMF     EB        Research re accrual of severance claims.                 0.80       850.00          $680.00
01/05/2018    JMF     EB        Review wage & incentive plan orders and draft            1.00       850.00          $850.00
                                revisions to same.
01/05/2018    JMF     EB        Telephone calls with P. Jansen re severance issues.      0.10       850.00           $85.00
01/05/2018    JMF     EB        Draft conditional objection to payment of severance      3.20       850.00         $2,720.00
                                & bonus payments.
01/05/2018    JMF     EB        Telephone call with P. Jansen re wage motion.            0.20       850.00          $170.00
01/05/2018    JMF     EB        Review Debtors' materials re incentive plans.            1.20       850.00         $1,020.00
01/05/2018    JMF     EB        Draft summary of open issues re incentive & bonus        0.50       850.00          $425.00
                                payment disputes.
01/05/2018    JMF     EB        Telephone calls with I. Kharasch re wage motion &        0.30       850.00          $255.00
                                severance & bonus payments.
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                                                                                          Hours           Rate        Amount
01/05/2018    IDK     EB        Emails with Conway Mackenzie re status of issues           0.50      1050.00          $525.00
                                and timing of various severance/compensation
                                motions and need for memo to Debtors counsel re
                                our requests for info asap (.3); Telephone conference
                                with J Fried re need to draft limited objection to rank
                                and file severance and points for same, and consider
                                (.2).
01/06/2018    JMF     EB        Draft opposition to wage motion.                           1.40       850.00         $1,190.00
01/06/2018    IDK     EB        Emails with J Fried and Conway Mackenzie on                0.40      1050.00          $420.00
                                status of rank and file analysis, and new info today
                                (.2 ); Review and consider draft objection re same
                                (.2).
01/07/2018    JMF     EB        Review changes to objection to wage motion.                1.20       850.00         $1,020.00
01/07/2018    JMF     EB        Review severance spreadsheet provided by Debtors           0.60       850.00          $510.00
                                (.4); email to P. Jansen & I. Kharasch re same (.2).
01/07/2018    IDK     EB        E-mails with Debtor’s counsel on status of 2nd day         0.80      1050.00          $840.00
                                orders, and need for draft of protocol on the rank and
                                file severance, and Debtor’s proposed language for
                                continuing the executive incentive motion re no
                                prejudice, including our feedback re same and
                                consider (.5); E-mails with J Fried, others re draft of
                                objection and next steps re same, as well as UST
                                comments to same motion (.2); E-mails with
                                Conway Mackenzie and others re need for call
                                tomorrow on rank and file (.1).
01/07/2018    RJF     EB        Emails with Conway Mackenzie, J. Fried and Ira D.          0.30      1095.00          $328.50
                                Kharasch regarding compensation motion.
01/08/2018    JMF     EB        Review severance & bonus program materials.                1.30       850.00         $1,105.00
01/08/2018    JMF     EB        Telephone call with B. Weiland, L. Krucks re               1.00       850.00          $850.00
                                severance issues.
01/08/2018    JMF     EB        Draft objection to wage motion.                            2.80       850.00         $2,380.00
01/08/2018    JMF     EB        Telephone calls with P. Jansen & M. Sedigh (.4) and        0.80       850.00          $680.00
                                I. Kharasch (.4) re severance issues.
01/08/2018    IDK     EB        E-mails with J Fried and Conway Mackenzie re               0.90      1050.00          $945.00
                                status of letter to Debtors' counsel re list of
                                information needed for rank & file motion, and
                                various issues/information for same, including
                                review of letter to Debtors (.3); Review of e-mails
                                with Debtors counsel re our information request and
                                timing for call (.1); E-mails with attorneys and
                                Conway Mackenzie re result of their call with
                                Debtors on rank & file and need for further
                                information (.2); Telephone conferences with J Fried
                                re same and next steps (.3).
01/08/2018    JNP     EB        Call with R. Feinstein, J. Fried, I. Kharasch and          0.80       975.00          $780.00
                                Conway McKenzie regarding rank and file
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                                                                                         Hours           Rate        Amount
                                severance (.6); Follow-up call regarding same (.2).
01/08/2018    RJF     EB        Call with Conway Mackenzie regarding retention of         1.10      1095.00         $1,204.50
                                Houlihan Lokey and severance.
01/08/2018    RJF     EB        Emails with J. Fried and M. Sedigh regarding              0.30      1095.00          $328.50
                                incentive motion.
01/09/2018    IDK     EB        E-mails with Debtors' counsel, others re status of        0.20      1050.00          $210.00
                                getting objection deadline extended.
01/09/2018    JMF     EB        Review wage motion and other objections re                2.70       850.00         $2,295.00
                                updated financial information.
01/09/2018    JMF     EB        Review materials provided by Debtors re diligence         2.10       850.00         $1,785.00
                                issues with respect to wage motion.
01/09/2018    JMF     EB        Multiple telephone calls with L. Krucks (.5) & M.         0.90       850.00          $765.00
                                Sedigh (.4) re wage payment issues.
01/09/2018    LAF     EB        Legal research re: Motion opposing KEIP or KERP.          0.50       395.00          $197.50
01/09/2018    IDK     EB        Review of correspondence with J. Fried and Conway         0.40      1050.00          $420.00
                                Mackenzie re rank & file severance/bonuses and
                                need for further answers for upcoming call, as well
                                as updated objection re same and mark ups of order
                                re same.
01/09/2018    RJF     EB        Call with C. Ryan, I. Kharasch, J. Pomerantz              0.40      1095.00          $438.00
                                regarding severance, Houlihan, Lokey.
01/09/2018    SWG     EB        Review draft objection to wage motion.                    0.10       495.00           $49.50
01/09/2018    JMF     EB        Draft wage order re changes.                              0.80       850.00          $680.00
01/10/2018    JMF     EB        Review KEIP plan re insiders (.8) and analyze             2.10       850.00         $1,785.00
                                similar plans in cases in SD Texas (1.3).
01/11/2018    JMF     EB        Review Royalty motion & incentive plan motion.            0.60       850.00          $510.00
01/11/2018    LAF     EB        Legal research re: objection to royalty payments.         1.80       395.00          $711.00
01/12/2018    IDK     EB        E-mails with attorneys re need for call on royalty        0.20      1050.00          $210.00
                                and incentive compensation on Monday, and
                                coordinate (.2).
01/12/2018    JMF     EB        Analyze issues re royalty payments and review SD          1.60       850.00         $1,360.00
                                Texas orders re same.
01/12/2018    JMF     EB        Review severance motion and collateral documents          0.80       850.00          $680.00
                                re employee payments.
01/13/2018    IDK     EB        E-mails with J Fried, others, and Conway Mackenzie        0.20      1050.00          $210.00
                                re need for call on incentive plan and lien motion on
                                Monday.
01/14/2018    JMF     EB        Review Sale Incentive motion and documents re             1.20       850.00         $1,020.00
                                bonus program.
01/14/2018    JMF     EB        Draft objection to Sale Incentive plan motion.            1.60       850.00         $1,360.00
01/14/2018    RJF     EB        Internal emails with J. Fried regarding sale incentive    0.20      1095.00          $219.00
                                motion.
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                                                                                        Hours           Rate        Amount
01/15/2018    JMF     EB        Continue drafting objection to Sale Incentive            2.80       850.00         $2,380.00
                                motion.
01/15/2018    IDK     EB        Emails with Ken Green re need for his feedback on        0.10      1050.00          $105.00
                                royalty motion (.1).
01/16/2018    PJJ     EB        Draft limited objection to Royalty motion.               0.70       375.00          $262.50
01/16/2018    PJJ     EB        Prepare application to file documents under seal.        2.00       375.00          $750.00
01/16/2018    JMF     EB        Review and revise application to file sale incentive     1.00       850.00          $850.00
                                documents under seal.
01/16/2018    JMF     EB        Continue drafting opposition to Sales Incentive and      5.80       850.00         $4,930.00
                                Severance motion.
01/16/2018    JMF     EB        Telephone call with K. Green re Sales Incentive          0.20       850.00          $170.00
                                motion and Royalty motion.
01/16/2018    JMF     EB        Telephone call with J. Young re Sales Incentive          0.30       850.00          $255.00
                                motion and Royalty motion.
01/16/2018    JMF     EB        Draft objection points to Royalty motion (.4); emails    0.60       850.00          $510.00
                                to Conway Mackenzie & PSZJ team re same (.2).
01/16/2018    JMF     EB        Research re insider severance program approval.          2.40       850.00         $2,040.00
01/16/2018    IDK     EB        Review briefly various issues in Debtor’s motion to      0.90      1050.00          $945.00
                                pay royalties, JIBs, etc., as well as related
                                correspondence from Conway Mackenzie and J
                                Fried re same on various problems and potential
                                fixes to royalty/lien motion and consider (.5);
                                Emails and telephone conference with Ken Green re
                                his issues on same lien/JIB motion and information
                                needed from Debtors (.3); Telephone conference
                                with J Fried re status and call with Debtors and need
                                for proposal to Debtors re how to resolve same (.1).
01/17/2018    JMF     EB        Continue drafting objection to Sales Incentive           4.20       850.00         $3,570.00
                                motion.
01/17/2018    JMF     EB        Draft motion to file objection to Royalty motion         1.60       850.00         $1,360.00
                                under seal.
01/17/2018    JMF     EB        Research re severance approval issues.                   2.10       850.00         $1,785.00
01/17/2018    JMF     EB        Analyze issues re Royalty motion and AFE                 0.60       850.00          $510.00
                                payments.
01/17/2018    JMF     EB        Draft objection to Royalty motion.                       2.00       850.00         $1,700.00
01/17/2018    AJK     EB        Work on oppositions to severance motion.                 1.20      1050.00         $1,260.00
01/17/2018    IDK     EB        Emails and telephone conference with John Young          0.20      1050.00          $210.00
                                re executive compensation and alternative proposal.
01/17/2018    IDK     EB        Emails with J Fried re need to send markup of            0.40      1050.00          $420.00
                                royalty/lien motion to Debtor’s counsel with
                                additional requests, including review of his
                                correspondence to Debtors re same (.3); Review of
                                correspondence from us to Debtors counsel re same
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                                                                                        Hours           Rate        Amount
                                (.1).
01/18/2018    IDK     EB        Emails with Conway Mackenzie and others re new           0.20      1050.00          $210.00
                                information from Centerview re SIP and for call.
01/18/2018    JMF     EB        Research re severance payment issues.                    1.70       850.00         $1,445.00
01/18/2018    JMF     EB        Review Royalty motion and language changes to            0.50       850.00          $425.00
                                order.
01/18/2018    JMF     EB        Telephone call with M. Sedigh (.3) and A. Kornfeld       0.50       850.00          $425.00
                                (.2) re severance issues.
01/18/2018    JMF     EB        Draft objection to severance motion.                     2.70       850.00         $2,295.00
01/18/2018    LAF     EB        Citecheck & revise objections to incentive plan.         0.80       395.00          $316.00
01/18/2018    AJK     EB        Review and analyze SIP materials.                        0.80      1050.00          $840.00
01/18/2018    AJK     EB        Revise sale incentives opposition.                       1.60      1050.00         $1,680.00
01/18/2018    AJK     EB        Review and revise severance opposition.                  0.90      1050.00          $945.00
01/18/2018    IDK     EB        Emails with J Fried and others re UST feedback on        0.60      1050.00          $630.00
                                SIP/severance and related issues re same, as well as
                                position of ad hoc unsecured group and Centerview
                                and Houlihan feedback (.3); Emails with attorneys re
                                my discussion with Debtors counsel on our concerns
                                on SIP and severance and the July 2017 payments
                                (.3).
01/18/2018    JNP     EB        Conference with Ira D. Kharasch and Robert J.            0.50       975.00          $487.50
                                Feinstein regarding severance and related matters.
01/18/2018    RJF     EB        Emails with M. Sedigh regarding severance motion,        0.30      1095.00          $328.50
                                SIP.
01/18/2018    RJF     EB        Review and comment on draft severance objection.         0.80      1095.00          $876.00
01/18/2018    IDK     EB        Emails with J. Fried re issues on royalty motion and     0.20      1050.00          $210.00
                                Debtor’s feedback re our comments.
01/19/2018    JMF     EB        Review Royalty motion and draft objection (1.6);         2.20       850.00         $1,870.00
                                emails to L. Krucks & B. Weiland re same (.2);
                                internal emails re threshold issues re payments (.2);
                                call to L. Krucks re extension of deadline (.2).
01/19/2018    AJK     EB        Work on opposition to severance motion.                  4.70      1050.00         $4,935.00
01/19/2018    JMF     EB        Telephone calls with Ken Green re Incentive              0.20       850.00          $170.00
                                motion.
01/19/2018    JMF     EB        Draft severance plan objection and reservation of        4.60       850.00         $3,910.00
                                rights re revised SIP program.
01/19/2018    JMF     EB        Multiple telephone calls with M. Sedigh re SIP           0.60       850.00          $510.00
                                issues & severance.
01/19/2018    JMF     EB        Telephone call with Paul Jansen re royalty motion.       0.10       850.00           $85.00
01/19/2018    JMF     EB        Review materials re SIP and severance issues.            0.80       850.00          $680.00
01/19/2018    JMF     EB        Telephone calls with B. Weiland (.1) & I. Kharasch       0.30       850.00          $255.00
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                                                                                         Hours           Rate        Amount
                                (.2) re royalty issues.
01/19/2018    AJK     EB        Call with M. Sedigh re severance.                         0.20      1050.00          $210.00
01/19/2018    IDK     EB        Emails and telephone conference with J Fried re           0.50      1050.00          $525.00
                                next steps on SIP and severance and potential
                                objection, as well as issues on filing information
                                under seal if necessary, and information in 10Q (.2);
                                Emails with Committee with draft of our objection
                                to same, including Committee feedback re same and
                                new deadline for tomorrow to file (.3).
01/19/2018    JNP     EB        Conference with B. Weiland, I. Kharasch and R.            0.50       975.00          $487.50
                                Feinstein regarding insider SIP and severance
                                motion.
01/19/2018    JNP     EB        Conference with C. Ryan, R. Feinstein, J. Young           0.50       975.00          $487.50
                                and I. Kharasch regarding status of negotiations.
01/19/2018    JNP     EB        Conference with J. Young, I. Kharasch and R.              0.50       975.00          $487.50
                                Feinstein regarding status of SIP and severance
                                motion.
01/19/2018    RJF     EB        Telephone conference with Jeffrey N. Pomerantz            0.30      1095.00          $328.50
                                regarding B. Weiland call.
01/19/2018    RJF     EB        Telephone conference with B. Weiland after                0.40      1095.00          $438.00
                                committee call regarding severance.
01/19/2018    RJF     EB        Telephone conference with J. Fried regarding              0.30      1095.00          $328.50
                                severance objection.
01/19/2018    IDK     EB        Emails with J. Fried re status of getting agreement       0.40      1050.00          $420.00
                                on royalty motion language, and numerous emails
                                from Debtors re same in attempt to work it out.
01/19/2018    IDK     EB        Telephone conferences with J. Pomerantz and J             0.10      1050.00          $105.00
                                Fried re call and issues on SIP (.1).
01/20/2018    SWG     EB        Revise objection to executive compensation.               1.20       495.00          $594.00
01/20/2018    AJK     EB        Review and revise draft severance opposition.             0.80      1050.00          $840.00
01/20/2018    AJK     EB        Analysis of compensation issues.                          2.60      1050.00         $2,730.00
01/20/2018    IDK     EB        Emails with attorneys re Debtors' further extension       1.00      1050.00         $1,050.00
                                of time to object to severance motion (.1); Emails
                                with Committee Chair re same, and issue of timing
                                of filing the objection (.3); Emails and telephone
                                conferences with J. Pomerantz re same (.3); Review
                                of emails with Debtors' counsel re disputes over why
                                objection to be filed (.1); Emails with R Feinstein re
                                feedback of other committee members re objection,
                                including review of same (.2).
01/20/2018    RJF     EB        Telephone conferences with J. Pomerantz regarding         0.50      1095.00          $547.50
                                response to severance motion.
01/20/2018    RJF     EB        Telephone conference with Husnick regarding               0.30      1095.00          $328.50
                                severance motion.
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                                                                                      Hours           Rate        Amount
01/20/2018    RJF     EB        Telephone conference with Schaeffer regarding          0.50      1095.00          $547.50
                                limited objection to severance motion.
01/20/2018    RJF     EB        Review and revise limited objection to severance       1.30      1095.00         $1,423.50
                                and SIP.
01/20/2018    RJF     EB        Emails with B. Weiland regarding SIP.                  0.20      1095.00          $219.00
01/21/2018    RJF     EB        Review UST objections to SIP and severance.            0.40      1095.00          $438.00
01/22/2018    AJK     EB        Additional preparation for severance deposition.       2.20      1050.00         $2,310.00
01/22/2018    JNP     EB        Conference with J. Young, I. Kharasch and R.           0.60       975.00          $585.00
                                Feinstein regarding severance and related issues.
01/22/2018    JNP     EB        Conference with R. Feinstein regarding severance       0.30       975.00          $292.50
                                issue (.1); Review agreement regarding same (.2).
01/22/2018    RJF     EB        Review and comment on expert report.                   1.00      1095.00         $1,095.00
01/22/2018    JMF     EB        Review wage payments.                                  0.30       850.00          $255.00
01/22/2018    RJF     EB        Prepare for hearing on severance.                      0.90      1095.00          $985.50
01/23/2018    JMF     EB        Review Royalty order.                                  0.20       850.00          $170.00
01/23/2018    RJF     EB        Review retention agreements.                           0.30      1095.00          $328.50
01/23/2018    RJF     EB        Internal emails regarding severance motion.            0.30      1095.00          $328.50
01/23/2018    IDK     EB        Emails with J. Fried re Debtors' markup of royalty     0.20      1050.00          $210.00
                                order sent today and comparison.
01/24/2018    JMF     EB        Review statement in support re SIP.                    0.40       850.00          $340.00
01/24/2018    JMF     EB        Review reply and cite check cases re SIP severance     1.90       850.00         $1,615.00
                                motions re 503(c)(2).
01/24/2018    JNP     EB        Review Debtors' reply to severance objection.          0.20       975.00          $195.00
01/24/2018    JNP     EB        Review Severance Agreement and email to R.             0.30       975.00          $292.50
                                Feinstein regarding same.
01/24/2018    JNP     EB        Conference with R. Feinstein regarding severance       0.30       975.00          $292.50
                                hearing and related.
01/25/2018    JNP     EB        Conference with R.. Feinstein and A. Kornfeld          0.20       975.00          $195.00
                                regarding potential settlement of severance motion.
01/25/2018    JMF     EB        Review issues re 503(c)(2) severance payments.         0.30       850.00          $255.00
01/25/2018    AJK     EB        Call with Debtors' counsel re settlement of            0.30      1050.00          $315.00
                                severance.
01/25/2018    AJK     EB        Second call with Debtors' counsel re severance         0.20      1050.00          $210.00
                                settlement.
01/25/2018    IDK     EB        Review of extensive correspondence with Debtors'       0.40      1050.00          $420.00
                                counsel and R Feinstein re outstanding issues on
                                severance motion and potential resolution (.2);
                                Emails with Conway Mackenzie, others re memo
                                from Debtors re counterproposal or clarification
                                from Debtors on severance (.2).
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                                                                                       Hours            Rate        Amount
01/26/2018    AJK     EB        Participate on settlement conversation with Debtors'     0.40      1050.00          $420.00
                                counsel.
01/29/2018    JMF     EB        Review wage payment disclosures & prepared               0.30       850.00          $255.00
                                payments.
                                                                                       125.70                  $112,039.50

  Fee/Employment Application
01/05/2018    LSC     FE        Research and correspondence with working group           0.40       375.00          $150.00
                                regarding interim compensation procedures and
                                local requirements
01/24/2018    WLR     FE        Review local rules, interim procedures order, and        0.50       725.00          $362.50
                                sample fee applications regarding local procedures
                                for fee applications
01/25/2018    WLR     FE        Correspondence to L. Canty regarding retention           0.10       725.00           $72.50
                                application and order relating to fee applications
                                                                                         1.00                       $585.00

  Financing [B230]
12/29/2017    IDK     FN        Emails with M Litvak re need for lien perfection         0.20      1025.00          $205.00
                                analysis.
12/29/2017    AJK     FN        Review cash collateral pleadings.                        0.70      1050.00          $735.00
12/29/2017    IDK     FN        Review and consider interim cash collateral order        0.80      1025.00          $820.00
                                and consider numerous problems with same.
12/31/2017    IDK     FN        Emails and telephone conference with M Litvak re         0.30      1025.00          $307.50
                                cash collateral motion and our anticipated objection
                                (.3).
01/02/2018    RJF     FN        Review Milbank markup of cash collateral order.          0.30      1095.00          $328.50
01/02/2018    JMF     FN        Review issues re cash collateral motion (.5); emails     0.60       850.00          $510.00
                                to M. Litvak & I Kharasch re same (.1).
01/03/2018    MBL     FN        Draft objection to cash collateral motion.               4.80       875.00         $4,200.00
01/03/2018    MBL     FN        Emails with team re cash collateral and loan issues.     0.20       875.00          $175.00
01/03/2018    MBL     FN        Review background and cash collateral documents          2.00       875.00         $1,750.00
                                (.9); Conway Mackenzie presentations (.9) and first
                                day hearing transcript (.2).
01/04/2018    SWG     FN        Review loan documents and draft correspondence to        0.20       495.00           $99.00
                                Maxim Litvak re same.
01/05/2018    MBL     FN        Revise cash collateral order                             2.00       875.00         $1,750.00
01/05/2018    MB      FN        Research re cash collateral order provisions.            0.20       795.00          $159.00
01/07/2018    MBL     FN        Emails with team re interim cash collateral order.       0.20       875.00          $175.00
01/08/2018    MBL     FN        Review loan documents (1.1); begin perfection            2.50       875.00         $2,187.50
                                analysis (1.4).
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                                                                                        Hours           Rate        Amount
01/09/2018    PJJ     FN        Prepare UCC analysis summary.                            0.40       375.00          $150.00
01/09/2018    MBL     FN        Continue perfection analysis (.7); review of             1.00       875.00          $875.00
                                applicable loan documents and UCC search results
                                (.3).
01/10/2018    LAF     FN        Research re fees in oil & gas cases.                     3.50       395.00         $1,382.50
01/10/2018    PJJ     FN        Prepare UCC analysis summary.                            2.00       375.00          $750.00
01/10/2018    MBL     FN        Emails with team re loan files.                          0.20       875.00          $175.00
01/10/2018    MBL     FN        Draft perfection memo (1.9); review relevant             2.50       875.00         $2,187.50
                                documentation (.6).
01/12/2018    AJK     FN        Review and analyze cash collateral motion.               0.60      1050.00          $630.00
01/14/2018    MBL     FN        Draft document requests and topic areas re cash          0.50       875.00          $437.50
                                collateral discovery.
01/14/2018    MBL     FN        Review and analyze intercreditor issues and              0.40       875.00          $350.00
                                correspondence re same.
01/14/2018    RJF     FN        Review and revise objection to cash collateral           0.50      1095.00          $547.50
                                motion and proposed final cash collateral order.
01/14/2018    RJF     FN        Review intercreditor agreement.                          0.30      1095.00          $328.50
01/15/2018    AJK     FN        Review revised cash collateral objection.                0.40      1050.00          $420.00
01/15/2018    MBL     FN        Revise draft of cash collateral objection (1.6);         2.00       875.00         $1,750.00
                                address R. Feinstein comments (.4).
01/15/2018    MBL     FN        Draft cash collateral issues list for discussion         0.80       875.00          $700.00
                                purposes.
01/15/2018    MBL     FN        Address emails from R. Feinstein re cash collateral      0.30       875.00          $262.50
                                issues (.2); review interim order (.1).
01/15/2018    RJF     FN        Work on objection to cash collateral motion.             2.80      1095.00         $3,066.00
01/16/2018    MBL     FN        Coordinate with team re loan documents and call          0.10       875.00           $87.50
                                with B. Levine re same.
01/16/2018    MBL     FN        Revise cash collateral objection with additional         1.50       875.00         $1,312.50
                                comments from R. Feinstein.
01/16/2018    MBL     FN        Review and revise cash collateral issues list.           0.40       875.00          $350.00
01/16/2018    RJF     FN        Call with counsel for first lien ad hoc group, I.        0.70      1095.00          $766.50
                                Kharasch and J. Pomerantz regarding cash collateral,
                                bid procedures, etc.
01/16/2018    RJF     FN        Draft cash collateral issues list.                       0.40      1095.00          $438.00
01/16/2018    RJF     FN        Review Weil Goetshal's markup of cash collateral         0.40      1095.00          $438.00
                                order.
01/17/2018    IDK     FN        Review briefly draft of cash collateral objection for    0.30      1050.00          $315.00
                                specific issues re adequate protection liens (.2);
                                Emails with M Litvak re current draft of cash
                                collateral opposition and markup of order re same
                                and timing of getting to Debtors counsel (.1).
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                                                                                        Hours          Rate         Amount
01/17/2018    MBL     FN        Revise final cash collateral order per R. Feinstein's    1.10       875.00          $962.50
                                comments (.8); emails with team and Debtors'
                                counsel re same (.3).
01/17/2018    RJF     FN        Review and comment on markup of final cash               0.70      1095.00          $766.50
                                collateral order.
01/18/2018    JNP     FN        Emails with R. Feinstein and I. Kharasch regarding       0.10       975.00           $97.50
                                DIP financing order negotiations.
01/18/2018    MBL     FN        Revise cash collateral objection with additional R.      1.80       875.00         $1,575.00
                                Feinstein comments.
01/18/2018    RJF     FN        Finalize cash collateral objection.                      0.40      1095.00          $438.00
01/19/2018    IDK     FN        Review of correspondence re lender’s markup of           0.90      1050.00          $945.00
                                cash collateral order and how to respond in objection
                                (.1); Consider




01/19/2018    MBL     FN        Revise cash collateral objection with additional         1.00       875.00          $875.00
                                updates.
01/19/2018    MBL     FN        Review Weil Goetshal revisions to proposed final         0.40       875.00          $350.00
                                cash collateral order and emails with team re same.
01/19/2018    RJF     FN        FInal review of cash collateral objection.               0.20      1095.00          $219.00
01/19/2018    SWG     FN        Finalize cash collateral objection.                      0.40       495.00          $198.00
01/20/2018    MBL     FN        Review Milbank comments to Weil Goetshal's               0.20       875.00          $175.00
                                version of final cash collateral order and email team
                                re same.
01/21/2018    RJF     FN        Review Ad Hoc's markup of final cash collateral          0.30      1095.00          $328.50
                                order.
01/21/2018    JHD     FN        Correspondence with Beth Levine re revisions to          0.30      1245.00          $373.50
                                document requests.
01/22/2018    MBL     FN        Continue work on perfection memo (2.3) review of         3.00       875.00         $2,625.00
                                applicable documents (.7)
01/22/2018    MBL     FN        Review and update UCC analysis summary.                  0.20       875.00          $175.00
01/22/2018    RJF     FN        Review ad hoc objection to cash collateral.              0.30      1095.00          $328.50
01/23/2018    JNP     FN        Review emails regarding 2019 statement and effect        0.10       975.00           $97.50
                                on capital structure.
01/23/2018    RJF     FN        Review markup of cash collateral order.                  0.30      1095.00          $328.50
01/23/2018    JMF     FN        Review objections to Cash Collateral motion.             0.40       850.00          $340.00
01/24/2018    GIG     FN        Emails re cash collateral objections                     0.10       750.00           $75.00
01/26/2018    MBL     FN        Review entered final cash collateral order.              0.30       875.00          $262.50
01/30/2018    MBL     FN        Review BK schedules (0.5) and revise, update, and        1.60       875.00         $1,400.00
                                finalize perfection memo (1.0); email team re same
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                                                                                      Hours           Rate         Amount
                                (0.1).
01/30/2018    MB      FN        Review cash collateral order.                          0.20       795.00           $159.00
                                                                                      51.30                      $44,215.50

  General Creditors Comm. [B150]
12/28/2017    SWG     GC        Draft and edit bylaws.                                 0.20       450.00            $90.00
12/28/2017    LSC     GC        Prepare contact list and coordinate set up of email    2.50       350.00           $875.00
                                lists.
12/28/2017    IDK     GC        Review of correspondence to Committee re status        0.10      1050.00           $105.00
                                (.1).
12/28/2017    RJF     GC        Emails to committee regarding next meeting,            0.50      1050.00           $525.00
                                administrative matters.
12/28/2017    RJF     GC        Email update to committee.                             0.40      1050.00           $420.00
12/29/2017    SWG     GC        Review and edit committee information motion.          0.20       450.00            $90.00
12/29/2017    LSC     GC        Draft committee information motion and                 0.60       350.00           $210.00
                                correspondence with S. Golden re same
01/01/2018    RJF     GC        Review committee member comments to bylaws.            0.20      1095.00           $219.00
01/02/2018    RJF     GC        Emails to committee members regarding bylaws.          0.30      1095.00           $328.50
01/02/2018    SWG     GC        Update bylaws.                                         0.30       495.00           $148.50
01/02/2018    SWG     GC        Review committee information motion.                   0.10       495.00            $49.50
01/02/2018    IDK     GC        Review of draft Conway Mackenzie presentation for      1.20      1050.00          $1,260.00
                                Committee call tomorrow, and give my feedback re
                                changes (.4); E-mails and telephone conferences
                                with Conway Mackenzie and R. Feinstein re same,
                                draft agenda for tomorrow’s Committee call, and
                                issues on employee severance (.5); Review of emails
                                to Committee and others re by-laws (.1); Emails
                                with Committee and others re tomorrow’s
                                conference call (.2).
01/02/2018    LSC     GC        Update committee contact list and coordinate update    0.40       375.00           $150.00
                                of email group list with respect to same
01/04/2018    IDK     GC        Review of correspondence to Committee on status.       0.10      1050.00           $105.00
01/04/2018    RJF     GC        Email update to committee regarding pending            0.40      1095.00           $438.00
                                motions.
01/04/2018    RJF     GC        Email update to committee.                             0.30      1095.00           $328.50
01/05/2018    LSC     GC        Update Committee contact list                          0.30       375.00           $112.50
01/05/2018    IDK     GC        Review of emails with UST re inquiry of potential      0.10      1050.00           $105.00
                                new Committee member and potential conflicts of
                                such member.
01/05/2018    MBL     GC        Review miscellaneous emails with Committee re          0.30       875.00           $262.50
                                status updates and communications with Debtors’
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                                                                                       Hours           Rate        Amount
                                counsel.
01/05/2018    JHR     GC        Review various correspondence with Committee re:        0.50       595.00          $297.50
                                status of pending motions
01/05/2018    RJF     GC        Email with UST regarding inquiry from creditor.         0.20      1095.00          $219.00
01/07/2018    RJF     GC        Review and comment on committee confidentiality         0.30      1095.00          $328.50
                                motion.
01/08/2018    IDK     GC        Review of memo to Committee re call tomorrow and        0.10      1050.00          $105.00
                                status of case.
01/09/2018    MBL     GC        Review Committee update.                                0.20       875.00          $175.00
01/10/2018    RJF     GC        Emails Weiland regarding Committee bylaws.              0.20      1095.00          $219.00
01/10/2018    SWG     GC        Finalize minutes of committee meeting.                  0.20       495.00           $99.00
01/10/2018    LSC     GC        Circulate Committee By-Laws                             0.10       375.00           $37.50
01/12/2018    JHR     GC        Review Committee update                                 0.20       595.00          $119.00
01/12/2018    IDK     GC        Review of correspondence to committee re status         0.10      1050.00          $105.00
                                (.1).
01/12/2018    RJF     GC        Draft update email to Committee.                        0.30      1095.00          $328.50
01/14/2018    RJF     GC        Telephone conference with E. Schaeffer regarding        0.40      1095.00          $438.00
                                IT issue.
01/16/2018    SWG     GC        Call with creditors' attorney.                          0.20       495.00           $99.00
01/16/2018    LAF     GC        Attention to issues re: creditor website.               0.30       395.00          $118.50
01/18/2018    RJF     GC        Telephone conference with E. Schaeffer regarding        0.50      1095.00          $547.50
                                pending motions.
01/18/2018    SWG     GC        Review email to committee.                              0.20       495.00           $99.00
01/23/2018    MBL     GC        Review miscellaneous Committee updates.                 0.40       875.00          $350.00
                                                                                       12.90                      $9,507.00

  Hearing
01/04/2018    IDK     HE        Further prep for hearing today on Debtors'              3.60      1050.00         $3,780.00
                                injunction motion (1.1); Telephone conferences with
                                attorneys and local re upcoming hearing (.2); Attend
                                hearing re same and meet with attorneys before and
                                after hearing (2.3).
01/04/2018    RJF     HE        Telephonic attendance at hearing on motion to           1.00      1095.00         $1,095.00
                                extend stay to co-defendants.
01/04/2018    SWG     HE        Participate in hearing over the telephone.              0.50       495.00          $247.50
01/05/2018    SWG     HE        Draft witness and exhibit list for hearing.             0.30       495.00          $148.50
01/08/2018    RJF     HE        Emails with Debtors' counsel regarding                  0.30      1095.00          $328.50
                                adjournments, in person meeting before hearing.
01/08/2018    RJF     HE        Telephone conference with Weiland regarding             0.30      1095.00          $328.50
                                adjournments.
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                                                                                       Hours           Rate        Amount
01/09/2018    RJF     HE        Prepare for 1/11/18 second day hearings.                0.70      1095.00          $766.50
01/09/2018    LSC     HE        Prepare binders of materials for January 11, 2018       2.50       375.00          $937.50
                                hearing
01/10/2018    RJF     HE        Prepare for 1/11/18 hearings, including review of       1.00      1095.00         $1,095.00
                                forms of order.
01/11/2018    JNP     HE        Attend Court hearing regarding second day hearings.     2.00       975.00         $1,950.00
01/11/2018    RJF     HE        Prepare for second day hearings, including review of    0.50      1095.00          $547.50
                                proposed orders.
01/11/2018    RJF     HE        Attend second day hearings.                             1.30      1095.00         $1,423.50
01/11/2018    SWG     HE        Telephonically attend hearing.                          0.90       495.00          $445.50
01/19/2018    RJF     HE        Telephone conference with G. Uzzi regarding             0.50      1095.00          $547.50
                                contested motions.
01/22/2018    LSC     HE        Begin preparation of materials for January 25, 2018     0.80       375.00          $300.00
                                hearing
01/23/2018    SWG     HE        Prepare and transmit witness and exhibit list for       1.20       495.00          $594.00
                                hearing.
01/23/2018    RJF     HE        Prepare for hearing on cash collateral, bid             1.40      1095.00         $1,533.00
                                procedures, Sonangol, severance (1.4).
01/23/2018    LSC     HE        Continued preparation of materials for January 25,      1.60       375.00          $600.00
                                2018 hearing
01/24/2018    AJK     HE        Prepare for 1/25 hearing.                               4.20      1050.00         $4,410.00
01/24/2018    RJF     HE        Review replies and joinders regarding severance,        2.00      1095.00         $2,190.00
                                cash collateral, Sonangol.
01/25/2018    AJK     HE        Prepare for re severance hearing.                       5.20      1050.00         $5,460.00
01/25/2018    AJK     HE        Prepare for severance hearing.                          2.80      1050.00         $2,940.00
01/25/2018    AJK     HE        Attend hearing.                                         3.80      1050.00         $3,990.00
01/25/2018    IDK     HE        Emails and telephone conferences with R. Feinstein      4.30      1050.00         $4,515.00
                                and A. Kornfeld re upcoming hearing today, inquiry
                                from Chair of Committee, and status (.2); Attend
                                telephonically hearing on outstanding motions of
                                Sonangol, Royalty, Bid Procedures, Cash Collateral
                                (4.0); Telephone conference with J. Pomerantz re
                                result of hearing (.1).
01/25/2018    SWG     HE        Prepare for hearing.                                    0.60       495.00          $297.00
01/25/2018    RJF     HE        Prepare for hearings on cash collateral, Sonangol,      5.00      1095.00         $5,475.00
                                severance and SIP.
01/25/2018    RJF     HE        Attend hearings on cash collateral, Sonangol,           4.00      1095.00         $4,380.00
                                severance, and SIP.
01/25/2018    RJF     HE        Prepare for continued hearings.                         0.50      1095.00          $547.50
01/25/2018    SWG     HE        Telephonically attend hearing.                          4.30       495.00         $2,128.50
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                                                                                        Hours           Rate         Amount
01/26/2018    AJK     HE        Prepare for hearing.                                     2.10      1050.00          $2,205.00
01/26/2018    AJK     HE        Attend hearing.                                          1.30      1050.00          $1,365.00
01/26/2018    RJF     HE        Attend hearing on SIP and severance.                     1.50      1095.00          $1,642.50
01/26/2018    RJF     HE        Prepare for second day of hearings on severance,         1.00      1095.00          $1,095.00
                                SIP.
01/26/2018    SWG     HE        Telephonically participate in hearing.                   1.60       495.00           $792.00
                                                                                        64.60                      $60,100.50

  Meeting of Creditors [B150]
12/27/2017    IDK     MC        Meet with Committee after being selected as counsel      2.40      1025.00          $2,460.00
                                and interview of FAs (1.7); Emails with Debtors'
                                counsel and R. Feinstein re our selection and
                                coordinating call together, and coordination of FAs
                                (.3); Emails and office conferences with R. Feinstein
                                re coordination of team and issues to address (.4).
12/27/2017    RJF     MC        Meeting with committee to interview with Financial       2.00      1050.00          $2,100.00
                                Advisors and to address administrative matters.
01/02/2018    RJF     MC        Draft agenda for next committee meeting.                 0.20      1095.00           $219.00
01/02/2018    RJF     MC        Review and comment on Conway Mackenzie deck              0.40      1095.00           $438.00
                                for next meeting.
01/03/2018    AJK     MC        Participate on Committee call.                           1.50      1050.00          $1,575.00
01/03/2018    IDK     MC        Prepare for conference call with Committee on all        2.30      1050.00          $2,415.00
                                issues (.3); Emails with Conway Mackenzie re need
                                for pre-call and attend pre-call re same with Conway
                                Mackenzie, including review of its revised
                                presentation materials (.5); Attend conference call
                                with Committee re case status and motions (1.5).
01/03/2018    JHR     MC        Participate on committee call (partial)                  1.00       595.00           $595.00
01/03/2018    SWG     MC        Participate on telephonic committee meeting.             1.50       495.00           $742.50
01/03/2018    RJF     MC        Pre-meeting call with Conway Mackenzie, Ira D.           0.20      1095.00           $219.00
                                Kharasch.
01/03/2018    RJF     MC        Participate on telephonic committee meeting.             1.50      1095.00          $1,642.50
01/08/2018    SWG     MC        Revise meeting minutes.                                  0.20       495.00            $99.00
01/08/2018    RJF     MC        Review and edit committee meeting minutes.               0.20      1095.00           $219.00
01/08/2018    RJF     MC        Email to committee regarding next meeting agenda         0.30      1095.00           $328.50
                                items.
01/08/2018    RJF     MC        Telephone conference with D. Burell regarding            0.30      1095.00           $328.50
                                bylaws and related matters.
01/08/2018    RJF     MC        Telephone conference with E. Schaeffer regarding         0.30      1095.00           $328.50
                                next committee meeting.
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                                                                                          Hours           Rate        Amount
01/09/2018    MB      MC        Review of Conway Mackenzie deck for 1/9                    0.20       795.00          $159.00
                                Committee call re pending motions.
01/09/2018    SWG     MC        Participate on call with committee members.                1.00       495.00          $495.00
01/09/2018    IDK     MC        E-mails with R Feinstein re status of materials for        2.00      1050.00         $2,100.00
                                Committee call today and contacting chair (.2);
                                Review of correspondence to Committee re same
                                and meeting with management (.1); Telephone
                                conference with R Feinstein re same and upcoming
                                calls (.1); E-mails with Committee Chair re need for
                                pre-call on certain issues (.2); Attend conference call
                                with Committee chair re same (.4); Attend
                                conference call with Committee on pending motions
                                and hearing and other issues (1.0).
01/09/2018    JNP     MC        Participate on Committee call.                             1.00       975.00          $975.00
01/09/2018    JMF     MC        Review Conway Mackenzie Slides re 1/9 Committee            0.40       850.00          $340.00
                                meeting.
01/09/2018    JMF     MC        Participate on committee call re 1/11/18 motions.          0.60       850.00          $510.00
01/09/2018    JHR     MC        Attend Committee call                                      1.00       595.00          $595.00
01/09/2018    JHR     MC        Review Conway Mackenzie presentation to                    0.20       595.00          $119.00
                                Committee
01/09/2018    RJF     MC        Finalize meeting materials, agenda.                        0.40      1095.00          $438.00
01/09/2018    RJF     MC        Participate on telephonic committee meeting.               1.00      1095.00         $1,095.00
01/09/2018    MB      MC        Participate on Committee call.                             0.10       795.00           $79.50
01/11/2018    JNP     MC        Meeting with Committee and Debtors and then only           4.50       975.00         $4,387.50
                                Committee.
01/11/2018    JMF     MC        Attend Committee meeting (partial) with Debtors.           0.40       850.00          $340.00
01/11/2018    RJF     MC        Attend in person meeting with the Committee and            4.30      1095.00         $4,708.50
                                the Debtors in Houston.
01/16/2018    RJF     MC        Email Committee members regarding status and               0.30      1095.00          $328.50
                                next meeting.
01/18/2018    JNP     MC        Participate on Committee call.                             2.00       975.00         $1,950.00
01/18/2018    JNP     MC        Review Conway Mackenzie materials for                      0.20       975.00          $195.00
                                Committee call.
01/18/2018    MBL     MC        Review update to Committee; Conway Mackenzie               0.30       875.00          $262.50
                                presentation.
01/18/2018    JMF     MC        Prepare for and attend Committee meeting re 1/25           2.50       850.00         $2,125.00
                                motions.
01/18/2018    IDK     MC        Attend conference call with Committee on all               1.90      1050.00         $1,995.00
                                pending motions.
01/18/2018    IDK     MC        Emails with Conway Mckenzie and others re                  0.40      1050.00          $420.00
                                Conway's draft presentation to Committee for call
                                today, and changes to be made, including
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                                                                                        Hours           Rate        Amount
                                correspondence to committee with materials and
                                status (.4).
01/18/2018    IDK     MC        Emails with Committee and others re coordination         0.10      1050.00          $105.00
                                of meeting on 1/18.
01/18/2018    AJK     MC        Participate on Committee call.                           2.00      1050.00         $2,100.00
01/18/2018    SWG     MC        Participate on Committee call.                           2.00       495.00          $990.00
01/18/2018    BEL     MC        Committee call regarding pending motions.                1.80       750.00         $1,350.00
01/18/2018    BEL     MC        Participate on Committee call.                           1.50       750.00         $1,125.00
01/18/2018    RJF     MC        Review and comment on CM deck for committee              0.30      1095.00          $328.50
                                meeting.
01/18/2018    RJF     MC        Participate on telephonic Committee meeting.             1.90      1095.00         $2,080.50
01/18/2018    RJF     MC        Email committee regarding agenda materials.              0.30      1095.00          $328.50
01/18/2018    MB      MC        Participate on Committee call re pending motions.        1.50       795.00         $1,192.50
01/19/2018    JNP     MC        Participate on Committee call.                           1.00       975.00          $975.00
01/19/2018    JMF     MC        Attend Committee call re 1/25 motions.                   0.80       850.00          $680.00
01/19/2018    IDK     MC        Emails with Committee chair re need for pre-call         1.50      1050.00         $1,575.00
                                and coordinate (.1); Attend pre-call with Committee
                                chair and others re upcoming call with Committee
                                on outstanding motions (.4); Emails with
                                Committee on supplemental information for
                                upcoming call (.1); Attend call with Committee on
                                status and all motions (.7); Emails with attorneys re
                                message from committee member re certain motions
                                and concerns re same (.2).
01/19/2018    SWG     MC        Finalize meeting minutes.                                0.10       495.00           $49.50
01/19/2018    SWG     MC        Participate on Committee call.                           0.80       495.00          $396.00
01/19/2018    RJF     MC        Participate on telephonic Committee meeting.             1.00      1095.00         $1,095.00
01/19/2018    MB      MC        Participate on Committee call.                           0.70       795.00          $556.50
01/23/2018    IDK     MC        Review of correspondence to Committee re agenda          0.20      1050.00          $210.00
                                and docs for tomorrow’s call, including the 2019
                                statement of the ad hoc bondholders and breakdown
                                of debt.
01/23/2018    RJF     MC        Prepare email update to Committee and meeting            0.40      1095.00          $438.00
                                agenda.
01/24/2018    IDK     MC        Emails with attorneys re need for pre-call before        1.20      1050.00         $1,260.00
                                Committee call (.1); Attend pre-call with attorneys
                                (.3); Attend conference call with Committee on all
                                outstanding issues for tomorrow’s hearing (.8).
01/24/2018    JNP     MC        Conference with R. Feinstein, I. Kharasch, L. Cantor     0.20       975.00          $195.00
                                and Conway Mackenzie in preparation for
                                Committee call.
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                                                                                        Hours           Rate         Amount
01/24/2018    JNP     MC        Participate on Committee call.                           0.80       975.00           $780.00
01/24/2018    SWG     MC        Participate on telephonic Committee meeting              0.60       495.00           $297.00
01/24/2018    LFC     MC        Conference call with Committee regarding its             0.60       975.00           $585.00
                                position on Sonangol and compensation motions
01/24/2018    RJF     MC        Telephone conference with C. Ryan regarding              0.30      1095.00           $328.50
                                Committee meeting agenda.
01/24/2018    RJF     MC        Participate on telephonic Committee meeting.             0.70      1095.00           $766.50
01/25/2018    AJK     MC        Attend meeting with Financial Advisor, Committee         0.60      1050.00           $630.00
                                members and co-counsel re settlement.
01/25/2018    IDK     MC        Attend conference call with Committee on result of       0.30      1050.00           $315.00
                                today’s hearing and next steps.
01/25/2018    AJK     MC        Call with Committee re settlement issue.                 0.40      1050.00           $420.00
01/25/2018    RJF     MC        Atttend meeting with Committee professionals and         1.30      1095.00          $1,423.50
                                members after hearing regarding severance.
                                                                                        63.90                      $59,902.50

  Non-Working Travel
12/27/2017    IDK     NT        Travel from Houston to LA after meeting with             5.00       512.50          $2,562.50
                                Committee. [Billed at 1/2 rate]
12/27/2017    RJF     NT        Return travel to New York after committee meeting.       5.00       525.00          $2,625.00
                                [Billed at 1/2 rate]
01/03/2018    IDK     NT        Non-working travel from LA to Houston for 1/4            4.00       525.00          $2,100.00
                                injunction motion hearing. [Billed at 1/2 rate]
01/04/2018    IDK     NT        Travel from Houston to LA from hearing on                3.80       525.00          $1,995.00
                                injunction motion. [Billed at 1/2 rate]
01/10/2018    JNP     NT        Travel to Houston for meeting with Debtors. [Billed      5.00       487.50          $2,437.50
                                at 1/2 rate]
01/10/2018    RJF     NT        Nonworking travel to Houston for 1/11/18 hearings.       6.00       547.50          $3,285.00
                                [Billed at 1/2 rate]
01/11/2018    JNP     NT        Travel to LA from Houston. [Billed at 1/2 rate]          9.00       487.50          $4,387.50
01/11/2018    RJF     NT        Nonworking travel after hearing. [Billed at 1/2 rate]    5.00       547.50          $2,737.50
01/22/2018    AJK     NT        Travel to Houston (working, including preparation        5.50       525.00          $2,887.50
                                for depositions). [Billed at 1/2 rate]
01/24/2018    LFC     NT        Travel from Houston to Los Angeles [Billed at 1/2        6.20       487.50          $3,022.50
                                rate]
01/24/2018    RJF     NT        Non-working travel to Houston. [Billed at 1/2 rate]      4.00       547.50          $2,190.00
01/26/2018    AJK     NT        Return travel (non-working). [Billed at 1/2 rate]        6.20       525.00          $3,255.00
01/26/2018    RJF     NT        Return travel to New York after hearings. [Billed at     6.00       547.50          $3,285.00
                                1/2 rate]
                                                                                        70.70                      $36,770.00
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  Operations [B210]
01/02/2018    MB      OP        Revise cash management motion and interim order          0.20       795.00          $159.00
                                and research re same.
01/03/2018    MB      OP        Revise cash management order.                            0.90       795.00          $715.50
01/03/2018    MB      OP        Draft email to P. Jansen re cash management and          0.60       795.00          $477.00
                                Houlihan Lokey fees.
01/04/2018    MB      OP        Further revise cash management order (.2); email to      0.30       795.00          $238.50
                                I. Kharasch and R. Feinstein re open issues re same
                                (.1).
01/04/2018    MB      OP        Call with Conway MacKenzie re cash management            0.30       795.00          $238.50
                                issues.
01/07/2018    MB      OP        Review and respond to emails re cash management.         0.10       795.00           $79.50
01/08/2018    IDK     OP        E-mails with attorneys re need to further revise         0.40      1050.00          $420.00
                                objection to include cash management and need for
                                exhibit of our proposed markup (.2); Further e-mails
                                with Debtors and others re Debtor’s agreement to
                                extension to end of day and need to stop the filing of
                                the objection (.2).
01/08/2018    RJF     OP        Emails L. Krucks regarding second interim cash           0.20      1095.00          $219.00
                                management order.
01/08/2018    RJF     OP        Review revised cash management order.                    0.20      1095.00          $219.00
01/08/2018    MB      OP        Telephone conference with R. Feinstein re cash           0.30       795.00          $238.50
                                management; revise order re same.
01/08/2018    MB      OP        Review revised cash management order from                0.50       795.00          $397.50
                                Debtors (.3); several emails with R. Feinstein and
                                Conway Mackenzie re same (.2).
01/08/2018    MB      OP        Several emails with R. Feinstein et al re cash           0.30       795.00          $238.50
                                management order and objection.
01/09/2018    RJF     OP        Emails regarding cash management order with              0.20      1095.00          $219.00
                                Maria Bove, Debtors' counsel.
01/12/2018    IDK     OP        E-mails and meeting with                                 1.10      1050.00         $1,155.00
                                                                           E-mails
                                with attorneys re same and need for call with
                                committee chair re same, including e-mails with
                                committee chair (.2); Attend conference call with
                                committee chair and others re same (.5).
01/12/2018    RJF     OP        Call with Ryan, Jeffrey N. Pomerantz regarding           0.30      1095.00          $328.50
                                SOP.
01/25/2018    IDK     OP        Telephone conferences with                               0.30      1050.00          $315.00


01/26/2018    IDK     OP        Telephone conferences with                               0.50      1050.00          $525.00
                                                                .
01/30/2018    IDK     OP        Telephone conferences with                               0.30      1050.00          $315.00
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                                                                                         Hours           Rate        Amount
                                                                         .
                                                                                          7.00                      $6,498.00

  Plan & Disclosure Stmt. [B320]
01/11/2018    RJF     PD        Review draft plan.                                        0.30      1095.00          $328.50
01/11/2018    SWG     PD        Review plan.                                              0.70       495.00          $346.50
01/12/2018    RJF     PD        Preliminary review of draft plan and DS.                  1.00      1095.00         $1,095.00
01/15/2018    IDK     PD        Emails with R Feinstein and others re issues in draft     0.20      1050.00          $210.00
                                DS and lack of sufficient description of exposure to
                                Directors and Officers.
01/15/2018    RJF     PD        Review Debtors' draft plan and DS.                        1.00      1095.00         $1,095.00
01/16/2018    RJF     PD        Initial review of draft plan and disclosure statement.    0.70      1095.00          $766.50
01/17/2018    JHD     PD        Review correspondence from Gabriel I. Glazer and          0.30      1245.00          $373.50
                                analyze outline of potential challenges to
                                make-whole
01/17/2018    GIG     PD        Emails with RJF, Jeffrey H. Davidson re                   0.20       750.00          $150.00
                                make-whole analysis
01/17/2018    GIG     PD        Emails with RJF, Jeffrey H. Davidson re exchange          0.20       750.00          $150.00
                                challenges
01/17/2018    GIG     PD        Analyze first lien indenture make-whole provisions        0.70       750.00          $525.00
01/17/2018    GIG     PD        Analyze second lien indenture make-whole                  0.40       750.00          $300.00
                                provisions
01/17/2018    GIG     PD        Analyze multiple exchange agreements                      1.30       750.00          $975.00
01/17/2018    GIG     PD        Research re make-whole challenges                         1.10       750.00          $825.00
01/17/2018    GIG     PD        Consider and prepare summary of make-whole                1.20       750.00          $900.00
                                provisions
01/17/2018    GIG     PD        Consider and prepare summary of exchange                  2.30       750.00         $1,725.00
                                transactions
01/17/2018    GIG     PD        Emails with Jeffrey H. Davidson re make-whole and         0.30       750.00          $225.00
                                exchange transactions
01/17/2018    JHD     PD        Correspondence with R. Feinstein and G. Glazer re         0.20      1245.00          $249.00
                                make-whole analysis.
01/17/2018    JHD     PD        Correspondence from Gabriel I. Glazer re analysis         0.30      1245.00          $373.50
                                of first lien and second lien make-whole provisions
01/17/2018    JHD     PD        Correspondence with R. Feinstein re analysis of           0.20      1245.00          $249.00
                                exchange transaction.
01/17/2018    JHD     PD        Prepare correspondence to G. Glazer re exchange           0.10      1245.00          $124.50
                                transaction
01/17/2018    JHD     PD        Prepare correspondence to G. Glazer re analysis of        0.40      1245.00          $498.00
                                issues raised by exchange agreements
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                                                                                        Hours           Rate        Amount
01/17/2018    JHD     PD        Correspondence with G. Glazer re make-whole              0.30      1245.00          $373.50
                                calculation (.1); review indenture provisions re same
                                (.2).
01/17/2018    JHD     PD        Preliminary review of exchange agreements (1.2);         1.30      1245.00         $1,618.50
                                review correspondence from Gabriel I. Glazer re
                                same (.1).
01/17/2018    JHD     PD        Preliminary review of second lien indenture and          1.10      1245.00         $1,369.50
                                comparison with first lien indenture
01/17/2018    JHD     PD        Prepare correspondence to Gabriel I. Glazer re           0.20      1245.00          $249.00
                                potential challenges to make-whole
01/17/2018    JHD     PD        Preliminary review of first lien indenture               1.70      1245.00         $2,116.50
01/17/2018    JHD     PD        Prepare correspondence to Gabriel I. Glazer re           0.20      1245.00          $249.00
                                make-whole issues
01/17/2018    JHD     PD        Correspondence with M. Litvak and S. Golden re           0.20      1245.00          $249.00
                                exchange transaction documents.
01/18/2018    RJF     PD        Emails to Davidson regarding make whole claims.          0.20      1095.00          $219.00
01/18/2018    GIG     PD        Research re reinstatement                                3.30       750.00         $2,475.00
01/18/2018    GIG     PD        Research re ipso facto acceleration provisions           0.60       750.00          $450.00
01/18/2018    GIG     PD        Emails with Jeffrey H. Davidson re acceleration and      1.10       750.00          $825.00
                                reinstatement challenges
01/18/2018    JHD     PD        Analyze research materials re make-whole issues          0.60      1245.00          $747.00
01/18/2018    JHD     PD        Correspondence with G. Glazer re make-whole              0.20      1245.00          $249.00
                                research.
01/19/2018    GIG     PD        Emails re make-whole analysis                            0.10       750.00           $75.00
01/19/2018    JHD     PD        Review correspondence from G. Glazer re                  0.10      1245.00          $124.50
                                make-whole and exchange issues
01/20/2018    JHD     PD        Review correspondence from Rob Feinstein re              0.10      1245.00          $124.50
                                analysis of make-whole and exchange issues
01/21/2018    GIG     PD        Research re reinstatement                                0.60       750.00          $450.00
01/22/2018    RJF     PD        Call with Jeff D. and G. Glazer regarding make           0.50      1095.00          $547.50
                                whole claim.
01/22/2018    GIG     PD        Review analysis of make-whole challenges                 0.20       750.00          $150.00
01/22/2018    GIG     PD        Call with R. Feinstein re make-whole challenges          0.40       750.00          $300.00
01/22/2018    JHD     PD        Correspondence with R. Feinstein and G. Glazer re        0.10      1245.00          $124.50
                                analysis of exchange and make-whole.
01/22/2018    JHD     PD        Correspondence with R. Feinstein re analysis of          0.20      1245.00          $249.00
                                make-whole and exchange transaction.
01/22/2018    JHD     PD        Analyze documents re make-whole and exchange             0.70      1245.00          $871.50
                                issues and prepare for conference call re same
01/22/2018    JHD     PD        Conference call with R. Feinstein and G. Glazer re       0.50      1245.00          $622.50
                                analysis of make-whole exchange issues
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                                                                                        Hours           Rate        Amount
01/22/2018    RJF     PD        Review latest draft plan.                                0.20      1095.00          $219.00
01/22/2018    RJF     PD        Office conference with Maria Bove regarding plan         0.30      1095.00          $328.50
                                issues.
01/22/2018    JMF     PD        Review disclosure statement.                             0.80       850.00          $680.00
01/23/2018    JHD     PD        Correspondence with R. Feinstein re make-whole           0.10      1245.00          $124.50
                                and exchange issues.
01/23/2018    RJF     PD        Review revised plan and DS.                              0.50      1095.00          $547.50
01/23/2018    MB      PD        Quick review of draft disclosure statement motion.       0.30       795.00          $238.50
01/23/2018    JMF     PD        Review disclosure statement draft.                       0.40       850.00          $340.00
01/24/2018    LSC     PD        Preparation of binders of materials with respect to      0.50       375.00          $187.50
                                Plan and DS.
01/30/2018    JHD     PD        Correspondence with J. Pomerantz, G. Glazer and R.       0.20      1245.00          $249.00
                                Feinstein re make-whole analysis.
01/30/2018    IDK     PD        Emails with attorneys re potential motion to             0.20      1050.00          $210.00
                                terminate exclusivity and timing for hearing and
                                notice.
01/30/2018    JNP     PD        Conference with I. Kharasch, R. Feinstein and G.         0.60       975.00          $585.00
                                Uzzi regarding Plan issues.
01/30/2018    JNP     PD        Conference with R. Feinstein and then I. Kharasch        0.40       975.00          $390.00
                                regarding Plan issues.
01/30/2018    LFC     PD        Review Plan and Disclosure Statement and related         2.50       975.00         $2,437.50
                                pleadings
01/30/2018    RJF     PD        Call with G. Uzzi regarding plan issues.                 0.60      1095.00          $657.00
01/30/2018    RJF     PD        Telephone conference with J. Pomerantz regarding         0.20      1095.00          $219.00
                                plan issue.
01/30/2018    MB      PD        Review schedules re bar date/voting issues.              0.90       795.00          $715.50
01/30/2018    MB      PD        Research re disclosure statement objection.              1.40       795.00         $1,113.00
01/30/2018    MB      PD        Review B. Levine memo re derivative actions re           0.40       795.00          $318.00
                                (plan releases) (.3); review stay extension adversary
                                proceeding re same (.1).
01/30/2018    MB      PD        Research re motion to terminate exclusivity.             2.40       795.00         $1,908.00
01/30/2018    SWG     PD        Draft and send email to PSZJ team regarding              0.20       495.00           $99.00
                                exclusivity.
01/30/2018    LSC     PD        Preparation of additional binders of materials with      0.50       375.00          $187.50
                                respect to Plan and DS
01/31/2018    GIG     PD        Emails re call with R. Feinstein re plan                 0.10       750.00           $75.00
01/31/2018    GIG     PD        Review make-whole analysis                               0.20       750.00          $150.00
01/31/2018    GIG     PD        Review 1st Lien indenture amd email Jeffrey H.           0.20       750.00          $150.00
                                Davidson re redemption provisions
01/31/2018    JHD     PD        Correspondence with R. Feinstein, G. Uzzi, G.            0.20      1245.00          $249.00
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                                                                                         Hours           Rate        Amount
                                Glazer and Eric Stodola re make-whole issues.
01/31/2018    JHD     PD        Correspondence with G. Glazer re make-whole               0.10      1245.00          $124.50
                                issues.
01/31/2018    JHD     PD        Prepare outline of potential make-whole avoidance,        0.30      1245.00          $373.50
                                and exchange issues (.2); prepare correspondence to
                                R. Feinstein, J. Pomerantz, I. Kharash, and G. Glazer
                                re same (.1).
01/31/2018    JHD     PD        Analyze make-whole and potential avoidance issues         0.40      1245.00          $498.00
                                and prepare for call re same (.3); correspondence
                                with J. Pomerantz and R. Feinstein re same (.1).
01/31/2018    JHD     PD        Conference call with R. Feinstein, J. Pomerantz and       0.80      1245.00          $996.00
                                G. Glazer re make-whole issues, plan strategy, and
                                related matters
01/31/2018    JHD     PD        Analyze indentures re potential reinstatement issues      1.20      1245.00         $1,494.00
                                (1.0); correspondence from Gabriel I. Glazer re same
                                (.2).
01/31/2018    RJF     PD        Call with J. Davidson, G. Glazer, J. Pomerantz            0.80      1095.00          $876.00
                                regarding makewhole claim.
01/31/2018    JNP     PD        Conference with R. Feinstein, G. Glazer and J.            0.70       975.00          $682.50
                                Davidson regarding Plan strategy issues.
01/31/2018    JHD     PD        Review correspondence from Rob Feinstein re               0.10      1245.00          $124.50
                                make-whole issues
01/31/2018    GIG     PD        Call with R. Feinstein, J. Pomerantz and J. Davidson      0.80       750.00          $600.00
                                re plan strategy
01/31/2018    GIG     PD        Emails with G. Uzzi re call to discuss plan strategy      0.10       750.00           $75.00
01/31/2018    IDK     PD        Attend internal conference call on plan/DS issues,        0.50      1050.00          $525.00
                                hearings, potential motion to terminate exclusivity,
                                and standing issues (.5).
01/31/2018    JNP     PD        Conference with PSZJ team regarding Plan strategy         0.50       975.00          $487.50
                                issues.
01/31/2018    LFC     PD        Review Plan and Disclosure Statement forms and            1.60       975.00         $1,560.00
                                prepare to revise for Committee plan
01/31/2018    LFC     PD        Conference call regarding plan issues                     0.50       975.00          $487.50
01/31/2018    RJF     PD        Office conference with Maria Bove regarding plan          0.80      1095.00          $876.00
                                issues.
01/31/2018    RJF     PD        Call with L. Cantor, J. Pomerantz, I. Kharasch and        0.80      1095.00          $876.00
                                M. Bove regarding plan issues.
01/31/2018    RJF     PD        Office conference with M. Bove, B. Levine                 0.40      1095.00          $438.00
                                regarding derivative suits.
01/31/2018    MB      PD        Office conference with R. Feinstein (.4); call with R.    2.20       795.00         $1,749.00
                                Feinstein, I. Kharasch, J. Pomerantz and L. Cantor re
                                plan issues/litigation issues (1.8).
01/31/2018    MB      PD        Research re release/settlement under a plan.              0.80       795.00          $636.00
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                                                                                        Hours           Rate         Amount
01/31/2018    MB      PD        Office conference with R. Feinstein re                   0.20       795.00           $159.00
                                voting/solicitation bar date issues.
                                                                                        55.50                      $52,329.00

  PSZ&J Retention
12/28/2017    GFB     PR        Review email from Steven Golden regarding                0.10       775.00            $77.50
                                conflicts check and draft response; review lists and
                                draft email to Mr. Golden regarding same, and
                                review response.
12/28/2017    SWG     PR        Begin conflicts check.                                   0.10       495.00            $49.50
12/29/2017    GFB     PR        Draft email to Aaron Bonn regarding Cobalt               0.10       775.00            $77.50
                                conflicts check, and review response; review emails
                                from Steven Golden and Robert Feinstein regarding
                                same.
12/30/2017    GFB     PR        Review and analyze Cobalt conflicts data; draft          1.50       775.00          $1,162.50
                                emails to James Mahoney, Jeffrey Pomerantz;
                                Robert Feinstein, and Laura Davis Jones regarding
                                same.
01/02/2018    GFB     PR        Review email from Nancy Brown regarding Cobalt           0.30       775.00           $232.50
                                conflicts check; review email from Aaron Bonn
                                regarding additional conflicts data, and draft
                                response; draft email to Joshua Fried regarding
                                status.
01/02/2018    LSC     PR        Draft Application to Employ PSZJ, declaration in         1.50       375.00           $562.50
                                support, and proposed order
01/03/2018    GFB     PR        Review email from Aaron Bonn regarding conflicts         2.60       775.00          $2,015.00
                                data; review and analyze conflicts data; draft emails
                                to Laura Davis Jones, Richard Mikels, John Lucas,
                                Daryl Parker, Jeffrey Pomerantz, Richard Pachulski,
                                Robert Feinstein, Jeffrey Nolan, Ira Kharasch;
                                review responses and draft replies.
01/04/2018    GFB     PR        Review emails from Ira Kharasch, Daryl Parker, and       0.20       775.00           $155.00
                                Michael Siedl and draft responses; draft email to
                                Steven Golden regarding conflicts data and analysis.
01/05/2018    GFB     PR        Review email from Richard Mikels regarding               0.10       775.00            $77.50
                                conflicts data. Complete status chart regarding same.
01/07/2018    RJF     PR        Review and comment on PSZJ retention application.        0.50      1095.00           $547.50
01/08/2018    RJF     PR        Review PSZJ retention application.                       0.30      1095.00           $328.50
01/08/2018    SWG     PR        Edit PSZJ retention application.                         0.40       495.00           $198.00
01/11/2018    RJF     PR        Finalize PSZJ retention application for filing.          0.30      1095.00           $328.50
01/31/2018    RJF     PR        Review UST comments to PSZJ retention                    0.10      1095.00           $109.50
                                application.
01/31/2018    RJF     PR        Internal conferences regarding UST comments to           0.20      1095.00           $219.00
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                                                                                       Hours           Rate        Amount
                                PSZJ retention application.
01/31/2018    SWG     PR        Call with local counsel regarding UST issues with       0.30       495.00          $148.50
                                PSZJ retention.
01/31/2018    SWG     PR        Attend to PSZJ retention application comments           0.40       495.00          $198.00
                                from UST.
                                                                                        9.00                      $6,487.00

  Retention of Prof. [B160]
01/02/2018    LSC     RP        Draft application to Employ Conway Mackenzie,           1.00       375.00          $375.00
                                declaration in support, and proposed order
01/03/2018    SWG     RP        Revise Conway Mackenzie retention application.          0.30       495.00          $148.50
01/05/2018    MB      RP        Review Houlihan Lokey retention application.            0.80       795.00          $636.00
01/05/2018    MB      RP        Review Conway Mackenzie analyses re Houlihan            0.40       795.00          $318.00
                                Lokey fee structure (.2); telephone conferences with
                                M. Sedigh and R. Feinstein re same (.2)
01/07/2018    IDK     RP        Review and consider Houlihan employment                 0.80      1050.00          $840.00
                                application, and potential issues re same (.3);
                                E-mails with/to Conway Mackenzie, others re my
                                list of issues re Houlihan fee structure, including
                                feedback of Conway Mackenzie re same, as well as
                                their market survey information (.5).
01/07/2018    RJF     RP        Review and comment on Conway Mackenzie                  0.40      1095.00          $438.00
                                retention.
01/07/2018    JMF     RP        Review Houlihan Lokey proposed retention terms          0.70       850.00          $595.00
                                (.6); emails re same (.1).
01/08/2018    RJF     RP        Emails with S. Golden, J. Young regarding Conway        0.20      1095.00          $219.00
                                Mackenzie retention application.
01/08/2018    MB      RP        Participate on PSZJ conference call re Houlihan         0.60       795.00          $477.00
                                Lokey and severance.
01/08/2018    SWG     RP        Revise Conway Mackenzie retention application and       0.20       495.00           $99.00
                                transmit same to Conway Mackenzie.
01/08/2018    SWG     RP        Draft insert to retention objections.                   0.10       495.00           $49.50
01/09/2018    LAF     RP        Research re: Investment banker appointments.            1.50       395.00          $592.50
01/09/2018    JMF     RP        Analyze Houlihan rejection issues re Committee          0.30       850.00          $255.00
                                meeting.
01/10/2018    RJF     RP        Review Baker Botts retention application.               0.20      1095.00          $219.00
01/10/2018    SWG     RP        Exchange emails regarding retention applications.       0.20       495.00           $99.00
01/11/2018    SWG     RP        Revise retention applications.                          0.30       495.00          $148.50
01/11/2018    SWG     RP        Call with K. Green regarding retention.                 0.10       495.00           $49.50
01/12/2018    LSC     RP        Serve retention applications and Committee              2.10       375.00          $787.50
                                information motion (1.8); prepare certificate of
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                                                                                   Hours           Rate         Amount
                                service regarding the same (.3)
01/13/2018    RJF     RP        Emails Maria Bove regarding ordinary course         0.10      1095.00           $109.50
                                professionals motion.
01/13/2018    RJF     RP        Review ordinary course professionals motion.        0.10      1095.00           $109.50
01/13/2018    MB      RP        Review ordinary course professionals motion and     0.20       795.00           $159.00
                                email to R. Feinstein re same.
01/14/2018    IAWN RP           Exchange emails with R. Feinstein re Susman         2.50       925.00          $2,312.50
                                Godfrey retention (.6); review materials re same
                                (1.9).
01/14/2018    RJF     RP        Review summary of Susman retention application.     0.10      1095.00           $109.50
01/14/2018    SWG     RP        Review and summarize Susman Godfrey retention       0.50       495.00           $247.50
                                application.
01/16/2018    RJF     RP        Review memo regarding Susman Godfrey retention.     0.10      1095.00           $109.50
01/16/2018    SWG     RP        Draft memo regarding Susman Godfrey retention.      0.20       495.00            $99.00
01/29/2018    SWG     RP        Review and summarize Baker Botts retention          0.80       495.00           $396.00
                                application.
01/30/2018    RJF     RP        Review Baker Botts retention application,           1.00      1095.00          $1,095.00
                                engagement letter and related emails.
01/31/2018    BEL     RP        Review Baker Botts retention application.           0.40       750.00           $300.00
01/31/2018    RJF     RP        Telephone conference with K. Green regarding UST    0.30      1095.00           $328.50
                                questions regarding retention applications.
01/31/2018    RJF     RP        Review of additional Baker Botts engagement         0.50      1095.00           $547.50
                                letters.
01/31/2018    SWG     RP        Attend to Baker Botts retention.                    0.20       495.00            $99.00
                                                                                   17.20                      $12,368.00

 TOTAL SERVICES FOR THIS MATTER:                                                                          $881,952.00
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Expenses
 12/27/2017    AF       Air Fare [E110] Delta Airlines, Tkt. 00670328806420, From     472.19
                        LGA to IAH, RJF

 12/27/2017    AT       Auto Travel Expense [E109] Uber Transportation Services,       61.88
                        RJF

 12/27/2017    TE       Travel Expense [E110] Travel Agency Service Fee, RJF           50.00

 12/27/2017    AT       Auto Travel Expense [E109]SVC Taxi Service, From LAC           55.31
                        to PSZJ LA, IDK

 12/27/2017    HT       Hotel Expense [E110] Four Seasons Hotel,                      421.98
                        12/26/17-12/28/17, 2 nights, IDK

 12/28/2017    AT       Auto Travel Expense [E109] Uber Transportation Services,       56.72
                        RJF

 12/28/2017    HT       Hotel Expense [E110] Four Seasons Hotel,                      422.28
                        12/26/17-12/27/17, 1 night, RJF

 12/28/2017    TE       Travel Expense [E110] La Guardia Airport Parking, RJF         118.00

 12/28/2017    TE       Travel Expense [E110] United Airlines Wifi Fee, RJF            11.99

 01/01/2018    AF       Air Fare [E110] American Airlines, Tkt. 00170337580766,     1,232.40
                        From LAX to IAH, From IAH to LAX, Full Fare Coach,
                        IDK

 01/01/2018    TE       Travel Expense [E110] Travel Agency Service Fee, IDK           50.00

 01/01/2018    TE       Travel Expense [E110] Travel Agency Service Fee, IDK           24.95

 01/02/2018    RE2      SCAN/COPY ( 63 @0.10 PER PG)                                    6.30

 01/02/2018    RE2      SCAN/COPY ( 16 @0.10 PER PG)                                    1.60



 01/02/2018    RE2      SCAN/COPY ( 18 @0.10 PER PG)                                    1.80



 01/02/2018    RE2      SCAN/COPY ( 20 @0.10 PER PG)                                    2.00



 01/03/2018    AT       Auto Travel Expense [E109] SVC Taxi Service, IDK               55.69
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 01/03/2018    CL       Courtlink charges                                  0.34

 01/03/2018    CL       Courtlink charges                                  0.34

 01/03/2018    CL       Courtlink charges                                  0.34

 01/03/2018    CL       Courtlink charges                                  0.34

 01/03/2018    CL       Courtlink charges                                  0.34

 01/03/2018    CL       Courtlink charges                                  0.34

 01/03/2018    CL       Courtlink charges                                  0.34

 01/03/2018    CL       Courtlink charges                                  0.34

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 01/03/2018    CL       Courtlink charges                                  0.34

 01/03/2018    CL       Courtlink charges                                  0.34

 01/03/2018    CL       Courtlink charges                                  0.34

 01/03/2018    CL       Courtlink charges                                  0.34

 01/03/2018    CL       Courtlink charges                                  0.34

 01/03/2018    CL       Courtlink charges                                  0.34



 01/03/2018    CL       Courtlink charges                                  0.34



 01/03/2018    CL       Courtlink charges                                  0.34



 01/03/2018    CL       Courtlink charges                                  0.34



 01/03/2018    CL       Courtlink charges                                  0.34
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 01/03/2018    CL       Courtlink charges                                  0.34

 01/03/2018    CL       Courtlink charges                                  0.34

 01/03/2018    CL       Courtlink charges                                  0.34

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 01/03/2018    CL       Courtlink charges                                  0.34



 01/03/2018    CL       Courtlink charges                                  0.34



 01/03/2018    CL       Courtlink charges                                  0.34



 01/03/2018    CL       Courtlink charges                                  0.34
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 01/03/2018    CL       Courtlink charges                                  0.34

 01/03/2018    CL       Courtlink charges                                  0.34

 01/03/2018    CL       Courtlink charges                                  0.34

 01/03/2018    RE2      SCAN/COPY ( 4 @0.10 PER PG)                        0.40

 01/03/2018    RE2      SCAN/COPY ( 16 @0.10 PER PG)                       1.60

 01/03/2018    RE2      SCAN/COPY ( 42 @0.10 PER PG)                       4.20

 01/03/2018    RE2      SCAN/COPY ( 18 @0.10 PER PG)                       1.80

 01/03/2018    RE2      SCAN/COPY ( 43 @0.10 PER PG)                       4.30

 01/03/2018    RE2      SCAN/COPY ( 12 @0.10 PER PG)                       1.20

 01/03/2018    RE2      SCAN/COPY ( 31 @0.10 PER PG)                       3.10

 01/03/2018    RE2      SCAN/COPY ( 24 @0.10 PER PG)                       2.40

 01/03/2018    RE2      SCAN/COPY ( 13 @0.10 PER PG)                       1.30

 01/03/2018    RE2      SCAN/COPY ( 62 @0.10 PER PG)                       6.20

 01/03/2018    RE2      SCAN/COPY ( 27 @0.10 PER PG)                       2.70

 01/03/2018    RE2      SCAN/COPY ( 15 @0.10 PER PG)                       1.50

 01/03/2018    RE2      SCAN/COPY ( 10 @0.10 PER PG)                       1.00

 01/03/2018    RE2      SCAN/COPY ( 31 @0.10 PER PG)                       3.10



 01/03/2018    RE2      SCAN/COPY ( 18 @0.10 PER PG)                       1.80



 01/03/2018    RE2      SCAN/COPY ( 12 @0.10 PER PG)                       1.20



 01/03/2018    RE2      SCAN/COPY ( 39 @0.10 PER PG)                       3.90



 01/03/2018    RE2      SCAN/COPY ( 16 @0.10 PER PG)                       1.60
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 01/03/2018    RE2      SCAN/COPY ( 337 @0.10 PER PG)                                33.70

 01/03/2018    RE2      SCAN/COPY ( 40 @0.10 PER PG)                                  4.00

 01/04/2018    AT       Auto Travel Expense [E109] Yellow Cab Yaxi Service, IDK      71.40

 01/04/2018    AT       Auto Travel Expense [E109] CMT Houston Taxi Service,         71.60
                        IDK

 01/04/2018    CL       Courtlink charges                                             0.34

 01/04/2018    CL       Courtlink charges                                             0.34

 01/04/2018    CL       Courtlink charges                                             0.34

 01/04/2018    CL       Courtlink charges                                             0.34

 01/04/2018    CL       Courtlink charges                                            10.94

 01/04/2018    CL       Courtlink charges                                            10.94

 01/04/2018    CL       Courtlink charges                                            10.94

 01/04/2018    CL       Courtlink charges                                             0.55

 01/04/2018    CL       Courtlink charges                                             0.33

 01/04/2018    CL       Courtlink charges                                             0.34

 01/04/2018    CL       Courtlink charges                                             0.34

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 01/04/2018    CL       Courtlink charges                                             0.34
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 01/04/2018    CL       Courtlink charges                                  0.34

 01/04/2018    CL       Courtlink charges                                  0.34

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 01/04/2018    CL       Courtlink charges                                  0.34



 01/04/2018    CL       Courtlink charges                                  0.34
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 01/04/2018    CL       Courtlink charges                                        0.34

 01/04/2018    CL       Courtlink charges                                        0.34

 01/04/2018    CL       Courtlink charges                                        0.34

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 01/04/2018    CL       Courtlink charges                                        0.34

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 01/04/2018    CL       Courtlink charges                                        0.34

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 01/04/2018    CL       Courtlink charges                                        0.34

 01/04/2018    CL       Courtlink charges                                        0.34

 01/04/2018    CL       Courtlink charges                                        0.34

 01/04/2018    CL       Courtlink charges                                        0.34

 01/04/2018    HT       Hotel Expense [E110] Hourton Marriot, 1 night, IDK     198.08



 01/04/2018    RE2      SCAN/COPY ( 34 @0.10 PER PG)                             3.40



 01/04/2018    RE2      SCAN/COPY ( 27 @0.10 PER PG)                             2.70



 01/05/2018    BM       Business Meal [E111] Grubhub, JEF Chinese, Working      14.68
                        Meal, D. Rivera



 01/05/2018    BM       Business Meal [E111] Silo Cafe, Working Meal, SWG       14.86
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 01/05/2018    RE2      SCAN/COPY ( 5 @0.10 PER PG)                                   0.50

 01/05/2018    RE2      SCAN/COPY ( 22 @0.10 PER PG)                                  2.20

 01/05/2018    RE2      SCAN/COPY ( 6 @0.10 PER PG)                                   0.60

 01/05/2018    RE2      SCAN/COPY ( 79 @0.10 PER PG)                                  7.90

 01/05/2018    RE2      SCAN/COPY ( 5 @0.10 PER PG)                                   0.50

 01/05/2018    RE2      SCAN/COPY ( 39 @0.10 PER PG)                                  3.90

 01/05/2018    RE2      SCAN/COPY ( 15 @0.10 PER PG)                                  1.50

 01/05/2018    RE2      SCAN/COPY ( 40 @0.10 PER PG)                                  4.00

 01/05/2018    RE2      SCAN/COPY ( 35 @0.10 PER PG)                                  3.50

 01/07/2018    RE2      SCAN/COPY ( 6 @0.10 PER PG)                                   0.60

 01/07/2018    RE2      SCAN/COPY ( 6 @0.10 PER PG)                                   0.60

 01/07/2018    RE2      SCAN/COPY ( 6 @0.10 PER PG)                                   0.60

 01/07/2018    RE2      SCAN/COPY ( 6 @0.10 PER PG)                                   0.60

 01/08/2018    RE2      SCAN/COPY ( 5 @0.10 PER PG)                                   0.50

 01/08/2018    RE2      SCAN/COPY ( 5 @0.10 PER PG)                                   0.50

 01/08/2018    RE2      SCAN/COPY ( 39 @0.10 PER PG)                                  3.90

 01/09/2018    RS       Research [E106] Parasec, Inv. 1129542010, P. Jeffries     2,080.00



 01/09/2018    RE2      SCAN/COPY ( 6 @0.10 PER PG)                                   0.60



 01/09/2018    RE2      SCAN/COPY ( 12 @0.10 PER PG)                                  1.20



 01/09/2018    RE2      SCAN/COPY ( 144 @0.10 PER PG)                                14.40



 01/09/2018    RE2      SCAN/COPY ( 237 @0.10 PER PG)                                23.70



 01/09/2018    AF       Air Fare [E110] American Airlines, Tkt. 00170930864845,     616.30
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                        From LAX to IAH, JNP

 01/09/2018    BB       15117.00002 Bloomberg Charges for 01-09-18         6.00

 01/09/2018    BB       15117.00002 Bloomberg Charges for 01-09-18        30.00

 01/09/2018    BB       15117.00002 Bloomberg Charges for 01-09-18        30.00

 01/09/2018    BB       15117.00002 Bloomberg Charges for 01-09-18        30.00

 01/09/2018    BB       15117.00002 Bloomberg Charges for 01-09-18         0.20

 01/09/2018    BB       15117.00002 Bloomberg Charges for 01-09-18         2.90

 01/09/2018    BB       15117.00002 Bloomberg Charges for 01-09-18        30.00

 01/09/2018    BB       15117.00002 Bloomberg Charges for 01-09-18         2.00

 01/09/2018    BB       15117.00002 Bloomberg Charges for 01-09-18         1.70

 01/09/2018    BB       15117.00002 Bloomberg Charges for 01-09-18        30.00

 01/09/2018    BB       15117.00002 Bloomberg Charges for 01-09-18         3.40

 01/09/2018    BB       15117.00002 Bloomberg Charges for 01-09-18         0.30

 01/09/2018    BB       15117.00002 Bloomberg Charges for 01-09-18         2.90

 01/09/2018    BB       15117.00002 Bloomberg Charges for 01-09-18        30.00

 01/09/2018    BB       15117.00002 Bloomberg Charges for 01-09-18        30.00

 01/09/2018    BB       15117.00002 Bloomberg Charges for 01-09-18         2.40



 01/09/2018    BB       15117.00002 Bloomberg Charges for 01-09-18         1.90



 01/09/2018    BB       15117.00002 Bloomberg Charges for 01-09-18         0.50



 01/09/2018    BB       15117.00002 Bloomberg Charges for 01-09-18         0.50



 01/09/2018    BB       15117.00002 Bloomberg Charges for 01-09-18         0.40
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 01/09/2018    BB       15117.00002 Bloomberg Charges for 01-09-18         0.60

 01/09/2018    BB       15117.00002 Bloomberg Charges for 01-09-18        30.00

 01/09/2018    BB       15117.00002 Bloomberg Charges for 01-09-18         1.20

 01/09/2018    BB       15117.00002 Bloomberg Charges for 01-09-18         3.20

 01/09/2018    RE       ( 393 @0.10 PER PG)                               39.30

 01/09/2018    RE2      SCAN/COPY ( 5 @0.10 PER PG)                        0.50

 01/09/2018    RE2      SCAN/COPY ( 5 @0.10 PER PG)                        0.50

 01/09/2018    RE2      SCAN/COPY ( 15 @0.10 PER PG)                       1.50

 01/09/2018    RE2      SCAN/COPY ( 15 @0.10 PER PG)                       1.50

 01/09/2018    RE2      SCAN/COPY ( 1 @0.10 PER PG)                        0.10

 01/09/2018    RE2      SCAN/COPY ( 1 @0.10 PER PG)                        0.10

 01/09/2018    RE2      SCAN/COPY ( 12 @0.10 PER PG)                       1.20

 01/09/2018    RE2      SCAN/COPY ( 14 @0.10 PER PG)                       1.40

 01/09/2018    RE2      SCAN/COPY ( 20 @0.10 PER PG)                       2.00

 01/09/2018    RE2      SCAN/COPY ( 2 @0.10 PER PG)                        0.20

 01/09/2018    RE2      SCAN/COPY ( 11 @0.10 PER PG)                       1.10

 01/09/2018    RE2      SCAN/COPY ( 99 @0.10 PER PG)                       9.90



 01/09/2018    RE2      SCAN/COPY ( 48 @0.10 PER PG)                       4.80



 01/09/2018    RE2      SCAN/COPY ( 4 @0.10 PER PG)                        0.40



 01/09/2018    RE2      SCAN/COPY ( 35 @0.10 PER PG)                       3.50



 01/09/2018    RE2      SCAN/COPY ( 11 @0.10 PER PG)                       1.10
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 01/09/2018    RE2      SCAN/COPY ( 21 @0.10 PER PG)                                    2.10

 01/09/2018    RE2      SCAN/COPY ( 3 @0.10 PER PG)                                     0.30

 01/09/2018    RE2      SCAN/COPY ( 3 @0.10 PER PG)                                     0.30

 01/09/2018    RE2      SCAN/COPY ( 78 @0.10 PER PG)                                    7.80

 01/09/2018    RE2      SCAN/COPY ( 15 @0.10 PER PG)                                    1.50

 01/09/2018    RE2      SCAN/COPY ( 79 @0.10 PER PG)                                    7.90

 01/09/2018    RE2      SCAN/COPY ( 20 @0.10 PER PG)                                    2.00

 01/09/2018    RE2      SCAN/COPY ( 3 @0.10 PER PG)                                     0.30

 01/09/2018    RE2      SCAN/COPY ( 18 @0.10 PER PG)                                    1.80

 01/09/2018    RE2      SCAN/COPY ( 59 @0.10 PER PG)                                    5.90

 01/09/2018    RE2      SCAN/COPY ( 51 @0.10 PER PG)                                    5.10

 01/09/2018    RE2      SCAN/COPY ( 55 @0.10 PER PG)                                    5.50

 01/09/2018    RE2      SCAN/COPY ( 41 @0.10 PER PG)                                    4.10

 01/09/2018    RE2      SCAN/COPY ( 31 @0.10 PER PG)                                    3.10

 01/09/2018    TE       Travel Expense [E110] Travel Agency Service Fee, JNP           60.00

 01/09/2018    TE       Travel Expense [E110] Travel Agency Service Fee, JNP           50.00

 01/10/2018    RE2      SCAN/COPY ( 48 @0.10 PER PG)                                    4.80



 01/10/2018    RE2      SCAN/COPY ( 48 @0.10 PER PG)                                    4.80



 01/10/2018    AF       Air Fare [E110] American Airlines, Tkt. 00170930865000,       666.30
                        From IAH to LAX, JNP



 01/10/2018    AT       Auto Travel Expense [E109] Elite Transportation Services,     148.88
                        Inv. 1722128, From Scarsdale, NY to LGA, RJF
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 01/10/2018    AT       Auto Travel Expense [E109] KLS Transportation Services,      170.50
                        Inv. 16122622, From IAH to Four Seasons Hotel, JNP

 01/10/2018    LV       Legal Vision Atty/Mess. Service- Inv. 00085, Delivery to      30.00
                        JNP, JNP

 01/10/2018    RE2      SCAN/COPY ( 79 @0.10 PER PG)                                   7.90

 01/10/2018    RE2      SCAN/COPY ( 11 @0.10 PER PG)                                   1.10

 01/10/2018    RE2      SCAN/COPY ( 23 @0.10 PER PG)                                   2.30

 01/10/2018    RE2      SCAN/COPY ( 59 @0.10 PER PG)                                   5.90

 01/10/2018    RE2      SCAN/COPY ( 79 @0.10 PER PG)                                   7.90

 01/10/2018    RE2      SCAN/COPY ( 20 @0.10 PER PG)                                   2.00

 01/10/2018    RE2      SCAN/COPY ( 16 @0.10 PER PG)                                   1.60

 01/10/2018    RE2      SCAN/COPY ( 59 @0.10 PER PG)                                   5.90

 01/10/2018    RE2      SCAN/COPY ( 4 @0.10 PER PG)                                    0.40

 01/10/2018    RE2      SCAN/COPY ( 30 @0.10 PER PG)                                   3.00

 01/10/2018    RE2      SCAN/COPY ( 30 @0.10 PER PG)                                   3.00

 01/10/2018    RE2      SCAN/COPY ( 53 @0.10 PER PG)                                   5.30

 01/10/2018    RE2      SCAN/COPY ( 11 @0.10 PER PG)                                   1.10

 01/10/2018    RE2      SCAN/COPY ( 79 @0.10 PER PG)                                   7.90



 01/10/2018    RE2      SCAN/COPY ( 79 @0.10 PER PG)                                   7.90



 01/10/2018    RE2      SCAN/COPY ( 25 @0.10 PER PG)                                   2.50



 01/10/2018    RE2      SCAN/COPY ( 20 @0.10 PER PG)                                   2.00



 01/10/2018    RE2      SCAN/COPY ( 35 @0.10 PER PG)                                   3.50
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 01/10/2018    RE2      SCAN/COPY ( 16 @0.10 PER PG)                               1.60

 01/10/2018    RE2      SCAN/COPY ( 4 @0.10 PER PG)                                0.40

 01/10/2018    RE2      SCAN/COPY ( 79 @0.10 PER PG)                               7.90

 01/10/2018    RE2      SCAN/COPY ( 30 @0.10 PER PG)                               3.00

 01/10/2018    RE2      SCAN/COPY ( 11 @0.10 PER PG)                               1.10

 01/10/2018    RE2      SCAN/COPY ( 13 @0.10 PER PG)                               1.30

 01/10/2018    RE2      SCAN/COPY ( 30 @0.10 PER PG)                               3.00

 01/10/2018    RE2      SCAN/COPY ( 53 @0.10 PER PG)                               5.30

 01/10/2018    RE2      SCAN/COPY ( 23 @0.10 PER PG)                               2.30

 01/10/2018    RE2      SCAN/COPY ( 13 @0.10 PER PG)                               1.30

 01/10/2018    RE2      SCAN/COPY ( 4 @0.10 PER PG)                                0.40

 01/10/2018    RE2      SCAN/COPY ( 11 @0.10 PER PG)                               1.10

 01/10/2018    RE2      SCAN/COPY ( 4 @0.10 PER PG)                                0.40

 01/10/2018    RE2      SCAN/COPY ( 79 @0.10 PER PG)                               7.90

 01/10/2018    RE2      SCAN/COPY ( 25 @0.10 PER PG)                               2.50

 01/10/2018    RE2      SCAN/COPY ( 35 @0.10 PER PG)                               3.50

 01/10/2018    RE2      SCAN/COPY ( 11 @0.10 PER PG)                               1.10



 01/10/2018    TE       Travel Expense [E110] Travel Agency Service Fee, JNP      50.00



 01/11/2018    RE2      SCAN/COPY ( 86 @0.10 PER PG)                               8.60



 01/11/2018    RE2      SCAN/COPY ( 4 @0.10 PER PG)                                0.40



 01/11/2018    RE2      SCAN/COPY ( 43 @0.10 PER PG)                               4.30
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 01/11/2018    RE2      SCAN/COPY ( 15 @0.10 PER PG)                       1.50

 01/11/2018    RE2      SCAN/COPY ( 158 @0.10 PER PG)                     15.80

 01/11/2018    RE2      SCAN/COPY ( 4 @0.10 PER PG)                        0.40

 01/11/2018    RE2      SCAN/COPY ( 118 @0.10 PER PG)                     11.80

 01/11/2018    RE2      SCAN/COPY ( 79 @0.10 PER PG)                       7.90

 01/11/2018    RE2      SCAN/COPY ( 59 @0.10 PER PG)                       5.90

 01/11/2018    RE2      SCAN/COPY ( 52 @0.10 PER PG)                       5.20

 01/11/2018    RE2      SCAN/COPY ( 2 @0.10 PER PG)                        0.20

 01/12/2018    AP       Los Angeles Airport Parking, JNP                 121.89

 01/12/2018    BB       15117.00002 Bloomberg Charges for 01-12-18         6.00

 01/12/2018    BB       15117.00002 Bloomberg Charges for 01-12-18         1.80

 01/12/2018    BB       15117.00002 Bloomberg Charges for 01-12-18         0.40

 01/12/2018    BB       15117.00002 Bloomberg Charges for 01-12-18         6.00

 01/12/2018    BB       15117.00002 Bloomberg Charges for 01-12-18         0.90

 01/12/2018    BB       15117.00002 Bloomberg Charges for 01-12-18         1.30

 01/12/2018    BB       15117.00002 Bloomberg Charges for 01-12-18         1.10

 01/12/2018    BB       15117.00002 Bloomberg Charges for 01-12-18         0.30



 01/12/2018    BB       15117.00002 Bloomberg Charges for 01-12-18        30.00



 01/12/2018    BB       15117.00002 Bloomberg Charges for 01-12-18         1.40



 01/12/2018    BB       15117.00002 Bloomberg Charges for 01-12-18         0.40



 01/12/2018    BB       15117.00002 Bloomberg Charges for 01-12-18         3.90
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 01/12/2018    BB       15117.00002 Bloomberg Charges for 01-12-18         0.20

 01/12/2018    BB       15117.00002 Bloomberg Charges for 01-12-18         0.40

 01/12/2018    BB       15117.00002 Bloomberg Charges for 01-12-18         0.30

 01/12/2018    BB       15117.00002 Bloomberg Charges for 01-12-18         6.00

 01/12/2018    BB       15117.00002 Bloomberg Charges for 01-12-18         1.40

 01/12/2018    BB       15117.00002 Bloomberg Charges for 01-12-18         1.30

 01/12/2018    BB       15117.00002 Bloomberg Charges for 01-12-18         0.40

 01/12/2018    BB       15117.00002 Bloomberg Charges for 01-12-18         0.30

 01/12/2018    BB       15117.00002 Bloomberg Charges for 01-12-18         0.30

 01/12/2018    BB       15117.00002 Bloomberg Charges for 01-12-18         0.80

 01/12/2018    BB       15117.00002 Bloomberg Charges for 01-12-18         1.30

 01/12/2018    HT       Hotel Expense [E110] Four Seasons Hotel,         553.38
                        01/10/18-01/11/18, 1 night, JNP

 01/12/2018    PO       15117.00002 :Postage Charges for 01-12-18        143.50

 01/12/2018    RE2      SCAN/COPY ( 14 @0.10 PER PG)                       1.40

 01/12/2018    RE2      SCAN/COPY ( 14 @0.10 PER PG)                       1.40

 01/12/2018    RE2      SCAN/COPY ( 13 @0.10 PER PG)                       1.30

 01/12/2018    RE2      SCAN/COPY ( 13 @0.10 PER PG)                       1.30



 01/12/2018    RE2      SCAN/COPY ( 19 @0.10 PER PG)                       1.90



 01/12/2018    RE2      SCAN/COPY ( 18 @0.10 PER PG)                       1.80



 01/12/2018    RE2      SCAN/COPY ( 13 @0.10 PER PG)                       1.30



 01/12/2018    RE2      SCAN/COPY ( 3 @0.10 PER PG)                        0.30
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 01/12/2018    RE2      SCAN/COPY ( 3 @0.10 PER PG)                                     0.30

 01/12/2018    RE2      SCAN/COPY ( 3 @0.10 PER PG)                                     0.30

 01/12/2018    RE2      SCAN/COPY ( 3 @0.10 PER PG)                                     0.30

 01/12/2018    RE2      SCAN/COPY ( 39 @0.10 PER PG)                                    3.90

 01/12/2018    RE2      SCAN/COPY ( 11 @0.10 PER PG)                                    1.10

 01/12/2018    RE2      SCAN/COPY ( 1476 @0.10 PER PG)                                147.60

 01/12/2018    RE2      SCAN/COPY ( 779 @0.10 PER PG)                                  77.90

 01/12/2018    RE2      SCAN/COPY ( 1722 @0.10 PER PG)                                172.20

 01/12/2018    RE2      SCAN/COPY ( 6 @0.10 PER PG)                                     0.60

 01/12/2018    RE2      SCAN/COPY ( 42 @0.10 PER PG)                                    4.20

 01/12/2018    RE2      SCAN/COPY ( 4 @0.10 PER PG)                                     0.40

 01/12/2018    RE2      SCAN/COPY ( 1803 @0.10 PER PG)                                180.30

 01/13/2018    RE2      SCAN/COPY ( 13 @0.10 PER PG)                                    1.30

 01/14/2018    AT       Auto Travel Expense [E109] Elite Transportation Services,     171.85
                        Inv. 1722128, From JFK to Scarsdale, NY, RJF

 01/14/2018    RE2      SCAN/COPY ( 12 @0.10 PER PG)                                    1.20

 01/15/2018    BB       15117.00002 Bloomberg Charges for 01-15-18                     30.00

 01/15/2018    BB       15117.00002 Bloomberg Charges for 01-15-18                     30.00



 01/15/2018    BB       15117.00002 Bloomberg Charges for 01-15-18                     30.00



 01/15/2018    BB       15117.00002 Bloomberg Charges for 01-15-18                     30.00



 01/15/2018    BB       15117.00002 Bloomberg Charges for 01-15-18                     30.00



 01/15/2018    BB       15117.00002 Bloomberg Charges for 01-15-18                     30.00
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 01/15/2018    BB       15117.00002 Bloomberg Charges for 01-15-18        30.00

 01/15/2018    BB       15117.00002 Bloomberg Charges for 01-15-18        30.00

 01/15/2018    BB       15117.00002 Bloomberg Charges for 01-15-18        30.00

 01/15/2018    BB       15117.00002 Bloomberg Charges for 01-15-18        30.00

 01/15/2018    RE2      SCAN/COPY ( 1 @0.10 PER PG)                        0.10

 01/15/2018    RE2      SCAN/COPY ( 7 @0.10 PER PG)                        0.70

 01/15/2018    RE2      SCAN/COPY ( 13 @0.10 PER PG)                       1.30

 01/15/2018    RE2      SCAN/COPY ( 5 @0.10 PER PG)                        0.50

 01/15/2018    RE2      SCAN/COPY ( 3 @0.10 PER PG)                        0.30

 01/15/2018    RE2      SCAN/COPY ( 13 @0.10 PER PG)                       1.30

 01/16/2018    RE2      SCAN/COPY ( 28 @0.10 PER PG)                       2.80

 01/16/2018    RE2      SCAN/COPY ( 95 @0.10 PER PG)                       9.50

 01/16/2018    RE2      SCAN/COPY ( 30 @0.10 PER PG)                       3.00

 01/16/2018    BB       15117.00002 Bloomberg Charges for 01-16-18        30.00

 01/16/2018    CL       Courtlink charges                                  0.57

 01/16/2018    CL       Courtlink charges                                  0.57

 01/16/2018    CL       Courtlink charges                                  0.34



 01/16/2018    LN       15117.00002 Lexis Charges for 01-16-18            29.35



 01/16/2018    LN       15117.00002 Lexis Charges for 01-16-18            19.23



 01/16/2018    LN       15117.00002 Lexis Charges for 01-16-18            20.48



 01/16/2018    LN       15117.00002 Lexis Charges for 01-16-18            93.49
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 01/16/2018    RE2      SCAN/COPY ( 12 @0.10 PER PG)                       1.20

 01/16/2018    RE2      SCAN/COPY ( 11 @0.10 PER PG)                       1.10

 01/16/2018    RE2      SCAN/COPY ( 9 @0.10 PER PG)                        0.90

 01/16/2018    RE2      SCAN/COPY ( 10 @0.10 PER PG)                       1.00

 01/16/2018    RE2      SCAN/COPY ( 15 @0.10 PER PG)                       1.50

 01/16/2018    RE2      SCAN/COPY ( 17 @0.10 PER PG)                       1.70

 01/16/2018    RE2      SCAN/COPY ( 6 @0.10 PER PG)                        0.60

 01/16/2018    RE2      SCAN/COPY ( 16 @0.10 PER PG)                       1.60

 01/16/2018    RE2      SCAN/COPY ( 3 @0.10 PER PG)                        0.30

 01/16/2018    RE2      SCAN/COPY ( 7 @0.10 PER PG)                        0.70

 01/16/2018    RE2      SCAN/COPY ( 2 @0.10 PER PG)                        0.20

 01/16/2018    RE2      SCAN/COPY ( 8 @0.10 PER PG)                        0.80

 01/16/2018    RE2      SCAN/COPY ( 16 @0.10 PER PG)                       1.60

 01/16/2018    RE2      SCAN/COPY ( 6 @0.10 PER PG)                        0.60

 01/16/2018    RE2      SCAN/COPY ( 8 @0.10 PER PG)                        0.80

 01/16/2018    RE2      SCAN/COPY ( 42 @0.10 PER PG)                       4.20

 01/16/2018    RE2      SCAN/COPY ( 2 @0.10 PER PG)                        0.20



 01/16/2018    RE2      SCAN/COPY ( 11 @0.10 PER PG)                       1.10



 01/16/2018    RE2      SCAN/COPY ( 13 @0.10 PER PG)                       1.30



 01/16/2018    RE2      SCAN/COPY ( 8 @0.10 PER PG)                        0.80



 01/16/2018    RE2      SCAN/COPY ( 3 @0.10 PER PG)                        0.30
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 01/16/2018    RE2      SCAN/COPY ( 16 @0.10 PER PG)                       1.60

 01/16/2018    RE2      SCAN/COPY ( 15 @0.10 PER PG)                       1.50

 01/16/2018    RE2      SCAN/COPY ( 10 @0.10 PER PG)                       1.00

 01/16/2018    RE2      SCAN/COPY ( 2 @0.10 PER PG)                        0.20

 01/16/2018    RE2      SCAN/COPY ( 13 @0.10 PER PG)                       1.30

 01/16/2018    RE2      SCAN/COPY ( 56 @0.10 PER PG)                       5.60

 01/16/2018    RE2      SCAN/COPY ( 9 @0.10 PER PG)                        0.90

 01/16/2018    RE2      SCAN/COPY ( 2 @0.10 PER PG)                        0.20

 01/16/2018    RE2      SCAN/COPY ( 10 @0.10 PER PG)                       1.00

 01/16/2018    RE2      SCAN/COPY ( 12 @0.10 PER PG)                       1.20

 01/16/2018    RE2      SCAN/COPY ( 4 @0.10 PER PG)                        0.40

 01/16/2018    RE2      SCAN/COPY ( 16 @0.10 PER PG)                       1.60

 01/16/2018    RE2      SCAN/COPY ( 9 @0.10 PER PG)                        0.90

 01/16/2018    RE2      SCAN/COPY ( 46 @0.10 PER PG)                       4.60

 01/16/2018    RE2      SCAN/COPY ( 28 @0.10 PER PG)                       2.80

 01/16/2018    RE2      SCAN/COPY ( 47 @0.10 PER PG)                       4.70

 01/16/2018    RE2      SCAN/COPY ( 52 @0.10 PER PG)                       5.20



 01/16/2018    RE2      SCAN/COPY ( 2484 @0.10 PER PG)                   248.40



 01/16/2018    RE2      SCAN/COPY ( 60 @0.10 PER PG)                       6.00



 01/16/2018    RE2      SCAN/COPY ( 16 @0.10 PER PG)                       1.60



 01/16/2018    RE2      SCAN/COPY ( 79 @0.10 PER PG)                       7.90
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 01/16/2018    RE2      SCAN/COPY ( 30 @0.10 PER PG)                                3.00

 01/16/2018    RE2      SCAN/COPY ( 46 @0.10 PER PG)                                4.60

 01/16/2018    RE2      SCAN/COPY ( 43 @0.10 PER PG)                                4.30

 01/16/2018    RE2      SCAN/COPY ( 59 @0.10 PER PG)                                5.90

 01/17/2018    LN       15117.00001 Lexis Charges for 01-17-18                      9.43

 01/17/2018    BM       Business Meal [E111] Grubhub, Taam Tov Meals, Working      33.30
                        Meals, BEL

 01/17/2018    RE2      SCAN/COPY ( 2 @0.10 PER PG)                                 0.20

 01/17/2018    RE2      SCAN/COPY ( 17 @0.10 PER PG)                                1.70

 01/17/2018    RE2      SCAN/COPY ( 60 @0.10 PER PG)                                6.00

 01/17/2018    RE2      SCAN/COPY ( 11 @0.10 PER PG)                                1.10

 01/17/2018    RE2      SCAN/COPY ( 1 @0.10 PER PG)                                 0.10

 01/17/2018    RE2      SCAN/COPY ( 11 @0.10 PER PG)                                1.10

 01/17/2018    RE2      SCAN/COPY ( 17 @0.10 PER PG)                                1.70

 01/17/2018    RE2      SCAN/COPY ( 14 @0.10 PER PG)                                1.40

 01/17/2018    RE2      SCAN/COPY ( 116 @0.10 PER PG)                              11.60

 01/17/2018    RE2      SCAN/COPY ( 20 @0.10 PER PG)                                2.00

 01/17/2018    RE2      SCAN/COPY ( 22 @0.10 PER PG)                                2.20



 01/17/2018    RE2      SCAN/COPY ( 15 @0.10 PER PG)                                1.50



 01/17/2018    RE2      SCAN/COPY ( 2 @0.10 PER PG)                                 0.20



 01/17/2018    RE2      SCAN/COPY ( 2 @0.10 PER PG)                                 0.20



 01/17/2018    RE2      SCAN/COPY ( 15 @0.10 PER PG)                                1.50
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 01/17/2018    RE2      SCAN/COPY ( 15 @0.10 PER PG)                                1.50

 01/17/2018    RE2      SCAN/COPY ( 11 @0.10 PER PG)                                1.10

 01/17/2018    RE2      SCAN/COPY ( 17 @0.10 PER PG)                                1.70

 01/17/2018    RE2      SCAN/COPY ( 1 @0.10 PER PG)                                 0.10

 01/17/2018    RE2      SCAN/COPY ( 2 @0.10 PER PG)                                 0.20

 01/17/2018    RE2      SCAN/COPY ( 12 @0.10 PER PG)                                1.20

 01/17/2018    RE2      SCAN/COPY ( 17 @0.10 PER PG)                                1.70

 01/17/2018    RE2      SCAN/COPY ( 17 @0.10 PER PG)                                1.70

 01/17/2018    RE2      SCAN/COPY ( 17 @0.10 PER PG)                                1.70

 01/17/2018    RE2      SCAN/COPY ( 17 @0.10 PER PG)                                1.70

 01/17/2018    RE2      SCAN/COPY ( 9 @0.10 PER PG)                                 0.90

 01/17/2018    RE2      SCAN/COPY ( 1 @0.10 PER PG)                                 0.10

 01/17/2018    RE2      SCAN/COPY ( 9 @0.10 PER PG)                                 0.90

 01/17/2018    RE2      SCAN/COPY ( 7 @0.10 PER PG)                                 0.70

 01/17/2018    RE2      SCAN/COPY ( 5 @0.10 PER PG)                                 0.50

 01/17/2018    RE2      SCAN/COPY ( 2 @0.10 PER PG)                                 0.20

 01/17/2018    RE2      SCAN/COPY ( 20 @0.10 PER PG)                                2.00



 01/17/2018    RE2      SCAN/COPY ( 1 @0.10 PER PG)                                 0.10



 01/17/2018    RE2      SCAN/COPY ( 2 @0.10 PER PG)                                 0.20



 01/17/2018    RE2      SCAN/COPY ( 11 @0.10 PER PG)                                1.10



 01/17/2018    RE2      SCAN/COPY ( 15 @0.10 PER PG)                                1.50



 01/18/2018    AF       Air Fare [E110] United Airlines, Tkt. 01670930864831,     246.10
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                        From IAH to LAX, JNP

 01/18/2018    BM       Business Meal [E111] Grubhub, Scotts Diner, Working        29.05
                        Meal, SWG

 01/18/2018    BM       Business Meal [E111] Grubhub, Shorty's, Working Meal,      26.14
                        SWG

 01/18/2018    LN       15117.00002 Lexis Charges for 01-18-18                      0.90

 01/18/2018    LN       15117.00002 Lexis Charges for 01-18-18                      1.26

 01/18/2018    RE2      SCAN/COPY ( 20 @0.10 PER PG)                                2.00

 01/18/2018    RE2      SCAN/COPY ( 17 @0.10 PER PG)                                1.70

 01/18/2018    RE2      SCAN/COPY ( 9 @0.10 PER PG)                                 0.90

 01/18/2018    RE2      SCAN/COPY ( 6 @0.10 PER PG)                                 0.60

 01/18/2018    RE2      SCAN/COPY ( 16 @0.10 PER PG)                                1.60

 01/18/2018    RE2      SCAN/COPY ( 21 @0.10 PER PG)                                2.10

 01/18/2018    RE2      SCAN/COPY ( 22 @0.10 PER PG)                                2.20

 01/18/2018    RE2      SCAN/COPY ( 9 @0.10 PER PG)                                 0.90

 01/18/2018    RE2      SCAN/COPY ( 23 @0.10 PER PG)                                2.30

 01/18/2018    RE2      SCAN/COPY ( 22 @0.10 PER PG)                                2.20

 01/18/2018    RE2      SCAN/COPY ( 20 @0.10 PER PG)                                2.00



 01/18/2018    RE2      SCAN/COPY ( 1 @0.10 PER PG)                                 0.10



 01/18/2018    RE2      SCAN/COPY ( 26 @0.10 PER PG)                                2.60



 01/18/2018    RE2      SCAN/COPY ( 8 @0.10 PER PG)                                 0.80



 01/18/2018    RE2      SCAN/COPY ( 10 @0.10 PER PG)                                1.00
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 01/18/2018    RE2      SCAN/COPY ( 10 @0.10 PER PG)                       1.00

 01/18/2018    RE2      SCAN/COPY ( 1 @0.10 PER PG)                        0.10

 01/18/2018    RE2      SCAN/COPY ( 25 @0.10 PER PG)                       2.50

 01/18/2018    RE2      SCAN/COPY ( 8 @0.10 PER PG)                        0.80

 01/18/2018    RE2      SCAN/COPY ( 13 @0.10 PER PG)                       1.30

 01/18/2018    RE2      SCAN/COPY ( 12 @0.10 PER PG)                       1.20

 01/18/2018    RE2      SCAN/COPY ( 23 @0.10 PER PG)                       2.30

 01/18/2018    RE2      SCAN/COPY ( 15 @0.10 PER PG)                       1.50

 01/18/2018    RE2      SCAN/COPY ( 16 @0.10 PER PG)                       1.60

 01/18/2018    RE2      SCAN/COPY ( 11 @0.10 PER PG)                       1.10

 01/18/2018    RE2      SCAN/COPY ( 15 @0.10 PER PG)                       1.50

 01/18/2018    RE2      SCAN/COPY ( 12 @0.10 PER PG)                       1.20

 01/19/2018    CL       Courtlink charges                                  0.29

 01/19/2018    CL       Courtlink charges                                  0.33

 01/19/2018    CL       Courtlink charges                                  0.34

 01/19/2018    CL       Courtlink charges                                  0.34

 01/19/2018    CL       Courtlink charges                                  0.29



 01/19/2018    CL       Courtlink charges                                  0.33



 01/19/2018    CL       Courtlink charges                                  0.62



 01/19/2018    CL       Courtlink charges                                  0.34



 01/19/2018    CL       Courtlink charges                                  0.29
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 01/19/2018    CL       Courtlink charges                                  0.34

 01/19/2018    CL       Courtlink charges                                  0.34

 01/19/2018    CL       Courtlink charges                                  0.34

 01/19/2018    CL       Courtlink charges                                  0.34

 01/19/2018    RE2      SCAN/COPY ( 27 @0.10 PER PG)                       2.70

 01/19/2018    RE2      SCAN/COPY ( 18 @0.10 PER PG)                       1.80

 01/19/2018    RE2      SCAN/COPY ( 13 @0.10 PER PG)                       1.30

 01/19/2018    RE2      SCAN/COPY ( 25 @0.10 PER PG)                       2.50

 01/19/2018    RE2      SCAN/COPY ( 8 @0.10 PER PG)                        0.80

 01/19/2018    RE2      SCAN/COPY ( 26 @0.10 PER PG)                       2.60

 01/19/2018    RE2      SCAN/COPY ( 4 @0.10 PER PG)                        0.40

 01/19/2018    RE2      SCAN/COPY ( 8 @0.10 PER PG)                        0.80

 01/19/2018    RE2      SCAN/COPY ( 26 @0.10 PER PG)                       2.60

 01/19/2018    RE2      SCAN/COPY ( 8 @0.10 PER PG)                        0.80

 01/19/2018    RE2      SCAN/COPY ( 9 @0.10 PER PG)                        0.90

 01/19/2018    RE2      SCAN/COPY ( 13 @0.10 PER PG)                       1.30

 01/19/2018    RE2      SCAN/COPY ( 4 @0.10 PER PG)                        0.40



 01/19/2018    RE2      SCAN/COPY ( 26 @0.10 PER PG)                       2.60



 01/19/2018    RE2      SCAN/COPY ( 18 @0.10 PER PG)                       1.80



 01/19/2018    RE2      SCAN/COPY ( 15 @0.10 PER PG)                       1.50



 01/19/2018    RE2      SCAN/COPY ( 8 @0.10 PER PG)                        0.80
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 01/19/2018    RE2      SCAN/COPY ( 39 @0.10 PER PG)                                   3.90

 01/19/2018    RE2      SCAN/COPY ( 1 @0.10 PER PG)                                    0.10

 01/19/2018    TE       Travel Expense [E110] Travel Agency Service Fee, AJK          50.00

 01/20/2018    AF       Air Fare [E110] United Airlines, Tkt. 01670399251091,      1,097.15
                        From LAX to IAH, From IAH to LAX, Full fare coach, AJK

 01/20/2018    AF       Air Fare [E110] United Airlines, Tkt. 01670399251080,      1,478.60
                        From LAX to IAH, From IAH to LAX, LFC

 01/20/2018    AT       Auto Travel Expense [E109] White And Blue Group, Taxi         10.38
                        Service, SWG

 01/20/2018    BM       Business Meal [E111] Murray Hill, Working Meal, SWG           17.79

 01/20/2018    RE2      SCAN/COPY ( 13 @0.10 PER PG)                                   1.30

 01/20/2018    RE2      SCAN/COPY ( 8 @0.10 PER PG)                                    0.80

 01/20/2018    TE       Travel Expense [E110] Travel Agency Service Fee, LFC          50.00

 01/20/2018    TE       Travel Expense [E110] Travel Agency Service Fee, AJK          50.00

 01/21/2018    TE       Travel Expense [E110] Airflight Insurance, AJK                14.99

 01/22/2018    AT       Auto Travel Expense [E109] Uber Transportation Services,       9.04
                        AJK

 01/22/2018    AT       Auto Travel Expense [E109] Uber Transportation Services,       5.00
                        AJK

 01/22/2018    BM       Business Meal [E111] Daily Soup, Working Meal, SWG            10.07

 01/22/2018    CL       Courtlink charges                                              0.29



 01/22/2018    CL       Courtlink charges                                              0.29



 01/22/2018    CL       Courtlink charges                                              0.33



 01/22/2018    FE       15117.00002 FedEx Charges for 01-22-18                        71.45
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 01/22/2018    RE2      SCAN/COPY ( 13 @0.10 PER PG)                       1.30

 01/22/2018    RE2      SCAN/COPY ( 32 @0.10 PER PG)                       3.20

 01/22/2018    RE2      SCAN/COPY ( 2 @0.10 PER PG)                        0.20

 01/22/2018    RE2      SCAN/COPY ( 2 @0.10 PER PG)                        0.20

 01/22/2018    RE2      SCAN/COPY ( 12 @0.10 PER PG)                       1.20

 01/22/2018    RE2      SCAN/COPY ( 4 @0.10 PER PG)                        0.40

 01/22/2018    RE2      SCAN/COPY ( 16 @0.10 PER PG)                       1.60

 01/22/2018    RE2      SCAN/COPY ( 1 @0.10 PER PG)                        0.10

 01/22/2018    RE2      SCAN/COPY ( 1 @0.10 PER PG)                        0.10

 01/22/2018    RE2      SCAN/COPY ( 4 @0.10 PER PG)                        0.40

 01/22/2018    RE2      SCAN/COPY ( 9 @0.10 PER PG)                        0.90

 01/22/2018    RE2      SCAN/COPY ( 351 @0.10 PER PG)                     35.10

 01/22/2018    RE2      SCAN/COPY ( 144 @0.10 PER PG)                     14.40

 01/22/2018    RE2      SCAN/COPY ( 288 @0.10 PER PG)                     28.80

 01/22/2018    RE2      SCAN/COPY ( 396 @0.10 PER PG)                     39.60

 01/22/2018    RE2      SCAN/COPY ( 27 @0.10 PER PG)                       2.70

 01/22/2018    RE2      SCAN/COPY ( 3 @0.10 PER PG)                        0.30



 01/22/2018    RE2      SCAN/COPY ( 1 @0.10 PER PG)                        0.10



 01/22/2018    RE2      SCAN/COPY ( 39 @0.10 PER PG)                       3.90



 01/22/2018    RE2      SCAN/COPY ( 26 @0.10 PER PG)                       2.60



 01/22/2018    RE2      SCAN/COPY ( 1 @0.10 PER PG)                        0.10
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 01/22/2018    RE2      SCAN/COPY ( 39 @0.10 PER PG)                       3.90

 01/22/2018    RE2      SCAN/COPY ( 2 @0.10 PER PG)                        0.20

 01/22/2018    RE2      SCAN/COPY ( 234 @0.10 PER PG)                     23.40

 01/22/2018    RE2      SCAN/COPY ( 18 @0.10 PER PG)                       1.80

 01/22/2018    RE2      SCAN/COPY ( 243 @0.10 PER PG)                     24.30

 01/22/2018    RE2      SCAN/COPY ( 53 @0.10 PER PG)                       5.30

 01/22/2018    RE2      SCAN/COPY ( 477 @0.10 PER PG)                     47.70

 01/22/2018    RE2      SCAN/COPY ( 1 @0.10 PER PG)                        0.10

 01/22/2018    RE2      SCAN/COPY ( 390 @0.10 PER PG)                     39.00

 01/22/2018    RE2      SCAN/COPY ( 65 @0.10 PER PG)                       6.50

 01/22/2018    RE2      SCAN/COPY ( 9 @0.10 PER PG)                        0.90

 01/22/2018    RE2      SCAN/COPY ( 1 @0.10 PER PG)                        0.10

 01/22/2018    RE2      SCAN/COPY ( 1 @0.10 PER PG)                        0.10

 01/22/2018    RE2      SCAN/COPY ( 39 @0.10 PER PG)                       3.90

 01/22/2018    RE2      SCAN/COPY ( 44 @0.10 PER PG)                       4.40

 01/22/2018    RE2      SCAN/COPY ( 117 @0.10 PER PG)                     11.70

 01/22/2018    RE2      SCAN/COPY ( 39 @0.10 PER PG)                       3.90



 01/22/2018    RE2      SCAN/COPY ( 1 @0.10 PER PG)                        0.10



 01/22/2018    RE2      SCAN/COPY ( 5 @0.10 PER PG)                        0.50



 01/22/2018    RE2      SCAN/COPY ( 12 @0.10 PER PG)                       1.20



 01/22/2018    RE2      SCAN/COPY ( 15 @0.10 PER PG)                       1.50
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 01/22/2018    RE2      SCAN/COPY ( 16 @0.10 PER PG)                       1.60

 01/22/2018    RE2      SCAN/COPY ( 11 @0.10 PER PG)                       1.10

 01/22/2018    RE2      SCAN/COPY ( 13 @0.10 PER PG)                       1.30

 01/22/2018    RE2      SCAN/COPY ( 16 @0.10 PER PG)                       1.60

 01/22/2018    RE2      SCAN/COPY ( 13 @0.10 PER PG)                       1.30

 01/22/2018    RE2      SCAN/COPY ( 32 @0.10 PER PG)                       3.20

 01/23/2018    CL       Courtlink charges                                  0.33

 01/23/2018    CL       Courtlink charges                                  0.29

 01/23/2018    CL       Courtlink charges                                  0.33

 01/23/2018    RE2      SCAN/COPY ( 9 @0.10 PER PG)                        0.90

 01/23/2018    RE2      SCAN/COPY ( 3 @0.10 PER PG)                        0.30

 01/23/2018    RE2      SCAN/COPY ( 2 @0.10 PER PG)                        0.20

 01/23/2018    RE2      SCAN/COPY ( 6 @0.10 PER PG)                        0.60

 01/23/2018    RE2      SCAN/COPY ( 79 @0.10 PER PG)                       7.90

 01/23/2018    RE2      SCAN/COPY ( 8 @0.10 PER PG)                        0.80

 01/23/2018    RE2      SCAN/COPY ( 3 @0.10 PER PG)                        0.30

 01/23/2018    RE2      SCAN/COPY ( 12 @0.10 PER PG)                       1.20



 01/23/2018    RE2      SCAN/COPY ( 2 @0.10 PER PG)                        0.20



 01/23/2018    RE2      SCAN/COPY ( 3 @0.10 PER PG)                        0.30



 01/23/2018    RE2      SCAN/COPY ( 2 @0.10 PER PG)                        0.20



 01/23/2018    RE2      SCAN/COPY ( 2 @0.10 PER PG)                        0.20
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 01/23/2018    RE2      SCAN/COPY ( 32 @0.10 PER PG)                        3.20

 01/23/2018    RE2      SCAN/COPY ( 3 @0.10 PER PG)                         0.30

 01/23/2018    RE2      SCAN/COPY ( 3 @0.10 PER PG)                         0.30

 01/23/2018    RE2      SCAN/COPY ( 16 @0.10 PER PG)                        1.60

 01/23/2018    RE2      SCAN/COPY ( 26 @0.10 PER PG)                        2.60

 01/23/2018    RE2      SCAN/COPY ( 2 @0.10 PER PG)                         0.20

 01/23/2018    RE2      SCAN/COPY ( 6 @0.10 PER PG)                         0.60

 01/23/2018    RE2      SCAN/COPY ( 4 @0.10 PER PG)                         0.40

 01/23/2018    RE2      SCAN/COPY ( 172 @0.10 PER PG)                      17.20

 01/23/2018    RE2      SCAN/COPY ( 3 @0.10 PER PG)                         0.30

 01/23/2018    RE2      SCAN/COPY ( 12 @0.10 PER PG)                        1.20

 01/23/2018    RE2      SCAN/COPY ( 13 @0.10 PER PG)                        1.30

 01/23/2018    RE2      SCAN/COPY ( 46 @0.10 PER PG)                        4.60

 01/23/2018    RE2      SCAN/COPY ( 61 @0.10 PER PG)                        6.10

 01/23/2018    RE2      SCAN/COPY ( 12 @0.10 PER PG)                        1.20

 01/23/2018    RE2      SCAN/COPY ( 16 @0.10 PER PG)                        1.60

 01/23/2018    RE2      SCAN/COPY ( 61 @0.10 PER PG)                        6.10



 01/23/2018    RE2      SCAN/COPY ( 43 @0.10 PER PG)                        4.30



 01/23/2018    RE2      SCAN/COPY ( 65 @0.10 PER PG)                        6.50



 01/23/2018    RE2      SCAN/COPY ( 9 @0.10 PER PG)                         0.90



 01/23/2018    RE2      SCAN/COPY ( 3 @0.10 PER PG)                         0.30
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 01/23/2018    RE2      SCAN/COPY ( 5 @0.10 PER PG)                               0.50

 01/23/2018    RE2      SCAN/COPY ( 3 @0.10 PER PG)                               0.30

 01/23/2018    RE2      SCAN/COPY ( 6 @0.10 PER PG)                               0.60

 01/23/2018    RE2      SCAN/COPY ( 2 @0.10 PER PG)                               0.20

 01/23/2018    RE2      SCAN/COPY ( 8 @0.10 PER PG)                               0.80

 01/23/2018    RE2      SCAN/COPY ( 3 @0.10 PER PG)                               0.30

 01/23/2018    TE       Travel Expense [E110] United Airlines Wifi Fee, LFC       4.99

 01/24/2018    AT       Auto Travel Expense [E109] Sunny's Transportation       157.18
                        Services, Inv. 226331, From Residence to LGA, RJF

 01/24/2018    BM       Business Meal [E111] Grubhub, Fields Good, Working       16.89
                        Meal, SWG

 01/24/2018    CL       Courtlink charges                                         0.33

 01/24/2018    CL       Courtlink charges                                         0.34

 01/24/2018    CL       Courtlink charges                                         0.33

 01/24/2018    CL       Courtlink charges                                         0.34

 01/24/2018    CL       Courtlink charges                                         0.34

 01/24/2018    CL       Courtlink charges                                         0.34

 01/24/2018    CL       Courtlink charges                                         0.34



 01/24/2018    CL       Courtlink charges                                         0.34



 01/24/2018    RE2      SCAN/COPY ( 12 @0.10 PER PG)                              1.20



 01/24/2018    RE2      SCAN/COPY ( 11 @0.10 PER PG)                              1.10



 01/24/2018    RE2      SCAN/COPY ( 16 @0.10 PER PG)                              1.60
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 01/24/2018    RE2      SCAN/COPY ( 120 @0.10 PER PG)                                  12.00

 01/24/2018    RE2      SCAN/COPY ( 320 @0.10 PER PG)                                  32.00

 01/24/2018    RE2      SCAN/COPY ( 4 @0.10 PER PG)                                     0.40

 01/24/2018    RE2      SCAN/COPY ( 92 @0.10 PER PG)                                    9.20

 01/24/2018    RE2      SCAN/COPY ( 6 @0.10 PER PG)                                     0.60

 01/25/2018    AT       Auto Travel Expense [E109] Houston Yellow Cab, LFC             56.40

 01/25/2018    BM       Business Meal [E111] Ember Steakhouse, Working Meal,           26.51
                        LFC

 01/25/2018    BM       Business Meal [E111] Houston George Bush, Working              34.98
                        Meal, LFC

 01/25/2018    CL       Courtlink charges                                               0.33

 01/25/2018    CL       Courtlink charges                                               0.34

 01/25/2018    CL       Courtlink charges                                               0.34

 01/25/2018    HT       Hotel Expense [E110] Le Meridien, 01/22/18-01/24/18, 2        836.00
                        nights, LFC

 01/25/2018    LN       15117.00002 Lexis Charges for 01-25-18                          8.26

 01/25/2018    RE2      SCAN/COPY ( 22 @0.10 PER PG)                                    2.20

 01/26/2018    AT       Auto Travel Expense [E109] Darby Transportation Services,     100.00
                        AJK

 01/26/2018    CL       Courtlink charges                                               0.33



 01/26/2018    CL       Courtlink charges                                               0.29



 01/26/2018    CL       Courtlink charges                                               0.33



 01/26/2018    RE2      SCAN/COPY ( 42 @0.10 PER PG)                                    4.20
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 01/27/2018    HT       Hotel Expense [E110] Le Meridien, 01/22/18-01/26/18, 4   1,536.06
                        nights, AJK

 01/28/2018    TE       Travel Expense [E110] Airflight Insurance, AJK              14.99

 01/29/2018    RE2      SCAN/COPY ( 57 @0.10 PER PG)                                 5.70

 01/29/2018    CL       Courtlink charges                                            0.29

 01/29/2018    CL       Courtlink charges                                            0.33

 01/29/2018    LN       15117.00002 Lexis Charges for 01-29-18                      20.00

 01/29/2018    RE2      SCAN/COPY ( 1 @0.10 PER PG)                                  0.10

 01/29/2018    RE2      SCAN/COPY ( 3 @0.10 PER PG)                                  0.30

 01/29/2018    RE2      SCAN/COPY ( 1 @0.10 PER PG)                                  0.10

 01/29/2018    RE2      SCAN/COPY ( 1 @0.10 PER PG)                                  0.10

 01/29/2018    RE2      SCAN/COPY ( 1 @0.10 PER PG)                                  0.10

 01/29/2018    RE2      SCAN/COPY ( 1 @0.10 PER PG)                                  0.10

 01/29/2018    RE2      SCAN/COPY ( 1 @0.10 PER PG)                                  0.10

 01/29/2018    RE2      SCAN/COPY ( 12 @0.10 PER PG)                                 1.20

 01/29/2018    RE2      SCAN/COPY ( 163 @0.10 PER PG)                               16.30

 01/29/2018    RE2      SCAN/COPY ( 15 @0.10 PER PG)                                 1.50

 01/29/2018    RE2      SCAN/COPY ( 45 @0.10 PER PG)                                 4.50



 01/29/2018    RE2      SCAN/COPY ( 20 @0.10 PER PG)                                 2.00



 01/29/2018    RE2      SCAN/COPY ( 32 @0.10 PER PG)                                 3.20



 01/29/2018    RE2      SCAN/COPY ( 16 @0.10 PER PG)                                 1.60



 01/29/2018    RE2      SCAN/COPY ( 16 @0.10 PER PG)                                 1.60
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 01/29/2018    RE2      SCAN/COPY ( 32 @0.10 PER PG)                        3.20

 01/29/2018    RE2      SCAN/COPY ( 15 @0.10 PER PG)                        1.50

 01/29/2018    RE2      SCAN/COPY ( 51 @0.10 PER PG)                        5.10

 01/29/2018    RE2      SCAN/COPY ( 33 @0.10 PER PG)                        3.30

 01/29/2018    RE2      SCAN/COPY ( 16 @0.10 PER PG)                        1.60

 01/29/2018    RE2      SCAN/COPY ( 26 @0.10 PER PG)                        2.60

 01/29/2018    RE2      SCAN/COPY ( 13 @0.10 PER PG)                        1.30

 01/30/2018    CL       Courtlink charges                                   0.33

 01/30/2018    CL       Courtlink charges                                   0.57

 01/30/2018    CL       Courtlink charges                                   0.57

 01/30/2018    CL       Courtlink charges                                   0.34

 01/30/2018    CL       Courtlink charges                                   0.33

 01/30/2018    CL       Courtlink charges                                   0.33

 01/30/2018    CL       Courtlink charges                                   0.34

 01/30/2018    CL       Courtlink charges                                   0.34

 01/30/2018    LN       15117.00002 Lexis Charges for 01-30-18             32.17

 01/30/2018    LN       15117.00002 Lexis Charges for 01-30-18             32.42



 01/30/2018    RE2      SCAN/COPY ( 46 @0.10 PER PG)                        4.60



 01/30/2018    RE2      SCAN/COPY ( 13 @0.10 PER PG)                        1.30



 01/30/2018    RE2      SCAN/COPY ( 14 @0.10 PER PG)                        1.40



 01/30/2018    RE2      SCAN/COPY ( 34 @0.10 PER PG)                        3.40
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 01/30/2018    RE2      SCAN/COPY ( 2 @0.10 PER PG)                         0.20

 01/30/2018    RE2      SCAN/COPY ( 60 @0.10 PER PG)                        6.00

 01/30/2018    RE2      SCAN/COPY ( 3 @0.10 PER PG)                         0.30

 01/30/2018    RE2      SCAN/COPY ( 55 @0.10 PER PG)                        5.50

 01/30/2018    RE2      SCAN/COPY ( 24 @0.10 PER PG)                        2.40

 01/30/2018    RE2      SCAN/COPY ( 31 @0.10 PER PG)                        3.10

 01/30/2018    RE2      SCAN/COPY ( 13 @0.10 PER PG)                        1.30

 01/30/2018    RE2      SCAN/COPY ( 13 @0.10 PER PG)                        1.30

 01/30/2018    RE2      SCAN/COPY ( 160 @0.10 PER PG)                      16.00

 01/30/2018    RE2      SCAN/COPY ( 11 @0.10 PER PG)                        1.10

 01/30/2018    RE2      SCAN/COPY ( 61 @0.10 PER PG)                        6.10

 01/30/2018    RE2      SCAN/COPY ( 23 @0.10 PER PG)                        2.30

 01/31/2018    LN       15117.00002 Lexis Charges for 01-31-18              1.36

 01/31/2018    LN       15117.00002 Lexis Charges for 01-31-18             63.51

 01/31/2018    OS       Everlaw, Inv. 9767, BEL                           258.06

 01/31/2018    PAC      Pacer - Court Research                            411.60

 01/31/2018    RE2      SCAN/COPY ( 14 @0.10 PER PG)                        1.40



 01/31/2018    RE2      SCAN/COPY ( 14 @0.10 PER PG)                        1.40



 01/31/2018    RE2      SCAN/COPY ( 40 @0.10 PER PG)                        4.00



 01/31/2018    RE2      SCAN/COPY ( 14 @0.10 PER PG)                        1.40



 01/31/2018    RE2      SCAN/COPY ( 14 @0.10 PER PG)                        1.40
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 01/31/2018    RE2      SCAN/COPY ( 14 @0.10 PER PG)                        1.40

 01/31/2018    RE2      SCAN/COPY ( 27 @0.10 PER PG)                        2.70

 01/31/2018    RE2      SCAN/COPY ( 22 @0.10 PER PG)                        2.20

 01/31/2018    RE2      SCAN/COPY ( 39 @0.10 PER PG)                        3.90

 01/31/2018    RE2      SCAN/COPY ( 14 @0.10 PER PG)                        1.40

 01/31/2018    RE2      SCAN/COPY ( 14 @0.10 PER PG)                        1.40

 01/31/2018    RE2      SCAN/COPY ( 14 @0.10 PER PG)                        1.40

 01/31/2018    RE2      SCAN/COPY ( 14 @0.10 PER PG)                        1.40

 01/31/2018    RE2      SCAN/COPY ( 14 @0.10 PER PG)                        1.40

 01/31/2018    RE2      SCAN/COPY ( 14 @0.10 PER PG)                        1.40

 01/31/2018    RE2      SCAN/COPY ( 14 @0.10 PER PG)                        1.40

 01/31/2018    RE2      SCAN/COPY ( 14 @0.10 PER PG)                        1.40

 01/31/2018    RE2      SCAN/COPY ( 14 @0.10 PER PG)                        1.40

 01/31/2018    RE2      SCAN/COPY ( 14 @0.10 PER PG)                        1.40

 01/31/2018    RE2      SCAN/COPY ( 14 @0.10 PER PG)                        1.40

 01/31/2018    RE2      SCAN/COPY ( 14 @0.10 PER PG)                        1.40

 01/31/2018    RE2      SCAN/COPY ( 14 @0.10 PER PG)                        1.40



 01/31/2018    RE2      SCAN/COPY ( 14 @0.10 PER PG)                        1.40



 01/31/2018    RE2      SCAN/COPY ( 21 @0.10 PER PG)                        2.10



 01/31/2018    RE2      SCAN/COPY ( 35 @0.10 PER PG)                        3.50



 01/31/2018    RE2      SCAN/COPY ( 29 @0.10 PER PG)                        2.90
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Cobalt International O.C.C.                                             Invoice 118538
15117     00002                                                         January 31, 2018


 01/31/2018    RE2      SCAN/COPY ( 47 @0.10 PER PG)                        4.70

 01/31/2018    RE2      SCAN/COPY ( 78 @0.10 PER PG)                        7.80

 01/31/2018    RE2      SCAN/COPY ( 38 @0.10 PER PG)                        3.80

 01/31/2018    RE2      SCAN/COPY ( 38 @0.10 PER PG)                        3.80

 01/31/2018    RE2      SCAN/COPY ( 37 @0.10 PER PG)                        3.70

   Total Expenses for this Matter                                   $18,212.55
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                                                    REMITTANCE ADVICE
                                    Please include this Remittance Advice with your payment



For current services rendered through 01/31/2018

Total Fees                                                                                                             $881,952.00
Chargeable costs and disbursements                                                                                         $18,212.55
Total Due on Current Invoice.....................                                                                      $900,164.55

Outstanding Balance from prior Invoices as of 01/31/2018       (May not reflect recent payments)

Invoice Number                    Invoice Date                  Fees Billed                  Expenses Billed          Balance Due




Total Amount Due on Current and Prior Invoices                                                                         $900,164.55
